Case 4:19-cv-00717-JST   Document 513-15   Filed 12/11/24   Page 1 of 146




                 EXHIBIT 13
       Case 4:19-cv-00717-JST                                               Document 513-15                         Filed 12/11/24                Page 2 of 146
                                                                                                                                                                          PLTF EX 64
                                                                                                                                                                          Lauricella
                                                                                                                                                                          06.05.2024
STATE OF CALIFORNIA                                                                                                      Company Name              Ulico Standard of America
DEPARTMENTOF INSURANCE(COi)                                                                                              Line of Insurance                  SURETY
Edition Date:                 414/2011

                                                                 PRIOR APPROVAL RA TE APPLICATION
       Completed by: Francis E. Laurice                                Date: 7118/2011


Your File#:                                                                                                                             DEPARTMENT USE ONLY
                          ( 15 Characters Maximum)
       0 SERFF                O CD (plus 1 paper copy)                          0 Paper (1 original plus 1 copy)(J        Filing No.:


Does this filing include a variance request?                           No   Y

                                                                                                                          SERFF No.: _         __._.N'-'/_A~----
Is this a variance request_fil!_bmittedafter the prior approval application to
which it applies?     i No "'                                                                                             Date Filed:


If yes, provide the applicable COi File Number:                                                                           Compliance Date:


Does this file contain group data?                        : No    "'                                                      Date Public Notified:        AUG 1 9 2011
                                                                                                                                                       OCT 1 8 2011
Note: Complete page 2 if this is a group filing                                                                           Deemer Date:

                                                                                                                                                  ZANHJD!Ol\1
Is this a specialty filing?               No     "'                                                                       Intake Analyst:

Latest applicable COi file number in this line, subline and/or program:                                                   Bureau&Senior:         J...A.J - 7lJ-~ ·
                                                                                                                          Group Filing:             Yes   •        No!)(
Company Name                     Ulico Standard of America Casualty Company
                                                                                                                          X-Reference No.:
NAIC Company Code                          10004
                                                                                                                              D Rate              New Program          D Rule
Group Name _P'""e_nd"""i~n,______________________                                                               _


NAIC Group Code                 _P_e.;,,;.nd.cc;i""ng.____ _
                                                                                                                              • Form           D Variance          ¢     %Chang
Organized under the Laws of the State of                               California




          Line Type             COMMERC!J ...-
                                                                                                    Line of Insurance:    SURETY


          Subline.,;.N,;,,;:o""n.,:;.e
                                    _______________                                       _              Program


 Home Office 1959 Palomar Oaks Way, Suite 200, Carlsbad, CA 92011


 Name and Title of Contact Person                                Francis E. Lauricella, Jr.
                                                                                                                                                    'tll?[A1   j

                                                                                                                                        IIJL
 Toll Free Phone No.:--'4..:.1::..5..:;.93::..1;_-9::..4,;,,.4c:.7__________ _


 Email Address                   hlauricella@fl-adyisors.com
                                                                                                           Fax No .. 415 358-5874

                                                                                                                          Dte,8TA rt _,:,.
                                                                                                                                               2, 20//        V-$/:



 Mailing Address                 475 Gate 5 Road, Suite 320, Sausalito, CA 94965


 I declare under penalty of periury under the laws of the State of California that the information filed is true, complete, and correc


   J   t;,<,A-1. e,v.;,   {                           c~ _/      (J_                     July 18, 2~11                                    415 931-9447
                     Auth                                                                 Date of Filing                                Telephone Number


 Important note: Refer to CDI website at http://www.insurance.ca.gov/0250-insurers/0800-rate-filings/for                                       the most current
 rate template and prior approval factors.
                                                                                    Prior Approval Rate Application
                                                                                         (General Information)                                                                  Page 1

                                                                                                                                                                       1 of 145
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~'fATE OF CALIFORNIA                                                                                           DA VE JONES, insuranceCommissioner

DEPARTMENTOF INSURANCE
Legal Division,CorporateAffairs Bureau
45 Fremont Street. 24th Floor
San Francisco,CA 94 I05

Rafael H Gutierrez
Senior Staff Counsel
TEL 4 l 5-538-4402
[-Mail Rafael.Gutierrez@insurance.ca
                                  gov
www insurance.ca.gov




          Mayl7,2011



          Robert J. Cerny, Esq.
          BARGER & WOLEN LLP
          633 West 5th Street, 4ih Floor
          Los Angeles, CA 90071


          SUBJECT:              Ulico Standard of America Casualty Company (a California Corporation)
                                - Form A Filing Pursuant to California Insurance Code Section 1215.2,
                                Regarding the Acquisition of Control of Ulico Standard of America
                                Casualty Company, by Seaview Surety Holding, LLC (a California LLC)
                                - IDB# 11-2649; File #APP-2011-00470

          Dear Mr. Cerny:

          By letter dated March 14, 20 l I, Seaview Surety Holding, Inc. (hereinafter "Seaview"), filed the
          above subject application, accepted for filing on March 16, 2011, by the California Department
          of Insurance. Seaview is asking for consent, pursuant to California Insurance Code Section
          1215.2, to acquire the issued and outstanding shares of lllico Standard of America Casualty
          Company (hereinafter "Ulico"), from Ullico Inc. (hereinafter "Seller"). Seaview will acquire all
          of the 1,000 issued and outstanding shares of common stock, ofUlico, with a par value of
          $3,000.00 per share, for approximately $5,800,000.00, in cash (US Currency). The effective
          date of the acquisition will be prior to June 30, 2011.

          Based upon the information provided in support of this application, the acquisition of control of
          Ulico, by Seaview, as described in this application, is hereby approved. This approval is hereby
          granted pursuant to the authority of California Insurance Code Section 1215 .2 only, and does not
          constitute, signify or imply review or approval under any other California Insurance Code section
          or any other California Law. Please provide the Department of Insurance, a letter confirming the
          sale and transfer of Ulico shares from Seller to Seaview, within 30 days of the completion of the
          transaction.




          #685287vl                     Consumer Hotline (800) 927-HF.LP • Producer Licensing (800) 967-9331




                                                                                                                                                    2 of 145
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Robert J. Cerny, Esq.
May 17, 2011
Page 2


cc:         Louis Quan, FAD-LA
            Ann Tang, FAD-LA
            Himelda Briones, FAD-LA
            Lucia Feng, FAD-LA




#685287vl                             Protecting Callforn,aConsumers




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   Ulico Standard of America Casualty Company

   July 18, 2011


   The Honorable Dave Jones
   Commissioner of Insurance
   California State Department of Insurance
   45 Fremont Street
   San Francisco, CA 94105

   Attn:   Filings Intake

   Re:     Ulico Standard of America Casualty Company NAIC: 10004
           Surety - Bail Bond Rate & Rule
           Prior Approval Submission
           Company Filing Number:



   Ulico Standard of America Casualty Company herein submits for review and approval bail bond
   rates for inclusion with our currently approved surety underwriting plan.

   These rates are an adoption of current bail bond rates approved for use by Danielson National
   Insurance Company, filing CDI 08-1743.

   Bail bond rates are submitted for your review as a manual exception page. The manual page, an
   explanatory memorandum, and verification of the previously approved filing are included for
   your review.

   Enclosed are two copies of this submission and an acknowledgement copy cover. Please contact
   me directly by phone or email if you require further information or if you have any questions.
   Your assistance with this submission is greatly appreciated

   Sincerely,




                ~:cel~r     ~: U { {
   Chief Financial Officer and Secretary
   Ulico Standard of America Casualty Company
                                                    f
   415 332-4700 Office
   415 358-5874 Fax
   415 730-8945 Cell




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Ulico Standard of America Casualty Company


                                        Explanatory Memorandum



We are submitting as an adoption bail bond rates identical to those approved for use by Danielson
National Insurance Company. Two classes of rates are proposed· a standard rate for all bail bonds, except
those classed as qualified, and a rate for bail bonds classed as qualified.

Standard rate is 10% of the bond amount. Qualified rate is 8% of the bond amount. AU bail bonds are
subject to a minimum premium.

Qualified classification applies to principals with a decreased risk of flight. These principals, as defined
in the applicable rule are: individuals who have retained counsel, individuals who are members of a labor
union, and individuals who are active duty members or veterans of the U.S. Armed Services and their
immediate family.

The standard rate is based on Surety Association of America (SAA) pricing. SAA pricing up to the time
they ceased promulgating rates was based on 2% of liability plus 8% service fee. Upon change by
msurance departments to an expanded definition of premium for premium tax purposes to include any and
all fees, the pricing was simplified to 10% ofliability as preferred by insurance departments. The
Danielson National Insurance Company rate adopts the standard I0% of liability rate. We adopt the
Danielson National Insurance Company standard rate. The qualified rate of 8% approved for Danielson
National Insurance Company was based on 2004 accident year experience indicating a lower flight risk
for those individuals represented by counsel, having union membership and/or having armed forces
association. We adopt the approved qualified rate with the same assumptions.

Our proposed minimum premium is also an adoption of the minimum approved for Danielson National
Insurance Company. The minimum is based upon expense experience as garnered by AM Best
Aggregates and Averages and managing general agency fixed expenses as used by Danielson National
Insurance Company in their approved filing.

Approval for use of these bail bond rates for Ulico Standard of America Casualty Company will provide
increased capacity and alternative service to agents and brokers for this necessary service.




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STATE OF CALIFORNIA                                                Company Name: Jlico Standard of America Casualty Company
DEPARTMENT OF INSURANCE (COi)                                    line of Insurance:                SURETY
Edition Date:    414/2011

PROPERTY AND LIABILITY FILING SUBMISSION DATA SHEET

The purpose of this filing Is as follows (More than one may be marked )

TYPE OF FILING                                                                                PRIOR APPROVAL RATE APPLICATION
                                                                                              PAGES and EXHIBITS REQUIRED


     0 New Program ( Including adoption of advisory organization loss costs,                  Pages 1 through 7, 10, 12, 13 & 14,
         forms and rules.)                                                                    plus exh1b1t 17

     D   Rates ( Including adoption of advisory organization loss costs. )

              D   Increase rates                                                              Pages 1 through 10, 13 & 14, plus exhIbIts

              D   Decrease rate                                                               Pages 1 through 10, 13 & 14, plus exh1b1ts

              D Zero Overall rate impact                                                      Pages 1 through 10, 13 & 14, plus exhIbIts


     D Variance
              D   Filed together with the pnor approval application to which it               Page 11 and exhIbIt 13
                  applies

              D   Filed after the pnor approval application to which 1t applies.              Pages 1 through 6, 11, plus exh1b1t 13



     D Coverage Forms ( Including adoption of advisory organization forms. )
              D With rate impact                                                              Pages 1 through 10, 12a, 13 & 14 plus exh1b1ts

              D Without rate impact                                                           Pages 1 through 5, 12a


     D   Rules ( Including adoption of advisory orgamzatIon rules )

              D With rate impact                                                              Pages 1 through 10, 12b, 13 & 14 plus exhIbIts,

              D   Without rate impact                                                         Pages 1 through 5, 12b, ExhIbIt 20

All Private Passenger Automobile class plans must be filed separately from
the Prior Approval Rate Applications.




                                                          Prior Approval Rate Application
                                                                   (Filing Data)                                               Page 3



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         Case 4:19-cv-00717-JST                  Document 513-15              Filed 12/11/24          Page 8 of 146




STATE OF CALIFORNIA                                                         Company Name: Ulico Standard of America Casualty Cc
DEPARTMENT OF INSURANCE (CDI)                                             Line of Insurance: SURETY
Edition Date:                      414/2011



        PROPERTY AND LIABILITY FILING SUBMISSION DATA SHEET (Continued)


Proposed Earned Premium Per Exposure              8-1 0% of bond

Proposed Overall Rate Change                             na




                                                 INDICATED         PROPOSED              ADJUSTED                  PROJECTED
                     COVERAGE*                  CHANGE(%)          CHANGE(%}          EARNED PREMIUM*            EARNED PREMIUM

                                                                                                                               2,867,000

    2

    3

    4

    5

    6

    7

    8

    9

   10

           TOTAL:




Total earned premium must include all income derived from miscellaneous fees and other charges

* Commercial Auto L1ab1hty and Physical damage must be combined in one application, with separate rate templates for llab1llty and
physical damage
* Adjusted earned premium 1s the historical earned premium for the most recent year adjusted to the current rate level and trended to
the average date of loss of the proposed rating period


                                                    Prior Approval Rate Application                                       Page4
                                                        (Filing Data Continued)


                                                                                                                    7 of 145
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STATE OF CALIFORNIA                                                                Company Name: Ulico Standard of America Casualty Company
DEPARTMENT OF INSURANCE (CDI)                                                    Line of Insurance: SURETY
Edition Date:           41412011

                    FILING CHECKLIST
  Use this checklist to assemble a complete application

     0    Prior Approval Rate Application, Page 1

     0    Group Filing, Page 2

     0    Property and Liability Filing Submission
          Data Sheet, Page 3

      0   Property and Liability Filing Submission
          Data Sheet, Page 4

     0    Filing Checklist, Page 5

     0    Supporting Data Exhibits, Page 6

      0   RatemakingData and Template (s}, Page 7

      D   Reconciliationof Direct Earned Premium, Page 8

      D   Additional Data Required by Statute, Page 9

      0   MiscellaneousFees and Other Charges, Page 10

      D   Variance Request, Page 11

      0   Forms and Rules, Page 12

      0   Excluded Expenses, Page 13

      0   Projected Yield and Federal Income Tax Rate on Investment Income, Page 14

      0   Filing Memorandum

See the prior approval rate filing instructions regarding the following attachments.

      0   Printed Rate and Rule Manual Pages

      0   Undeiwriting Rules

      D   Forms (Attach all independentforms and list all advisory organization forms )

      D   Copies of ReinsuranceAgreements
          ( Applies only to Medical Malpracticewith facultative reinsuranceattachment points above one m1l1ion dollars and
          Earthquake,where the cost of reinsurance is included in the rate development )




                                                                Prior Approval Rate Application
                                                                       (Filing Checklist)                                             Page5



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STATE OF CALIFORNIA                                                 Company Name:                            0
DEPARTMENT OF INSURANCE (CDI)                                     Line of Insurance: AIRCRAFT
Edition Date:               4/412011

             SUPPORTING DATA EXHIBITS
 Use this document to assemble a complete application

     •    Exhibit 1:       Filing History


     •    Exhibit 2:       Rate Level History

     •    Exhibit 3:       Policy Term Distribution

     •    Exhibit 4:       Premium Adjustment Factor

     •    Exhibit 5:       Premium Trend Factor

     •    Exhibit 6:       Miscellaneous Fees and
                           Other Charges

      •   Exhibit 7:       Loss and Defense & Cost Containment Expense
                           ( DCCE ) Development Factors

      •   Exhibit 8:       Loss and DCCE Trend

      •   Exhibit 9:       Catastrophe Adjustment

      •   Exhibit 10:      Credibility Adjustment

      •   Exhibit 11:      Ancillary Income

      •   Exhibit 12:      Reinsurance Premium and Recoverables

      •   Exhibit 13:      Variance

      •   Exhibit 14:      Insurer's Ratemaking Calculations

      •   Exhibit 15:      Rate Distribution

      •   Exhibit 16:      Rate Classification Relativities

      0   Exhibit 17:      New Program

      •   Exhibit 18:      Group Filing

      •   Exhibit 19:      Super Group Corporate Structure Verif1cat1on(PPA only)

      •   Exhibit 20:      Rules

      0   Exhibit 21:




                                       Prior Approval Rate Application
                                          (Supporting Data Exh1b1ts)                                 Page6



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       RATEMAKING DATA
       (Click + to expand for more than 3 years; - to contract)

                                                           Completed by
                                                                              Francis E. Lauricella, Jr.
                                                     Date Completed
                                                                                         7/18/2011
   !                                                 Company/Groue_ Ulico Standard of America CasuallyCc
                                                     Line Description SURETY
                                                           Coverage                       Bail Bonds
                                                                                                                                               ..
                                                                                  %Captive                 %Direct       i       %Independent (Must add up to 100%)
                                               Marketing System:                                                                       100.00%
                              Prior Effective Date (current rates)
                            Proposed Effective Date (new rates)
                           COi File Number (Department use only) o

           Does the data provided below reflect a Request for Variance?: No        ...
                                                                               ------
                                                                                                            Variance#:

                                                        Data below is: Accident vear Data                                    •
                                                                                                                                 Most Recent        Projected*/ New
                                                                               2nd Prior Year        1st Prior Year                 Year               Program**

  1 California Direct Written Premium                                                                                                                       3,826,000

  2 California Direct Earned Premium                                                                                                                        2,867,000

  3 Premium Adjustment Factor (Developed in Exhibit 4)

  4 Premium Trend Factor•       (Developed in Exhibit 5)

  5 Miscellaneous Fees and Flat Charges (Not included in line 2;
~- DevelO"'""  in Exhibit 81
  6 Earned Exposure Units                                                                                                                                      42,111

  7 Historic losses (Projected for New Programs)                                                                                                              115,641

  8 Historic Defense and Cost Containment Expense (DCCE)                                                                                                       42,059

  9 loss Development Factor (Developed in Exhibit 71

 1O DCCE Development Factor (Developed in Exhibit 7)

 11 loss Trend Factor" (Developed in Exhibit 8)

 12 DCCE Trend Factor" {Developed in Exhibit 8)

 13 Catastrophe Adjustment Factor (Developed in Exh 9)

 14 Credibility Factor for losses & DCCE (Developed in Exhibit 10)

 15 Excluded Expense Factor (From Page 13)                                                                                                                      0.00'!4
                                                                          I
 16 Ancillary Income (Developed in Exhibit 11)

 17 Projected Federal Income Tax Rate on Investment Income (From                                                                                               ff.OO'll
    Paae 141
 18 Projected Yield (From Page 14)                                                                                                                              0.11%

    Come,lete 19 20 & 21 For Earth!l!:!,akeand certain Medical
    Maloractice with Reinsurance O.nlyJsee instructions)
 19 Direct Commissions

 20 Reinsurance Premium         (Developed in Exhibit 12)

 21 Reinsurance Recoverables (Developed in Exhibit 12)



       Variance Change to leverage on the basis that the insurer either
       writes at least 90% of its direct earned premium in one line or
       writes at least 90% of its direct earned premium in California.
       {Must be accompanied by Variance Request, subject to CDI
                                                                                                                                                    No
                                                                                                                                                              •
       approval)
       Variance Change to Efficiency Standard (Must be accompanied
       bv V"•iance R"!!Ue1;t. subie...+tn CDI aoorov 2 11


 * For all trend factors, the Projected Column should reflect the
       annual trend exoressed as a percentage.
 ** For New Proarams alease see Rate Filina Instructions Paae 4.


                                                               Prior Approval Rate Application
                                                                      (Ratemaking Data)                                                                                 Page7
                                                                                                                                                           10 of 145
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STATE OF CALIFORNIA                                         Company Name: Ulico Standard of America Casualty
DEPARTMENT OF INSURANCE (CDI)                             Line of Insurance: SURETY
Edition Date:                     41412011

                MISCELLANEOUS FEES AND OTHER CHARGES

           Do any fees or installment finance charges apply to this program?          No  •
           If yes, identify the fee and the amount charged for each type of fee and for each transaction

                                                                                       INDIVIDUAL POLICY CHARGES

                                                                                       New Business                        Renewals

      • Policy fee
      • Installment fee
      • Installment finance charges ( ancillary income )                                            APR

      • Endorsement fee
      • Inspection fee
      • Cancellation fee
      • Reinstatement fee
      • Late fee
      • SR22
      • Non-sufficient funds ( NSF ) fee ( ancillary income )
      • Membership dues ( ancillary income )
      • Other, specify:




Except for installment finance charges, NSF fees. and membership dues. data relating to fees must be included in the ratemakmg data,
Page 7. Line 2 ( direct earned premium} or Line 5 ( miscellaneous fees) and Exh1b1t 6. miscellaneous fees, must be completed Refer to
the instructions for additional information.



                                                   Prior Approval Rate Apphcat,on
                                                         (Miscellaneous Fees)                                            Page 10


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                                                      Case 4:19-cv-00717-JST                           Document 513-15                       Filed 12/11/24                Page 13 of 146

STATE OF CALIFORNIA                                                                                                                                                               Company Name:            Ulico Standard of America
DEPARTMENT OF INSURANCE (COi)                                                                                                                                                     Line of Insurance:       SURETY
Edition Date:                                                                                                     414/2011


                                                                                                              FORMS
Insurers who wish to use a new or replacement form in connection with a new or existing program must furnish the following information and documentation for our review.
Revisions must be highlighted and the con-esponding manual pages must be provided.
                                                                                                                                                                                  Restricts   Broadens         Rate
                                                                                                                                                      SOURCE                     Coverage     Coverage        Impact     %             Flat
                  FORM NO.                                                    TITLE                                            TYPE     SOURCE       FORM NO*       CATEGORY     I Yes/ No)   I Yes/ No)   I Yes/ No 1 Change          Rate

1] New:   BBAP                                                              Application                                       _1_           4          LIN 10                         n            n           n      __n_a_      __n_

  Old:

2] New:   BB01                                                              Bail Bond                                         _3_           4            na                                                           __n_a_      __n_

  Old:

3] New:   BBA01                                                            Appeal Bond                                        _3_           4          LIN 53                                                         __n_a_      __n_

  Old:

4] New:   BB LD                                                             Disclosure                                        _2_           4         LIN DS 4                        n            n           n      __n_a_      __n_

  Old:

5] New:

  Old:


                                                                                           REQUIRED RESPONSES FOR THE ITEMS ABOVE

                                       TYPE:                                                                                 SOURCE                                               CATEGORY

                                       1) Application                                                                        1) ISO*                                              1) New, mandatory
                                       2) Endorsement                                                                        2) Other Advisory Organization•                      2) New, optional
                                       3) Policy                                                                             3) Company                                           3) Replacement, mandatory
                                       4) Other ( Please define )                                                            4} Other (describe)                                  4) Replacement, optional
                                                                                                                                                                                  5) Withdrawn, mandatory
                                                                                                                                                                                  6) Withdrawn, optional

• Provide California Dept. of Insurance number (CD/#) under the column identified as Source Form No.

Additional Information and Documents Required

          Describe the purpose of the form or form change


          For NEW FORMS, furnish a copy of the form to be filed, unless identical to an advisory organization form. If the form is a new endorsement to the policy, describe any changes in coverage under the policy. Describe what
          adjustments, if any, will be made to the premium due to the introduction of the forms.



          For REVISED FORMS, describe any changes in coverages between the proposed form and the current form. Reference pertinent sections of each form affected. Brackets [] should be used to identify any deletions on the
          current form and underline all changes in the revised form. Describe what adjustments, if any, will be made to the premium due to the revisions.




                                                                                                       Pnor Approval Rate Apphcat1on
                                                                                                                 (Forms)                                                                                             Page 12(a)

                                                                                                                                                        12 of 145
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    Francis E. Lauricella, Jr.
    Chief Financial Officer
    Ulico Standard of America Casualty Company
    1959 Palomar Oaks Way, Suite 200
    Carlsbad, CA 9201 l

    August 9, 2011                                                           RATEFILINGBUREAU-SF
                                                                                 AUG 10 2011
     Martha Zamudio
     Insurance Rate Analyst - Intake                                         STATE OF
                                                                          DEPARTMENTCALIFORNIA
    California Department oflnsurance                                                 OF INSURANCE
    Rate Filing Bureau
    45 Fremont Street, 23 rd Floor
    San Francisco, CA 94105


    Dear Ms. Zamudio:

    I am writing to respond to your email of August l regarding the prior approval rate application
    that I submitted on July 16 on behalf ofUlico Standard of America Casualty Company ("Ulico
    Standard"). First, as I explained in our recent phone conversation, I did not indicate executive
    compensation for Ulico Standard for 2008, 2009, and 20 l Obecause Seaview Surety Holding,
    LLC, only acquired Ulico Standard on June 30, 2011, following Fonn A approval by the
    California Department ofinsurance on May 17, 2011 (File# App-2001-00470). (A copy of the
    Form A approval letter is attached.) Pro fonna annual salaries for Ulico Standard's three highest
    paid executives going forward are as follows:

    Executive                         Cash & Salary

    Francis E. Lauricella, Jr.        $150,000                        $0.0
    Patrick J. Kilkenny               $120,000                        $0.0
    Allison M. Sterett                 $90,000                        $0.0


    Second, Exhibit 17 is attached.

    Finally, Ulico Standard will adopt the forms approved for use by Danielson National Insurance
    Company, filing CDI 08-1743. As per your request, I have had the Danielson National forms
    reprinted under the name of Ulico Standard of Amen ca Casualty Company. I have attached these
    forms, along with an index of the forms, for your review.

    Please contact me if you have any questions or require any additional mformation for this filing.
    Thank you.

    Sincerely,


    Francis E. Lauricella, Jr.
    (415) 730-8945
    hlaurice1la@fl-advisors.com




                                                                                                     13 of 145
    Case 4:19-cv-00717-JST              Document 513-15               Filed 12/11/24         Page 15 of 146




STATE OF CALIFORNIA                                 Company Name:                         Ulico Standard of America Ca:
DEPARTMENT OF INSURANCE (COi)                       Line of Insurance:                    SURETY
 Edition Date:             41412011




                        EXCLUDED EXPENSE FACTOR
                                       (Insurer Group Data)


Company Organization:         St.ock                                                                          Most Recent
                                                                        2nd Prior Year     1st Prior Year        Year
                                                      (Enter Year)          2008               2009               2010
Countrywide direct earned premium:
                                                                            na                 na                 na
Countrywide direct earned premium for lines of business subject
to Proposition 103



2644.10 (b): Executive Compensation
                           2nd Prior Year                   1st Prior Year                      Most Recent Year
                                2008                            2009                                  2010
                    Cash & Salary      Bonus        Cash & Salary        Bonus            Cash & Salary      Bonus


 1st Highest Paid               0               0                 0                   0                  0                  0
 2nd Highest Paid               0               0                 0                   0                  0                  0
 3rd Highest Paid               0               0                 0                   0                  0                  0
 4th Highest Paid               0               0                 0                   0                  0                  0
 5th Highest Paid               0               0                 0                   0                  0                  0


                            2nd Prior Year                   1st Prior Year                      Most Recent Year
                                 2008                             2009                                 2010
                    Max Permissible    Excessive    Max Permissible     Excessive         Max Permissible   Excessive
                      Exe Comp       Compensation     Exe Comp        Compensation          Exe Comp      Compensation


 1st Highest Paid         174,311               0         174,311                     0          174,311                    0
 2nd Highest Paid         123,071               0          123,071                    0          123,071                    0
 3rd Highest Paid          92,906               0           92,906                    0             92,906                  0
 4th Highest Paid          87,048               0           87,048                    0             87,048                  0
 5th Highest Paid          81,141               0           81,141                    0             81,141                  0


Total Excessive Executive Comp:                 0                                     0                                     0



                                                    Prior Approval Rate Application
                                                       (Excluded Expense Factor)                                         P13a




                                                                                                             14 of 145
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STATE OF CALIFORNIA                                    Company Name:                         Ulico Standard of America Ca:
DEPARTMENT OF INSURANCE (CDI)                          Line of Insurance:                    SURETY




                               Excluded Expense Factor


                                                                                                               Most Recent
                     Countrywide Data                                      2nd Prior Year    1st Prior Year       Year
                                                                               2008              2009             2010
2644 1O (a) Pollt1cal contribution and lobbying                                          0                0                   0
2644 10 (b) Excessive Executive Compensation                                             0                0                   0
2644 10 (c) Bad faith Judgments and associated DCCE
2644 10 (d) All costs for unsuccessful defense of d1scriminat1onclaims
2644 10 (e) Fines and penalties
2644 10 (f) lnst1tut1onadvert1smg expenses
2644 1O (g) Excessive payments to affiliates


Total excluded expenses                                                                  0                0                   0


Excluded expense factor                                                            0.00%             0.00%                0.00%




3-year average excluded expense factor                          000%




                                                       Prior Approval Rate Application
                                                          (Excluded Expense Factor)                                       P13b




                                                                                                              15 of 145
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STATE OF CALIFORNIA                                                      Company Name:           Ulico Standard of America Casualty Company
DEPARTMENT OF INSURANCE (CDI)                                            Line of Insurance: SURETY
Edition Date:                                414/2011




                               PROJECTED YIELD AND FEDERAL INCOME TAX RATE ON INVESTMENT INCOME




                                          Short Term                 Intermediate                            Long Term
                                           Assets                   Term Assets                                Assets
                                                             Over 1 yr         Over 5 yrs          Over 10 yrs
Line number                            One year or less    through 5 yrs    through 10 yrs       through 20 yrs       Over 20 yrs

1.7   US governments                        6,267,064                              111,966

2.7   All other governments
      States, territoriesand
3.7   possessions

4.7   Politicalsubdivisions
      Special revenue and
5.7   assessmentobligations

6.7   Public utilities unaffiliated
      Industrialand
7.7   miscellaneous

8.7   Credit tenant loans
      Parent, subsidiariesand
9.7   affiliates



                                       One year or less     Over 1 year through 10 years                   Over 10 years
                                             I
                                             I


      US governmentbonds Sum
(1)   of line 1.7 and 2.7                   61267,064                              111,966                                          0
      Other taxable bonds
      Sum of line 6.7, 7.7, 8.7, 9.7
(2)   and half of 5.7                                0                                       0                                      0
      Tax exempt bonds
      Sum of line 3.7, 4.7, and
(3)   half of 5.7                                    0                                       0                                      0



Data on line 1.7 through 9.7 are from the insurer group's most recent consolidated statutory annual statement, schedule D,
part 1A, section 1.



                                                                                                                           Page 14a


                                                           Prior Approval Rate Application
                                                                (Yield Tax Worksheet)




                                                                                                                            16 of 145
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                              PROJECTED YIELD AND FEDERAL INCOME TAX RATE ON INVESTMENT INCOME


                                                               Currently                                  Federal
                                          Invested             Available            Return On             Income           Federal Income
                                           Assets               Yield*           Invested Assets         Tax Rate              Taxes
                                             [1]                   [2]              [3]=[1]*[2]              [4]             [5]=[3]*[4]

(1)    US government bonds
       (A) Short                            ~.267,064                    0.05%             3,134              35.00%                   1,097
       (B} Intermediate                       111,966                    3.21%             3,594              35.00%                   1,258
       (C} Long                                       0                                         0             35.00%                        0
(2)    Other taxable bonds
       (A} Short                                      0                                         0             35.00%                       0
       (B) Intermediate                               0                                         0             35.00%                       0
       (C) Long                                       0                                         0             35.00%                        0
(3)    Tax exempt bonds
       (A) Short                                      0                                         0              5.25%                       0
       (B} Intermediate                               0                                         0              5.25%                       0
       (C) Long                                       0                                         0              5.25%                       0
(4)    Common Stock
       (A} Dividends                                                                            0             14.18%                        0
       (B} Capital gains                                                                        0             34.10%                        0
(5}    Preferred stock
       dividends                                                                                 0            14.18%                        0
(6)    Mortgage loans                                                                            0            35.00%                        0
(7}    Real estate                                                                               0            35.00%                        0
(8)    Cash**                                    -2,605                  0.05%                  -1            35.00%                        0
(9)    Other***
       (A) Dividends                                                                            0             14.18%                        0
       (B) Capital gains                                                                        0             34.10%                        0

(10}   Total
       Sum of line (1} thru (9)             $,376,425                                      6,726                                       2,354

Data in column [1], line 4 through (9}, are from the insurer group's most recent consolidated statutory annual statement page 2 -Assets.


* Currently available yields are defined in CCR §2644.20.   Latest values are posted at
http:/lwww.insurance.ca.gov/0250-insurers/0800-rate-filings/0200-prior-approval-factors/

** Annual statement page 2, line 5, cash only. Cash equivalents and short-term investments are included in Schedule D.

*** Annual statement page 2, line 6 through 9.



                                                                                                                                   Page 14b




                                                              Prior Approval Rate Application
                                                                   (Yield Tax Worksheet)




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                              PROJECTED YIELD AND FEDERAL INCOME TAX RATE ON INVESTMENT INCOME

                                                                 Currently                              Federal
                                             Invested            Available          Return On           Income       Federal Income
                                              Assets               Yield         Invested Assets       Tax Rate           Taxes
                                                [1]                 [2]             [3]=[1]"[2]            [4]          [5]=[3]"[4]



(10) Total                                     ~.376,425                                   6,726                               2,354
     line (10)
     exhibit 13, page 2
(11) Investment expense                                                                                    35.00%                     0
     Annual Statement (AS)
     page 11, line 25
(12) Total                                     6,376,425                                   6,726                               2,364
     after investment expense
     line (10)- line (11)
(13) Federal income tax rate
     line (12)
     column [5] / column [3]
                                                                                                   I       35.§§S
(14) Projected yield                                                   0.11%
     on invested assets
     line (12)
     column [3] I column [1]

                                         Most Recent Year

(15) loss reserves                                      0
     AS page 3, line 1
(16) loss adjustment                                    0
     expense reserves
     AS page 3, line 3
(17} Unearned premium                                   0
     reserves
     AS page 3, line 9
(18) Surplus as regards                        6,273,990
     to policyholders
     AS page 3, line 35
(19) Total reserves and                        ~.273,990
     surplus
     Sum of line (15) to (18}

(20) Projected yield
     adjusted to reserve and surplus base
     line (14) • line (12) / line (19}
                                                            I          0.11%1
                                                                                                                           Page 14c




                                                                Prior Approval Rate Application
                                                                     (Yield Tax Worksheet)




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                                                            RATE TEMPLATE                                        Edition Date:              41412011
                                                                     (No input by filer)
CDI FILE NUMBER:                                            0
COMPANY/GROUP:                                              Ulico Standard of America Casualtv Company           i
LINE OF INSURANCE:                                          SURETY
COVERAGE,                                                   Bail Bonds
PRIOR EFF DATE:                                             7/18/2011                              Completed by: ! Francis E. Lauricella, Jr.
PROPOSED EFF DATE:                                          7/18/2011                                      Date:           7118/2011

DATA PROVIDED BY FILER                                  i
                                               Year:'               0                         0                     0
                                                                                                                                  ! PROJECTED/

                                                                 PRIOR2                    PRIOR1                RECENT           !SUMMARY
WRT PREM                                                                      0                          0                     0!         3,826,000
ERN PREM                                                                       0                         0                     Qi         2,867,000
PREM ADJ                                                                   1.000                     1.000                 1.000
PREM TREND                                                                 1.000                     1.000                 1.000                0.000
MISCELLANEOUS FEES  (& other flat   charges)                                   0                         0                     o.                   0
EARNED EXP                                                                     0                         0                     0!             42,111
LOSSES                                                                         0                         0                     0!           115,641
DCCE                                                                           0                         0                     0!             42,059
LOSS DEV                                                                   1.000                     1.000                 1.000!
DCCE DEV                                                i                  1.000                     1.000                 1.000'
LOSS TREND                                                                 1.000                     1.000                 1.000                0.000
DCCE TREND                                                                 1.000                     1.000                 1.000                0.000
CAT ADJ                                                                    1.000                     1.000                 1.000,
CREDIBILITY                                                                                                                       !        100.00%
EXPENSE EXCLUSION FACTOR                                                                                                                       0.00%
ANC INC                                                                           0                     0                      0!                   0
FIT INV                                                                                                                                      35.00%
YIELD                                                                                                                                          0.11%

CDI PARAMETERS:
FIT uw                                                                                                                                        35.00%
EFF STANDARD                                                                                                                                  43.84%
LEVERAGE                                                                                                                                         0.99
PREMIUM TAX RATE                                                                                                                               2.35%11
SURPLUS RATIO                                                                                                                      !             1.0
UEP RES RATIO                                                                                                                                    0.5€
LOSS RES RATIO                                                                                                                                   2.5.
RISK FREE RATE OF RETURN                                                                                                           !           1.98'¾ June 2011
MAXIMUM RATE OF RETURN                                                                                                                         7.98'¾
MINIMUM RATE OF RETURN                                                                                                                        -6.00'¾

 CDI CALCULATIONS:                                                                                                                 i

ADJ PREM                                                                          0                     0,                     0            2,867,000
ADJUSTED LOSSES                                                                   0                     0!                     0              115,641
ADJUSTED DCCE                                                                     0                     0\                     0               42,059
'ADJUSTED LOSS+DCCE RATIO                                               0.00%                     0.00%                 0.00%                  5.50%
 TRENDED CURRENT RATE LEVEL PREMIUM                              #DIV/0!                   #DIV/0!               #DIV/0!                        68.08
 LOSS+DCCE PER EXP                                               #DIV/0!                   #DIV/0!               #DIV/0!                         3.74
 COMP LOSS+DCCE PER EXP                                          #DIV/0!                   #DIV/0!               #DIV/0!                        29.97
 CRED LOSS PER EXP                                               #DIV/0!                   #DIV/0!               #DIV/0!                         3.74
ANC INC PER EXP                                                  #DIV/0!                   #DIV/0!               #DIV/0!                         0.00
 FIXED INV INC FACTOR                                                                                                                          0.27%
 VAR INV INC FACTOR                                                                                                                            0.17%
ANNUAL NET TREND                                                                                             !                                 0.00%
 COMP TREND                                                                                                                                    0.00%
 MAX PROFIT                                                                                                                                   12.42%
MIN PROFIT                                                                                                                                    -9.34%
UW PROFIT                                                                                                                                     12.14%
 MAX DENOM                                                                                                                                      0.439
 MIN DENOM                                                                                                                                      0.657
MAX PREMIUM                                                                                                                                     $8.51
MIN PREMIUM                                                                                                                                     $5.69
 CHANGE AT MIN                                                                                                                               -91.65%
CHANGE AT MAX                                                                         '1                     !                              -87.51%
 .        -. .                                                                        !

COMMISSION RATE                                                                                                                                0.00%
RE PREM                                                                       -       !                 -                      -                    0
RE RECOV                                                                      -                         -                      -                    0
RE PREM PER EXP                                                  #DIV/0!              !    #DIV/0!               #DIV/0!                         0.00
RE RECOV PER EXP                                                 #DIV/0!                   #DIV/0!               #DIV/0!                         0.00
COMP LOSS RE                                                     #DIV/0!                   #DIV/0!               #DIV/0!                        29.97
RMAX PREMIUM                                                                                                                           NA
RCHANGE AT MAX                                                                                                                         NA

                                                                                                                                              19 of 145
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                                         Exhibit 17 - New Program



Ulico Standard of America Casualty Company is submitting as an adoption bail bond rates identical to
those approved for use by Danielson National Insurance Company, filing CDI 08-1743. Two classes of
rates are proposed: a standard rate for all bail bonds, except those classed as qualified, and a rate for bail
bonds classed as qualified.

Standard rate is 10% of the bond amount. Qualified rate is 8% of the bond amount. All bail bonds are
subject to a minimum premium.

Qualified classification applies to principals with a decreased risk of flight. These principals, as defined
in the applicable rule are: individuals who have retained counsel, individuals who are members of a labor
union, and individuals who are active duty members or veterans of the U.S. Armed Services and their
immediate family.

The standard rate is based on Surety Association of America (SAA) pricing. SAA pricing up to the time
they ceased promulgating rates was based on 2% of liability plus 8% service fee. Upon change by
insurance departments to an expanded definition of premium for premium tax purposes to include any and
all fees, the pricing was simplified to l 0% of liability as preferred by insurance departments. The
Danielson National Insurance Company rate adopts the standard 10% of liability rate. We adopt the
Danielson National Insurance Company standard rate. The qualified rate of 8% approved for Danielson
National Insurance Company was based on 2004 accident year experience indicating a lower flight risk
for those individuals represented by counsel, having union membership and/or having armed forces
association. We adopt the approved qualified rate with the same assumptions.

Our proposed minimum premium is also an adoption of the minimum approved for Danielson National
Insurance Company. The minimum is based upon expense experience as garnered by AM Best
Aggregates and Averages and managing general agency fixed expenses as used by Danielson National
Insurance Company in their approved filing.

Approval for use of these bail bond rates for Ulico Standard of America Casualty Company will provide
increased capacity and alternative service to agents and brokers for this necessary service.




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               FORM NUMBER              FORM TITLE


               AL-10                    Application for Surety Bail Bond
               UL-0100                  Indemnity Agreement for Surety Bail Bond
               AL-0101                  Amendment to Indemmty Agreement
               ALGC                     General Conditions of Bail
               UL-0202                  Disclosure Statement
               UL-0200                  Deed of Trust
               UL-0201                  Authorization Re Deed of Trust
               UL-0001                  Bail Bond Face Sheet
               UL-0600                  Indemnitor Order of Surrender
               UL-0700                  Bail Bond Rates
               UL-0601                  Authorization to Arrest
               UL-0002                  Appeal Bail Bond
               UL-0003                  Indictment Bail Bond
               AL-PN                    Promissory Note
               UL-0401-01               Bail Bond Power of Attorney
               UL-0401-02               Statement of Charges
               UL-0401-03               Receipt for Collateral Deposited
               AL-SBPl                  Supervised Bail Program
               AL-SBP2                  Supervised Bail Program
               ALSC-60                  Statement of Charges (BMA)
               ALPR-61                  Payment Receipt (BMA)




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.._ ,/ .
                                                                APPLICATION                          FOR SURETY BA.IL BOND
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                                       Charge______________                                                    .......---·-                                Oll1!:ome_________                                        _
                                                                                                                              Date ....... ,    , .... .
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                Co-Signor Information NegotiatingAsen1
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                O!l!eril11ormatlml:_______________________________________                                                                                                                                   _
                I eartlly lhet !he above lntonnatlon la true and correct. I also authorize Aladdin Ball Bonds lo nm credit roporta and verifleallon ol employmlll'll

                Siy!\il.ln ---------------------------                                                                                         !lal1l ____________                                           _



                                                                                                                                                                                                             22 of 145
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     Defendant'sName: ______________                                                                                                        _


     co ...Signor InformationNegotiating Agent ,, . ,, .........
               ALL INFORMATION wmo IS MANDATOIIY Allll MUST IIE COMPlmll EACH TIME A DEfENllANT IS RELEASED ON SAIL Wint At.Alll!IN BAIL SDNOS.
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     Phooe t ..                                                                                                                                How long                                           Mlll1llliyi1100<1raS
     (Awl)'!'eM____ Make: _________                                                            Modal ---------                                                                                         Co10r
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     I certt1y that !he abow lnformlllllon 111 true and correct. I also IW!hmaAladdin Ball Bonds !o run cl'IMflt reports and ,;arltlcation ot employment.
     Signature __________________________                                                                                                                Daw ____________                                                              _


     Co-SignorInformationNegGtlatlngAgent ____________                                                                                                                                                                         _
               ALL INFOIIMATIOIILISTED IS MAIIDATOIIYANO MUST IIE COMPLml! EACH TIME A DEl'ENOAIITIS RELEASED Ill! BAIL Willi ALAODIII BAIL BONDS.
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     1certtly !hat the above lnl'Ofmatlon Is true and correct. I also authome Aladdin BaH Bonds to run credit reports and verification ot employment.
     S!gnaturn ___________________________                                                                                                               lll11!1 ____________                                                      _



     Co-Signor Information Negot1at1ngAgent
               All llil'OltMATIOllllSTEll IS MAIIDATOltYAllll MUST SE &DMPLETI'll EACH TIME A DEl'ENIWITIS RELEASED ON IIAll WITH AI.AllOlftIIAIL BONDS.
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     S<gnificant0!!1er'sName                                                                                                                                              ,""" "' "-·-- ,_ ..... . l~l\t Married VD$ i No
     54g. OO;er'g Employer                                                                                      Addrm;
     Phone L ..                                                                  Clceupation                                                   HllWUllfll..... _____ Monthly lntll!OOS...."
     (Aulo)Vm!r                                        Maki!                                   Mmlai --------- llt:eNl1)#_____ _     Color ____ _
     Bankllame                                                                                  _____________           Accoon!i__________ _
                                                                                 Branch locotwm
     Re3l Property:Afltltim .                                                                          ValJJo                               loan Balance ············•··......................
                                                                                                                                                                                           .
     Ott,erl~farmamm:_______________________________________                                                                                                                                                                       _
     I certify that the above lnfOrmatlon Is. true end correct I al8o authorize Aleddln Ball Bcnd11 IO run CfllCiitrepo,U; and vmffiClltlonof emplo11ment.

     ~---------------------------Date                                                                                                                            ____________ _
                                                                                                                                                                                                                                     23 of 145
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'   .   ..



                                           INDEMNITY AGREEMENT
                                                    FOR
                                             SURETY BAIL BOND



                                                         RECITAL

             The following 1s a bail bond contract/indemnity agreement between you (as the defendant
             or indemnitor(s)), Two Jmn, Inc. dba Aladdin Bail Bonds ("Aladdin"), and ULICO Standard of
             America Casualty Company ("ULICO") (collectively"we" and/or "us"). It providesfor, among other things,
             the consequences to you as a result of failing to pay the bail bond premium and/or the defendant's
             failure to appear in court as ordered.


             In order to keep the bail bond in force and the defendant out of jail, you must (1) pay the
             bail bond premium, and (2) ensure that the defendant appears in court on the required dates.
             If a bail bond premium is not fully paid and/or the defendant does not appear in court as
             ordered, we may surrender the defendant back to the custody of the court and charge you for
             all expenses incurred m locating, capturing, and returning the defendant to court. Additionally,
             IN THE EVENT WE ARE UNABLE TO RETURN THE DEFENDANT TO COURT WITHIN THE
             TIME PRESCRIBED BY LAW AND MUST PAY THE FULL PENAL AMOUNT OF THE BAIL
              BOND, YOU ARE RESPONSIBLE TO REIMBURSE US FOR ALL AMOUNTS WE MUST PAY,
             INCLUDING THE PENAL SUM OF THE BOND, INVESTIGATION COSTS, COURT COSTS,
             AND ATTORNEYS' FEES (INCLUDING ATTORNEYS' FEES INCURRED RECOVERING THESE
             AMOUNTS FROM YOU). In such an event, any premium amounts paid by you will not offset
             your obligation for the full penal amount of the bond.


              Please carefully review each of the terms and conditions of the following bail bond
             contract/1ndemrnty agreement.




             UL-0100 (08-11)




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                       INDEMNITY AGREEMENT FOR SURETY BAIL BOND
     This Indemnity Agreement ("Agreement") is effective as of------~                   20__ . In consideration for the
     executing, arranging, and continuance of the undertaking of bail for __________                      (the "Principal"
     or "Defendant") in the penal amount of $_______ ("Bail Bond"), the undersigned lndemnitor(s) agrees to
     pay the Bail Bond premium(s) and to indemnify Aladdin Bail Bonds ("Aladdin") and ULICO Standard of America
     Casualty Company ("ULICO") as follows:

     1. General Conditions of Bail. As a further condition to Aladdin and/or Surety maintaining the Bail Bond,
     lndemnitor(s) and Principal/Defendant agree that their failure to satisfy any of the following conditions constitutes
     a breach of this Agreement and may result in Defendant's surrender to custody without return of premium:

           (a) THE DEFENDANT MUST RETURN TO ALADDIN'S OFFICE IMMEDIATELY UPON RELEASE FROM
     JAIL. Failure to do so may result in the Defendant being surrendered back to custody in accordance with paragraph
     5 below ("Surrender"), and additional fees may be owed pursuant to paragraph 4 below ("Indemnification").

           (b) The Defendant must APPEAR AT All COURT DATES in person as ordered by the court.

            (c) If the defendant fails to appear in court, he/she must contact Aladdin immediately for possible bail bond
     reinstatement. If reinstatement is approved by Aladdin, the Defendant must submit the reinstatement document
     provided by Aladdin to the clerk of the court immediately or it will otherwise be void. Please be advised that under
     these circumstances the Defendant's warrant is still active until he/she has appeared in court and the judge has
     recalled the warrant

            (d) As more fully set forth in paragraph 4 below, the Defendant and lndemnitor(s) are responsible for any
     and all expenses incurred by Aladdin or its Surety as a result of the Defendant's failure to appear for scheduled
     court dates.

           (e) The Defendant and lndemnitor(s) must notify Aladdin if they (or any of them) change their residence
     address, business address, telephone numbers, or employment.

           (f) The Defendant and lndemnitor(s) shall remain liable hereunder until such time as the Bail Bond is
     exonerated and Aladdin and/or Surety are fully indemnified for any losses pursuant to paragraph 4 below
     ("Indemnification").

            (g) Supervised Bail. The Defendant may be placed on supervised bail at any time in Aladdin's sole
     discretion. If placed on supervised bail, Defendant must check in with Aladdin or its designee as requested by
     Aladdin.

     2. Premium. lndemnitor(s) shall pay Aladdin $_________                      for continuance of the Bail Bond (the
     "Premium"). The Premium is fully earned upon the release of the Principal. The fact that the Principal may have
     been improperly arrested, or his bail reduced or his case dismissed, shall not obligate the return of any portion
     of said Premium. In the event any Premium due is not paid upon demand, Aladdin and/or Surety maintain the right
     to surrender the Principal as provided by law, in addition to exercising any other available legal remedies arising
     from this Agreement. Any amounts due hereunder shall bear interest at the maximum rate allowed by law. Time
     is of the essence as to all payments.

     3. Collateral. Aladdin and/or Surety may require lndemnitor(s) to deposit money or other property as collateral
     in an amount or value which Aladdin and/or Surety determines, in their sole and absolute discretion, sufficient to
     protect against the risk of Bail Bond forfeiture and/or summary judgment ("Collateral"). If as a result of judicial
     action bail is increased, Aladdin and/or Surety may demand such additional Collateral as they determine
     necessary to protect against the increased risk. In the event lndemnitor(s) or Principal misrepresents or conceals



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information which would have been material to Aladdin and/or Surety's decision to execute the Bail Bond, or
otherwise takes any action which creates an increase in the risk of Bail Bond forfeiture, lndemnitor(s) shall, upon
demand, deposit Collateral in an amount or value equivalent to the full penal amount of the Bail Bond. lndemnitor(s}
authorizes Aladdin and/or Surety to levy upon Collateral in any lawful manner to recover sums due under this
Agreement for unpaid Premium, indemnity obligations, fees, costs, expenses, and/or other liabilities for which
lndemnitor(s) has agreed to indemnify Aladdin and/or Surety hereunder. Following exoneration or other final
disposition of the Bail Bond and following the application of Collateral to satisfy lndemnitor(s)'s obligations, any
excess Collateral shall be immediately returned to the depositor.

4. Indemnification. To the fullest extent permitted by law, lndemnitor(s) agrees to indemnify and reimburse
Aladdin and/or Surety for any and all losses, damages, judgments, attorneys' fees (including the reasonable value
of services performed by Aladdin and/or Surety's in-house legal staff, claims staff, and/or investigative staff), costs,
expenses, or liability of any kind whatsoever arising out of or relating to the following:

         (1) the Principal and/or lndemnitor(s)'s breach of any of the terms and conditions of this Agreement;
         (2) false or misleading information provided by Principal/lndemnitor(s) in the Bail Bond Application (the
             contents of which are incorporated herein by reference);
         (3) searching for, recapturing, and/or returning the Principal to custody prior to the entry of summary
             judgment on the Bail Bond;
         (4) making application to a court for an order to vacate or to set aside the order of Bail Bond forfeiture or
             summary judgment entered thereon;
         (5) payment of a judgment on the forfeiture of the Bail Bond;
         (6) any action or proceeding commenced by Aladdin and/or Surety to enforce this Agreement; and
         (7) any expenses incurred by Aladdin and/or Surety as a result of the Principal's refusal to cooperate with
             the arrangement and/or execution of the Bail Bond (or any renewal or substitution thereof) once Aladdin
             and/or Surety have initiated arrangements with the court and/or detention facility.

 Principal and lndemnitor(s) understand and agree that Aladdin or Surety's own active or passive negligence in
 connection with investigation and handling of claims forfeitures shall not in any way cancel or limit Principal
 and lndemnitor(s)'s indemnity obligations. Defendant and lndemnitor(s) fully assume the risk of the Defendant's
 non-appearance. lndemnitor(s) further agrees to fully cooperate and assist Aladdin and/or Surety in securing the
 release and exoneration of the Bail Bond, including the surrender of the Principal to court should Aladdin and/or
 Surety deem such action advisable.

5. Surrender. In the event of Bail Bond forfeiture, or the Principal and/or lndemnitor(s)'s failure to abide by the
terms of this Agreement, Aladdin and/or Surety maintain the right to surrender the Principal as provided by law.
Aladdin and/or Surety shall not surrender the Principal to custody prior to the time specified in the Bail Bond for
the appearance of the Principal, or prior to any occasion when the presence of the Principal in court is lawfully
required, without first returning all Premium paid, unless as a result of judicial action, information concealed or
misrepresented by the Principal and/or lndemnitor(s), or other reasonable cause, any one of which was material to
the risk to be assumed by Aladdin and/or Surety, the risk was substantially increased.

6. lndemnitor Representations & Warranties. lndemnitor(s) represents and warrants that (1) all statements and/
or information provided on or in connection with the Bail Bond Application are true and accurate; (2) lndemnitor(s)
will advise Aladdin and/or Surety of any change in such information within 48 hours of learning of the change
(including but not limited to (i) changes of address or employment of either the Principal or lndemnitor(s), or (ii)
any other material change in circumstances), and that lndemnitor's failure to so advise shall be reasonable cause
for the immediate surrender of the Principal; (3) lndemnitor(s) has read and knows the contents of the Bail Bond
Agreement and this Agreement, and has received copies of each document included therein; (4} lndemnitor(s} is
the true and lawful owner of all Collateral or other property set forth in the Bail Bond Application, and lndemnitor(s)
shall not transfer or otherwise encumber said property without first satisfying all outstanding liability for the Bail
Bond.

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 7. Additional Bail Bonds. In the event additional Aladdin bail bonds are executed for the same charge for which
 the above mentioned Bail Bond was executed, or any other charge arising out of the same criminal matter, this
 Agreement shall apply equally to those bonds.

 8. Joint & Several Obligations. The obligations hereunder are joint and several. lndemrntor(s) expressly waives
 the benefits of any law requiring Aladdin and/or Surety to seek available remedies from the Principal prior to
 proceeding against lndemnitor(s) hereunder.

 9. Governing law. This Agreement shall be governed, construed, and interpreted 1n accordance with the laws
 of the State of California.

 10. Integrated Agreement. lndemnitor(s) acknowledges and agrees that no promises or representations were
 made to lndemnitor(s) which do not appear written herein and that this Agreement contains the entire agreement
 between lndemnitor(s), Aladdin and Surety on the subject matter hereof. lndemnitor(s) further acknowledges
 and agrees that all prior statements, agreements, understandings or promises, written or oral, are superseded by
 this Agreement. This Agreement may only be modified by a writing signed by authorized representatives of the
 parties.

 IN WITNESS WHEREOF, lndemnitor(s) acknowledges that in executing and continuing the Bail Bond, Aladdin
 and/or Surety is relying on this Agreement and the statements made by lndemrntor(s) 1n connection herewith, and
 as such, the undersigned lndemnitor(s) enters into this Agreement by signing below.


 lndemnitor

 SIGNATURE                                                    NAME

 ADDRESS


 lndemnitor

 SIGNATURE                                                    NAME

 ADDRESS


 lndemnitor

 SIGNATURE                                                    NAME

 ADDRESS


 lndemnitor

 SIGNATURE                                                    NAME

 ADDRESS


 Principal/Defendant

 SIGNATURE                                                    NAME

 ADDRESS

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                 INDEMNITY AGREEMENT FOR SURETY BAIL BOND
                         ULICO STANDARD OF AMERICA CASUAL TY COMPANY

Defendant Name                                                                                                       Date of Bonds
Bond 1
              Amount$                                          Number                                                     Case#

              Charges

Bond 2
              Amount$                                          Number                                                     Case#

              Charges

Bond 3
              Amount$                                          Number                                                     Case#

              Charges

Bond 4
              Amount$                                          Number                                                     Case#

              Charges

Bond 5
              Amount$                                          Number                                                     Case#

              Charges

Bond 6
              Amount$                                          Number                                                     Case#

              Charges

Bond 7
              Amount$                                          Number                                                     Case#

              Charges

Bond 8
              Amount$                                          Number                                                     Case#

              Charges
Total
Amount
of Bail$
                STATEMENT OF INFORMATIONREQUIRED BY SECTION 2100, CALIFORNIAREGULATORYCODE, AND WHICH MAY BE REQUIRED IN OTHER STATES



       Full Name of person supplying information                           Name of person negotiatingbail                              Name of person receiving information



                        Address                                                       Address                                           Date and time information received



         Connection or relationshipto defendant                         Connection or relationshiplo defendant                         Manner in which informationreceived



     If same was defendant, how did he communicate?                  Name of licensee who negotiatedtransaction                  Name of other agent involved and comm1ss1on paid

If writ ____________                                  _
                   Name of Attorney                                                           Name and sum paid unlicensed persons and service performed

Was considerationother than money received? YES D NOD If yes, explain in detail and attach statement.                                                                 UL-0100 (08-11)



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       AMENDMENT TO INDEMNITY AGREEMENT FOR SURETY BAIL BOND


              This Amendment to Indemnity Agreement for Surety Bail Bond ("Amendment")            is effective as of
----------~·                        20 ___ ("Effective Date"), by and between Aladdin Bail Bonds ("Aladdin") and
 _________________                                    ("lndemnitor") (each a "Party" and collectively the "Parties").

                                                      RECITAL

    Aladdin is in the business of providing surety bail bonds for criminal defendants. In connection with
 ___________                  County Superior Court Case No. __________ _, the court
 has set bail for criminal defendant ____________________                                           (the "Defendant")
 in the total penal amount of$ ______ . In exchange for providing Bail Bond# _______ _
 (and/or such other bonds in connection with the above case) (the "Bond"), the Defendant and/or other
 indemnitors have agreed to      pay Aladdin a premium in the amount of$ _______ (the "Premium"); and
 (2) indemnify Aladdin for any expenses incurred in the event of the Bond's forfeiture. As inducement for the above
 named lndemnitor to execute the Indemnity Agreement for Surety Bail Bond (the "Bond Contract"), Aladdin has
 agreed to limit lndemnitor's obligations thereunder solely with respect to the Premium payment as provided in this
 Amendment

                                                   AMENDMENT

 In consideration of the above Recital and for valuable consideration, the Parties agree as follows:

 1.       Limited Liability for Continuing Premium PaymentsNoid After Forfeiture Expense. Other than amounts
 paid as an initial down payment toward Premium, if any, lndemnitor shall not be responsible to pay Aladdin any
 remaining portion of the Premium due for the Bond, provided however, the Bond does not become forfeited. In
 the event Aladdin incurs arry expense as a result of Bond forfeiture, lndemnitor shall be liable for all Premium due
 in addition to any and all expenses incurred as a result of the Bond's forfeiture, including but not limited to the
 total penal amount of the Bond, all as set forth in the Bond Contract. This Amendment applies solely to the above
 named lndemnitor and may not be assigned for the benefit of any other party.

 2.      Other Portions of Bond Contract Unaffected. The Parties agree that this Amendment does not in any
 way affect, limit, or alter lndemnitor's obligations under the Bond Contract with respect to contingent liability for
 Bond forfeiture. All such obligations. including the terms and conditions of the Bond Contract which are expressly
 incorporated herein by reference, shall continue in full force and effect.

 3.       Integrated Agreement The Parties acknowledge and agree that no promises or representations were
 made to them which do not appear written herein and that this Amendment and the Bond Contract contain the
 entire agreement of the Parties on the subject matter thereof. The Parties further acknowledge and agree that all
 prior statements, agreements, understandings or promises, written or oral, are superseded by the Bond Contract
 and this Amendment



 IN WITNESS WHEREOF, the Parties have executed this Amendment, effective _______ _, 20__ •

 Aladdin Bail Bonds:                                       lndemnitor:



         AGENT SIGNATURE                                         PRINT INDEMNITORNAME



         PRINT AGENT NAME                                        !NOEMNITORSIGNATURE

 AL-0101 /03-08) !.!




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                                            GENERAL CONDITIONS OF BAIL
                                                                                             DEF.I IND.
WE GET YOU OUT, Wf GET YOU THROUGH IT.®
                                                                                              INITIALS

  THE DEFENDANT MUST RETURN TO THIS OFFICE IMMEDIATELY
  UPON RELEASE FROM JAIL Failure to do so may result in the defendant
  being surrendered back to custody and additional fees may be applied. __I __

  The Defendant must APPEAR AT ALL COURT DATES in person as ordered by the court

  The Defendant shall CONTACT ALADDIN BAIL BONDS AFTER EACH COURT DATE
  and report his/her next court date(s).                               __!__

  If the defendant fails to appear in court, he/she must contact our office immediately for
  possible bail bond reinstatement. The reinstatement request must be submitted to the
  clerk of the court immediately or the letter will be void. Please be advised. the defendant's
  warrant is still active until he/she has appeared in court and the judge has recalled the
  warrant                                                                                       __ I __

  The Defendant and lndemnitor(s) are responsible for any and all expenses incurred,
  resulting from the Defendant's Failure to Appear for scheduled court dates.

  The Defendant and/or lndemnitor(s) must notify Aladdin Bail Bonds if any change is made
  to his/her residence, phone number or employment.                                       __I __

  The Defendant and lndemnitor(s) are liable for said Bail Bond(s) until Exonerated by the
  court.                                                                                   __ I __

  The premium for said Bail Bond is fully earned upon the Defendant's release from jail.
  The fact the Defendant may have been improperly arrested or his/her bail reduced or
  his/her case dismissed, shall not obligate the return of any portion of said premium.
  NO REFUND UPON RELEASE.                                                                   _/_

I / We have read and understandthe above conditions,


!ndemnitor Signature                      Print Name                                Date



lndemnitor Signature                      Print Name                                Date



lndemnitor Signature                      Print Name                                Date



lndemnitor Signature                      Print Name                                Date



Defendant Signature                       Print Name                                Date
                                                                                               &·GC (1005} U




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                  ULICO STANDARD OF AMERICA CASUALTY COMPANY
                                  DISCLOSURE STATEMENT
                                                    Bail Agency: ____________                            _

                                                    Bond Number. ___________                         _

                                                    Bond Amount ___________                          _

                                                    Defendant: ____________                          _


                                           ATTENTION

                     DISCLOSURE OF LIEN AGAINST REAL PROPERTY.
                     DO NOT SIGN THIS DOCUMENT UNTIL YOU READ
                                AND UNDERSTAND IT!
            THIS BAil BOND Will BE SECURED BY REAL PROPERTY YOU
            OWN OR IN WHICH YOU HAVE AN INTEREST. THE FAILURE TO PAY
            THE BAil BOND PREMIUMS WHEN DUE OR THE FAILURE OF THE
            DEFENDANT TO COMPLY WITH THE CONDITIONS OF BAil COULD
            RESULT IN THE LOSS OF YOUR PROPERTY!

   After you have read the above Disclosure Statement and received a completed copy of the Bail Bond
Agreement and the Deed of Trust, please execute this Disclosure Statement in the space provided below,
acknowledging that you have read and understood this Disclosure Statement and that you have received
a completed copy of the Bail Bond Agreement and the Deed of Trust. You will be asked to execute this
document again, in the corresponding space provided below, upon delivery to you of a full Satisfaction
of Mortgage, which, upon recordation terminates the lien on your real property created by the Mortgage
Deed.

I HAVE READ AND UNDERSTAND THE ABOVE DISCLOSURE STATEMENT AND HAVE RECEIVED
A COMPLETED COPY OF THE BAIL BOND AGREEMENT AND MORTGAGE DEED.

Print Name: ___________                      _       Print Name:___________                          _


Sign Name: ___________                       _       Sign Name: ___________                          _


Date: _____________                          _       Date:._____________                             _


I HAVE RECEIVED A SATISFACTION OF MORTGAGE, A CERTIFICATE OF DISCHARGE, OR A
FULL RELEASE OF ANY LIEN AGAINST REAL PROPERTY TO SECURE PERFORMANCE OF THE
CONDITIONS OF THE BAil BOND.

Print Name: ___________                      _       Print Name:___________                          _


Sign Name: ___________                       _       Sign Name: ___________                          _

Date: _____________                          _       Date:_____________                              _
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                  RECORDING REQUESTED BY:




         AND WHEN RECORDED MAil TO

 Two Jinn, Inc., dba Aladdin Bail Bonds
 Attn.: Underwriting Department
 1959 Palomar Oaks Way, Suite 200
 Carlsbad, CA 92011

-------------------'-------                                                    SPACE ABOVE THIS LINE FOR RECORDER'S USE -----

                                                              DEED OF TRUST

This Deed of Trust is made this ___ day of________ , 20__ between----------------~                                  herein
called Trustor(s), and _________________           , herein called Trustee, and ULICO Standard of America CasualtyCompany
herein called Beneficiary or Surety. Trustor(s) hereby grants to Trustee, in trust, with power of sale, all that property in the County of._____ _
in the State of _________ , described as: Lot                           Block ___ Tract                 APN # ___________                        as per
map recorded in Book, ___ Page ___ of Maps, Official records in the office of the County Recorder of ___________
and commonly known as-----------------------------------------
This Deed of Trust is for the purpose of securing payment to the Beneficiary and/or Trustee, of the monies due to and all losses, damages, expenses
and liability suffered, sustained, made or incurred by or on behalf of the Surety (and as more fully set forth and described in a certain Indemnity
Agreement For Surety Bail Bond, which agreement is made a part hereof by reference as though herein fully set forth) on account of, growing
out of, or resulting from the execution of a certain bail bond(s) on behalf of _________________                                       in the matter of
________________                              vs.---------------~                                   and for which amounts and the matters set forth
in the Indemnity Agreement, the presents are security, (Bond #____________                                  (Bond #___________
(Bond# __________                            (Bond# ___________                           (and any additional bonds executed in connection with the
defendant relating to the above-entitled matter). It is agreed that a certificate signed by the Beneficiary or Beneficiary's agent at any time hereafter
setting forth (1) that the bond(s) has been declared forfeited or that a loss, damage, expense or liability has been sustained by the Surety on account
of the bond(s); (2) the date(s) and amount(s) of such loss, damages, expenses and/or liability; (3) that payment has been demanded of the party(ies)
on whose behalf the bond(s) was or is about to be executed; and (4) that such loss, damages, expenses or determined liability has not been paid to the
Beneficiary, shall be conclusive and binding on the Trustor(s), and shall be the warrant of the Trustee to proceed forthwith to foreclose and sell upon
the security herein, and from the proceeds of sale (after deducting expenses including cost and search of evidence of title) pay to the Beneficiary or
Beneficiary's agent the amount so certified, including interest at ten percent per annum from demand to date of payment and attorney's fees. It is
further agreed that Beneficiary may declare all sums or obligations secured hereby due immediately and payable in full upon (I) delivery to Trustee
of the above referenced certificate (upon which Beneficiary may also deliver to Trustee written notice of default and demand for sale and its election
to cause to be sold said property, which notice Trustee shall cause to be duly filed for record); (2) Trustor(s) failure to pay taxes, assessments and
other charges and fines that may be imposed on the property which adversely affect Beneficiary's interest; (3) any sale or transfer of the property,
or any portion thereof, to a third party without the Beneficiary's written consent; or (4) the commencement of bankruptcy proceedings by or against
Trustor(s). It shall be deemed sufficient if proceedings to foreclose and sell the security herein are executed by the above-named Trustee (or its
successors) and it shall be deemed sufficient if a full reconveyance is executed by the above-named Trustee (or its successors). The undersigned
Trustor(s) requests that a copy of any notice of default and of any notice of sale hereunder be mailed to him/her at bis/her mailing address opposite
the signature hereto. Failure to insert such address shall be deemed a waiver of any request hereunder for a copy of such notices.
SIGNATURE OFTRUSTOR(S)                                      STREET AND NUMBER                                              CITY              STATE




STATE OF ______________                                    COUNTY OF _____________                                     _
On _______ before me, ---------------------~                                                                NOTARY PUBLIC, personally appeared
_____________________                                            __, who proved to me on the basis of satisfactory evidence to be the person(s)
whose name(s) is/are subscribed to the within instrument and acknowledged to me that he/she/they executed the same in his/her/their authorized
capacity(ies), and that by his/her/their signature(s) on the instrument the person(s), or the entity upon behalf of which the person(s) acted, executed
the instrument. 1 certify under PENALTY OF PERJURY under the laws of the State of California that the foregoing paragraph is true and correct.
WITNESS my hand and official seal.



SIGNATURE: _________________                                                (Seal)

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                UUCO STANDARD OF AMERICA CASUALTY COMPANY
                                              Two Jinn, Inc.
                                              General Agent
                                    1959 Palomar Oaks Way, Suite 200
                                            Carlsbad, CA 92009
                                 Phone: (800) 808-2245 Fax. (760) 431-2698




                     AUTHORIZATION RE: DEED OF TRUST


   Defendant Name:


   Bond Number(s):




   Property Address:




   The undersigned, being the guarantor on the referenced bail bond(s), hereby authorizes the bail agent or
   any of his agents, representatives or employees, to fill 1n the pertinent 1nformat1on on the deed of trust
   which the undersigned executed in blank in connection with the undertaking of said bail bond(s).




   GUARANTOR'S SIGNATURE                                                    DATE




   GUARANTOR'S PRINTED NAME




   GUARANTOR'S SIGNATURE                                                    DATE




   GUARANTOR'S PRINTED NAME




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                                                                                                    ALADDIN BAIL BONDS
         ULICO STANDARD OF AMERICA                                                                    CLAIMS DIVISION
              CASUAL TY COMPANY                                                              1762 Technology Drive, Suite 124
                          TWO JINN, INC.                                                           San Jose, CA 95110
                         GENERAL AGENT                                                Telephone (408) 350-9180 Fax (408) 487-8692
                    1959 Palomar Oaks Way, Suite 200
                                                                                                    License # 1843442
                          Carlsbad, CA 92011
              Telephone (800) 808-2245 Fax (760) 431-2698

                                                                                            (PLACE BAIL AGENrs ADDRESS STAMP HERE)


       BAIL BOND
                                                                                      NO.---===-=-=====:-=-;=:;;:-:====,,.,...
                                                                                          (POWER OF ATTORNEY WITH THIS NUMBER MUST BE ATTACHED.)


       IN THE ___________                                  _       COURT OF THE __________                                  _       JUDICIAL DISTRICT
       COUNTY OF _______________                                                  _       , STATE OF
       THE PEOPLE OF THE STATE OF
                                                                     Plaintiff,                                CASE NO. _______ _

                                         vs.                                                                   DIV. NO. ________ _


                                                                   Defendant.

       Defe nd anl ------------,,IN.,.,AM~E~o=F=o=e,=eN=o~A=NT~J                  -----------                                         BOOKING NO.

       having been admitted to bail in the sum of _____________________________                                                                                          _
       ___________                             Dollars ($ __________                          __, and ordered to appear in the above-entitled court

                                               20
       on ___1•-,1=e-o=,-•e=e=e,~R-AN-C=E~)
                                         -~         ---~ on -------,,1s=TA""T"'E "'·M""1s"'DE""M""E°"AN"'O"'R·,..,o""a"'"·•=e'°'LO,:-Nc,Yi;;--------
                                                                                                                                              charge/s,
       Now, tte ULICO STANDARD OF AMERICA CASUAL TY COMPANY, a California Corporation hereby undertakes that the above-named
       defendant will appear in the above-named court on the date above set forth to answer any charges in any accusatory pleading based upon the acts
       supporting the complaint filed against him/her and as duly authorized amendments thereof, in whatever court ii may be filed and prosecuted, and will at
       all times hold him/herself amenable to the orders and process of the court, and if convicted, will appear for pronouncement of judgment or grant of
       probation; or if he/she fails to perform either of these conditions, that the ULICO STANDARD OF AMERICA CASUAL TY COMPANY,
       a California Corporation, will pay the people of the said Slate the sum of ______________________                                                   _
       dollars($ __________ ___,

       II the forfeiture of this bond be ordered by the Court, judgment may be summarily made and entered forthwith against the said ULICO STANDARD
       OF AMERICA CASUAL TY COMPANY a California Corporation, for the amount of its undertaking herein as provided by State Law.
                                                                                                                                           ,,,,,,·' ER,c·•,,,,,

                                                                                      ULICO STANDARD OF AMERICA
          THIS BOND IS VOID IF WRITTEN FOR AN AMOUNTGREATER
                                                                                          CASUALTY COMPANY
          THAN THE POWER OF ATTORNEYATTACHED HERETO, IF
                                                                                         (A California Corporation)
          MORE THAN ONE SUCH POWER IS ATTACHED, OR IF
          WRITTEN AFTER THE EXPIRATION DATE AS SPECIFIED
          ON THE ATTACHED POWER OF ATTORNEY.
                                                                                                      0~ Q .-G-                                                   (SEAL)
                                                                                         By___,._f~-~p~~OTZ --
                                                                                                                 ATTORNEYalNaFACT



       I certify under penalty of perjury that I am a licensed bail agent of the ULICO STANDARD OF AMERICA CASUALTY COMPANY
       and that I am executing this bond on--------------~---------------
                                                                                                      (DATEJ
       at ___________________                                                 l""Lo"'c-:SAT'°'IO""NJ__________________                                              _


                                                                                                           {SIGNATIJRE OF UCENSED AGENTI



       THE PREMIUM CHARGED FOR                                                           Approved this _____ day of_____ 20
       THIS BOND IS$ ___________                               _                          _ _________________                                                     (TITLE)

         NOTE: This is an Appearance Bond and cannot be construed as a guarantee for failure to provide payments, back alimony
                             payments, Fines, or Wage Law claims, nor can It be used as a Bond on Appeal.
       Ul-0001 (08-11)




                              CERTIFICATE                              OF DISCHARGE                                  BOND
                     ULICO STANDARD OF AMERICA CASUALTY COMPANY
       POWER AMT.$ ___ _                        POWER NO. __________ _
       this is to certify that on or about the ____________                           day of__________                       20 ___ , the bond with the

       corresponding power number has been discharged of record. Date of Discharge _________                        _

       TO THE CLERK OF THE COURT                                                              Title _________________                                                    _
       Will you please check your records for the bond listed above. When the bond
       has been exonerated, please enter the date of exoneration, sign and return this        By _________________                                                   _
       form to:
                                                                                              Bond Amount$ _____________                                            _
                              Surety for the Bail Agent:                                      Defendant _______________                                                 _
                         1959 Palomar Oaks Way, Suite 200
                                                                                              Court ________________                                                _
                                Carlsbad, CA 92011
                                                                                              Date Filed




                                                                                                                                                                            34 of 145
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  ULICO STANDARD OF AMERICA
       CASUAL TY COMPANY
                   TWO JINN, INC.
                  GENERAL AGENT
               1959 Palomar Oaks Way, Suite 200
                      Carlsbad, CA 92011
         Telephone (800) 808-2245 Fax (760) 431-2698



                                           INDEMNITOR ORDER OF SURRENDER

            Defendant:------------------------------------

lndemnitor(s): -------------------------------------

Bond Number(s): ------------------------------------

Date: _________________                                  _

On the _____ day of ___________ _, 20 ---~ the undersigned entered into a Bail Bond

Agreement with _______________                                Bail Bonds for the execution of the above referenced Bail Bond

on behalf of _______________                             in the amount of$ _____________                          who has been

charged with the following violation(s)~·____________________________                                                        _



It appearing to the undersigned lndemnitor(s) on said Bail Bond(s) that the above named Defendant 1s not now a desirable
risk and should be surrendered into custody forthwith. It is hereby requested that such surrender be effected. The under-
signed agrees that the liability on said Bail Bond(s) shall remain in full force and effect until such time as the court having
jurisdiction of the case shall exonerate the Bail Bond(s) and fully release the surety thereon.

It is further agreed that any expense incurred, including recovery fees, in the transaction of this surrender, will be reimbursed
by the undersigned lndemintor(s) upon demand.

It is further agreed that any premium or fee charged, in this transaction, is fully earned and any amount remaining unpaid
thereon, will be paid by the undersigned upon demand.

In connection herewith, the undersigned hereby agrees to hold harmless ULICO Standard of America Casualty Company
from any and all damages that may occur as a result of this request for surrender of said Defendant.
Executed this                        day of                     20



lndemnitor                                                           Relationship                       Date


lndemnitor                                                           Relationship                       Date


lndemnitor                                                           Relationship                       Date


lndemnitor                                                           Relationship                       Date




UL-0600 (08-11)                                                                                                              (D-2)




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 ULICO STANDARD OF AMERICA
      CASUALTY COMPANY
                     TWO JINN, INC.
                    GENERAL AGENT
             1959 Palomar Oaks Way, Suite 200
                    Carlsbad, CA 92009
       Telephone (BOO) 808-2245 Fax (760) 431-2698
                                                                   (PLACE BAIL AGENT'S ADDRESS STAMP HERE)



                                          BAIL BOND RATES
                        THE FOLLOWING RATES WILL BE CHARGED ON ALL BAIL BONDS:

                                                     State of California

                         State Bonds

                                      Bonds up to and including $499.00 in liability
                                      will be charged $50.00, plus $15.00

                                      Bonds over $499.00 in liability will be charged
                                      10% of the penal amount, plus $15.00

                         Qualified Unions and Private Defense Counsel. Active Duty members
                         of the United States Military Armed Forces. Veterans of the United
                         States Military Armed Forces and Immediate Families of Active Duty
                         and Veteran Members of the Military Armed Forces.

                                      Bonds up to and including $600.00 in llab1llty
                                      will be charged $50.00, plus $15.00

                                      Bonds over $600.00 in liability will be charged
                                      8% of the penal amount, plus $15.00


                    A MINIMUM PREMIUM CHARGE OF $50.00 APPLIES PER BOND. THE $15.00
                  SHOULD NOT BE INCLUDED IN THE CALCULATION OF THE MINIMUM PREMIUM


                                                          NOTE

                                  These rates must be charged by All agents of
                                UUCO STANDARD OF AMERICA CASUALTY COMPANY
                                These rates are for premium only, and do not
                                include other expenses incurred, such as tele-
                                phone, posting fees, appraisals or lot book
                                reports, travel and other miscellaneous expenses.


                    All AGENTS: Please post this rate chart where it can be seen by the public.
UL-0700 (08-11)




                                                                                                             36 of 145
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                                   ULICO STANDARD OF AMERICA
                                       CASUAL TV COMPANY
                                                     TWO JINN, INC.
                                                    GENERAL AGENT
                                   1959 Palomar Oaks Way, Suite 200, Carlsbad, CA 92011
                                       Telephone (800) 808-2245 Fax (760) 431-2698


                        AUTHORIZATION TO ARREST DEFENDANT ON BAIL BOND




  KNOW ALL MEN BY THESE PRESENTS:

  That we, UUCO STANDARD OF AMERICA CASUALTY COMPANY, a Corporation, do hereby authorize and empower



  as its representitive and in its stead, to lawfully arrest and detain _________________                               _

  ____________________________                                                           , the defendant 1n this company's

  Bail Bond No. ______________                                  _, wherever he/she may be found m the UNITED STATES OF

  AMERICA, pursuant to any applicable laws of any sovereign state, and to hold said defendant m custody and surrender

  said defendant to the--------------------------------

  Court,

  -------------------------------                                                               Jud1c1al District, County of
  _____________________                                               , State of ____________                      wherein

  proceedings are now pending against said defendant described m said Bail Bond.



  Dated this ____ day of ______ __, 20                               ULICO STANDARD OF AMERICA CASUALTY COMPAN\I
  at ________ _
                    (city, town)                      (state)




                                                                            By ______________                           _
                                                                                           Attorney-in-Fact




  UL-0601 (08-11)




                                                                                                                  37of145
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 ULICO STANDARD OF AMERICA
      CASUALTY COMPANY
                  T\NO JINN, INC.
                  GENERAL AGENT
             1959 Palomar Oaks Ways, Suite 200
                     Carlsbad, CA 92011
        Telephone (800) 808-2245 Fax (760) 431-2698                           (PLACE BAIL AGENT'S ADDRESS STAMP HERE)


   APPEAL BAIL BOND                                                    NO.
                                                                            (POWER OF ATTORNEY WITH THIS NUMBER MUST BE ATTACHED )
                                                                                           COURT OF THE STATE OF
   FOR THE COUNTY OF
   THE PEOPLE OF THE STATE OF
                                                              Plaintiff,                                  CASE NO.
                                vs.

                                                           Defendant,
   An order having been made on the                                                  day of                                              ,20 __
   by the Hon
   a Judge of the                                                  Court of the
   County of                                                                            , State of                             that said defendant
                                                                                                                                be admitted to bail
   in the sum of                                                                                 Dollars($                        \
   pending the hearing and determination of the appeal of the defendant from judgment and sentence heretofore rendered in the above
   entitled cause, in the above entitled court on the                       day of                                     20
   wherein said defendant was charged with and convicted of the crime of

   and said defendant having duly appealed from said conviction and judgment herein, and said defendant having been duly admitted
   to bail pending the hearing and determination of said appeal in the sum of
                                                                                                  Dollars($                     l
   NOW, THEREFORE, We the ULICO STANDARD OF AMERICA CASUAL TY COMPANY, hereby undertake that the above named defendant

   will surrender him/herself in execution of the judgment, upon its being affirmed or modified, or upon the appeal being dismissed, or that,
   1n case the judgment be reversed and that the cause be remanded for a new trial, that he/she will appear in the court to which said cause
   may be remanded, and submit him/herself to the orders and process thereof, and that if he/she fails to perform any of these conditions,
   that we will pay the People of the State of                                   the sum of                 Dollars($                       \
   1n lawful money of the United States. If the forfeiture of this bond to be ordered by the Court, judgment may be summarily made and
   entered forthwith against the said ULICO STANDARD OF AMERICA CASUAL TY COMPANY, for the amount of its undertaking
   herein as provided by Sections 1305 and 1306 of the Penal Code.



                                                                                                                                 «tZJ))
                                                                           ULICO STANDARD OF AMERICA
        THIS BOND IS VOID IF WRITTEN FOR AN AMOUNT                              CASUAL TY COMPANY
        GREATER THAN THE POWER OF ATTORNEY ATTACHED                            (A California Corporation)
        HERETO, IF MORE THAN ONE SUCH POWER IS
        ATTACHED, OR IF WRITTEN AFTER THE EXPIRATION                                                                                 ''11111111110\\\

        DATE AS SPECIFIED ON THE ATTACHED POWER OF
        ATTORNEY.                                                               By
                                                                                                           ATTORNEY-IN-FACT

   I certify under penalty of perjury that I am a licensed bail agent of ULICO STANDARD OF AMERICA CASUALTY COMPANY
   and that I am executing this bond on
                                                                                              (DATE)
   at
                                                                   (LOCATION)

                                                                                                 (SIGNATUREOF LICENSED AGEND


   THE PREMIUM CHARGED FOR                                                  Approved this                day of                      , 20
   THIS BOND IS: $                                                                                                                                      Title




UL-0002 (08-11)




                                                                                                                                      38 of 145
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                                                                                                  ALADDIN BAIL BONDS
     ULICO STANDARD OF AMERICA                                                                      CLAIMS DIVISION
          CASUAL TY COMPANY                                                                1762 Technology Drive, Suite 124
                         TWO JINN, INC.                                                         San Jose, CA 95110
                        GENERALAGENT                                               Telephone (408) 350-9180 Fax (408) 487-8692
                                                                                                 License # 1843442
                 1959 Palomar Oaks Way, Suite 200
                         Carlsbad, CA 92011
            Telephone (800) 808-2245 Fax (760) 431-2698

                                                                                                     PLACE BAIL AGENT'S ADDRESS STAMP HERE


     INDICTMENT BAIL BOND
                                                                                   NO·----~=-=~=c=-c==-=====-
                                                                                     ,PowER OF ATTORNEY WITH THIS NUMBER MUST BE ATTACHED)


     IN THE ___________                                  _   COURT OF THE __________                                          _    JUDICIAL DISTRICT
     COUNTY OF ________________                                                          , STATE OF

     THE PEOPLE OF THE STATE OF
                                                                  Plaintiff,                                 CASE NO. _______ _

                                       vs.                                                                   DIV. NO.________ _


                                                               Defendant.

     An indictment having been found on the _______                          day of ________                    , 20 ___ in the Superior Court of

     the County of _______________                                        , charging Defendant -------,.,,-,-=c=c-c,--:-------
                                                                                                                    (NAME OF DEFENDANT)

     with the crime of _______________                                    , a felony, and Defendant _______________                                         _

     having been admitted to bail in the sum of __________                              Dollars($ ________________                                     _

     Now, Ire ULICO STANDARD OF AMERICA CASUAL TY COMPANY, a California Corporation hereby undertakes that the above-named
     defendant will appear in the above-named court on the date above set forth to answer any charges in any accusatory pleading based upon the acts
     supporting the complaint filed against him/her and as duly authorized amendments thereof, in whatever court ii may be filed and prosecuted, and will at
     all times hold him/herself amenable to the orders and process of the court, and if convicted, will appear for pronouncement of judgment or grant of
     probation; or ii he/she fails to perform either of these conditions, that the ULICO STANDARD OF AMERICA CASUAL TY COMPANY,
     a California Corporation, will pay the people of the said State the sum of,______________________                                                   _
     dollars($ __________

     11 the forfeiture of this bond be ordered by the Court, judgment may be summarily made and entered forthwith against the said ULICO STANDARD
     OF AMERICA CASUAL TY COMPANY a California Corporation, for the amount of its undenaking herein as provided by State Law.


         THIS BOND IS VOID IF WRITTEN FOR AN AMOUNT GREATER                      ULICO STANDARD OF AMERICA
         THAN THE POWER OF ATTORNEY ATTACHED HERETO, IF                              CASUALTY COMPANY
         MORE THAN ONE SUCH POWER IS ATTACHED, OR IF                                (A California Corporation)
         WRITTEN AFTER THE EXPIRATION DATE AS SPECIFIED
         ON THE ATTACHED POWER OF ATTORNEY.
                                                                                       By_f~---'"'--===-'e~=--"'
                                                                                                          rz --           0
                                                                                                                ATTORNEY-IN-FACT




     I certify under penalty of perjury that I am a licensed bail agent of the ULICO STANDARD OF AMERICA CASUALTY COMPANY
     and that I am executing this bond on _______________                                           =~--------------
                                                                                                    (DATEJ
     at ___________________                                                  -;:-(L""'oc"'A""Tl°"'ON,:,-1--------------------


                                                                                                         (SIGNATUREOF LICENSEDAGENT)


     THE PREMIUM CHARGED FOR                                                           Approved this _____ day of______ 20 __ _
     THIS BOND IS$ _______________                                       _             _ __________________                 (TITLE)

       NOTE: This is an Appearance Bond and cannot be construed as a guarantee for failure to provide payments, back alimony
                           payments, Fines, or Wage Law claims, nor can It be used as a Bond on Appeal.
     Ul-0003 (OS-.11)




                             CERTIFICATE                            OF DISCHARGE                                   BOND
                                    ULICO STANDARD OF AMERICA CASUALTY COMPANY
     POWER AMT.$ ___ _                                                                     POWER NO. ___ this is to certify that on or about the
      day of___________                        20 ___ , the bond with the

     corresponding power number has been discharged of record, Date of Discharge _________ _

     TO THE CLERK OF THE COURT                                                              TIiie _________________                                         _
     Will you please check your records for the bond listed above. When the bond
     has been exonerated, please enter the date of exoneration, sign and return this        By ------------------
     form to:
                                                                                            Bond Amount$ _____________                                  _
                               Aladdin Bail Bonds                                           Defendant _______________                                       _
                        1959 Palomar Oaks Way, Suite 200
                                                                                            Court ________________                                      _
                               Carlsbad, CA 92011
                                                                                            Date Filed

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                                                                                             PROMISSORY NOTE
WE GET Y0U OUT, WE GET YOU THROUGH IT.®



On Demand, without grace, I/ We, the undersigned, promise to pay to the order of Aladdin Ball Bonds, the premium

balance of __________________________                                                                    dollars($ ______ _,


for Bail Bond #(s) ---------------------------------
posted on _________________                                                 , pursuant to obligations set forth in the Indemnity Agreement

guaranteeing the full payment of premiums in consideration for the bail bond posted on behalf of the defendant

---------------------------·                                                                      Balance payable in lawful money of the

United States of America as outlined in the payment schedule set forth below.


                                              PAYMENT SCHEDULE
    Date:                        Payment Amount: $                            Date:              Payment Amount: $

    Date:                        Payment Amount: $                            Date:              Payment Amount: $

    Date:                        Payment Amount: $                            Date:              Payment Amount: $

    Date:                        Payment Amount: $                            Date:              Payment Amount: $

    Or In the following manner:




If a default in payment occurs, the entire balance becomes due and payable immediately. In the event that suit is instituted
to collect this note or any portion thereof, the undersigned promises to pay such additional sum(s) as the court may adjudge
reasonable as attorney fees and costs of instituting said suit. I understand this is an application for a type of credit and I
authorize review of my credit history via credit reporting agency inquiries.

I have read the Indemnity agreement and agree to the terms of this promissory note:

                                                                                                      (_)
lndemni!OI (Agent Prill! Name}                       lndemnitor Signature                             Phone#                   Date


                                                                                                      (__)
lndemnilor \Agent Print Name}                        lndemoitor Signature                             Phone#                   Date


                                                                                                      (__J
lndemnitor (Agent Print Name)                        lndemnilor Signature                             Phone#                   Date


                                                                                                      L-)
lndemnrtor (Agent Print Name)                        lndemni1or Signature                             Phone#                   Date


                                                                                                      l__J
Delendenl (Agent Print Name}                         Def8/ldM1 Signa!Ul'e                             Phone#                   Dale

AL-PN (1·/06) U




                                                                                                                           40 of 145
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                                                       RECEIPT FOR COLLATERAL DEPOSITED
                                                       ULICO STANDARD OF AMERICA CASUALTY COMPANY
       C'I')    DATE                                                               YEAR                                                                                          POWER NO.
       Q
           I
                Received of
       E                                             (NAME OF DEPOSITOR)                                                                                    {ADDRESS)

       g        as security for the execution of this Bail Bond written in the sum of $                                                                                            on behalf of the defendant

         •
       ....I
                the following described collateral


       =        AGENCY                                                                                                            BY {Print Name)

       tQ                                                                                                                         (Signature)
                Said Collateral is deposited as security for the payment of any sums which may become due to the Agency or the "Surety" by the terms of the Bail
                Bond Agreement executed by the said Defendant and lndemnitors, all of the terms of which are made a part of this receipt by this reference.
       Ca:)
       en
                I Use of callaternl or premium receipt forms other /h;.,n those authorized by UUCO Standard of America Casualty Company
                . are prohlb!t:ed. UUCO Standard of America CnsuaHy Company will not be responsible for cash or other vcduables in connection
                                                                                                                                                                                                                                                                                                     I
       a=
       0
          I
                l with this bond urkJss !isted b the appropriate- coiiaterai or premium portions of this form. Co!!ater~i wm be returned only to deposJtor.
                  No coUaternl wm be returned rn1t1! the Court has furnished written evidence the l:u..a1-d has been exonerated and this receipt b.. returned.

       .....
       ;s       The above conditions are agreed to
                                                                                (DEPOSITOR)                                                                                                                (ADDRESS)

       0
       A.                                                                       (DEPOSITOR)                                                                                                                (ADDRESS)
       w                                                                                                                                                                                                                                                                            llOCUMEMJ"
       Q
                RECEIPT FOR RETURN OF COLLATERAL

                DATE                                            YEAR___                                                                                                                                                                I                                               CONTROL
                                                                                                                                                                                                                                                                                         NIJM!l!!R

                RETURNED TO:




                RECEIPT and STATEMENT OF CHARGES                                                                                                                                                                                    POWER NUMBER
                uuco STANDARD OF AMERICA CASUALTY COMPANY
       ,....
           I    Received of:
                                                                                                                                                                                                            DATE                                            .YEAR-~ .... -
       5j       NAME
       Q        ADDRESS                                                                                                                                                                                     $
           f                                                                                                                                                                                                                   BAIL BOND PREMIUM
       ....I
       =        Expenses (Itemized in detail, such as Guard Fees, Recording Fees, Notary Fees, Long Distance
                Calls, Telegrams, Travel and other actual, unusual expenses.)
                                                                                                                                                                                                            $
                                                                                                                                                                                                                                    MJSC. CHARGES

       t
       Q
                                                                                                                                                                                                            $
                                                                                                                                                                                                                                    TOTAL CHARGES
                Was Collateral taken: (YES) (NO) If Yes, only use collateral receipt furnished above.
       (.)                                                                                                                                                                                                  $
                                                                                                                                                                                                                            RECEIVED ON ACCOUNT
       en       Name and Address of Bail Bond Agency
                                                                                                                                                                                                            $
       z        By
                MEMORANDUM OF BAIL BOND FURNISHED
                                                                                                                                                                                                                                            BALANCE


       t!
       z
                Defendant
                Charges
                                                                                                               Amount of Bond $                                                                                               Date Filed

       w        Date Released
       u..                                                                                                     Date to Appear                                                                                                 Ttme
       w        Case No.                                                                                       Court                                                                                                          City
       Q        Received Copy of above Receipt and Memo
                                                                                                                                                                                                                                                                                    OOCUMEl'J"I'
                (Signature of Defendant or Depositor)
                                                                                                                                                                                                                                       I                                             COHmOl
                                                                                                                                                                                                                                                                                         Nl,l~IW'I




                VERIFY                                                                                                                                                     vr,~~c• ·::,
                           '., r:.£ i--~::;: ')!' ="HS (,i~:'.,{ ·: p,· ·-n~:i <:'i ifrD i:t~=~: :>J.;'; :>l.NJ- iNi<.., V::Yff! ,\fY.U: i,Oi <;'<=-D ,~;,,:;,::,;;i;;n.:(1 ; :i1~         ! ,;' -,'= t-, .•, :r~:·; =}<; ·J-i•s ~-- ., , ff:> WP~HM-,,a<;.,. "I'-= ; 1!i) )":) ,", L!(;I'. '>H<f
                flRST      ~=i :.L. ,t:: ,}i,::-,.,,., iH·t:·-,-;=,;:. ,..~•i::; ;,~f:. 1fi iW !'.",PU•, ,i. l ( );' [< ,; ~.ii,\: ht -lilt~ i\W· (~)1-lCFP.. '..i<~(. · ~=-JU M-~- ~,~.-:t. M!d'W·!;;";:"l~)~ill :_-, fl.,\;.·~- ., J· ,c·,. ll."f!Mi: \ ,-,(-._:,; iU~:; ,· P~- p; _,.;1\',C,'i"

                                                                                                                  POWER OF ATTORNEY
                                                                                ULICO STANDARD OF AMERICA CASUALTY COMPANY
                                                                                 VOID IF NOT ISSUED BY:
                POWER AMOUNT $                                                                                  POWER NO.
                KNOW ALL MEN BY THESE PRESENTS that ULICO Standard of America Casualty Company, a corporation duly organized and existing
       ,....    under the laws of the State of Utah and by the authority of the resolution adopted by the Board of Directors at a meeting duly called and held on
                _____ which said Resolution has not been amended or rescinded, does constitute and appoint and by these presents does make,
       0
       ,....I   constitute and appoint the named agent its true and lawful Attorney-in-Fact for it and in its name, place and stead, to execute seal and
                deliver for and on its behalf and as its act and deed, as surety, a bail bond only. Authority of such Attorney-in-Fact is limited to appearance

       g        bonds and cannot be construed to guarantee defendant's future lawful conduct, adherence to travel limitations, fines, restitution, payments or
                penalties, or any other condition imposed by a court not specifically related lo court appearance.

       ...!,
       =
       •A.
        8
       .....
       a:       IN WITNESS WHEREOF, ULICO STANDARD OF AMERICA CASUALTY COMPANY has caused these presents lo be signed by its duly authorized


       =
       0
       (.)
                attorney-in-fact, proper for the purpose and its corporate seal to be hereunto affixed this __ day of-------~
                Bond Amount $ _______________
                Defendant _________________
                Court __________________
                                                                                   _

                                                                                                                                 _
                                                                                                                                     _
                                                                                                                                                                                                                                                                 year___ _




                City___________________                                                                                             _
                State __________________                                                                                         _
;i;             If rewrite, original# ______________                                                                               _
8
                Executing Agent _______________                                                                                      _
:::,




                                                                                                                                                                                                                                                                                       41 Of 145 I
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                                                         RECEIPT FOR COLLATERAL DEPOSITED
                                                         ULICO STANDARD OF AMERICA CASUALTY COMPANY
            DATE ________ _                                                         YEAR ___ _                                                                                 POWER NO.


            Received of------------------------------------------
                                                       (NAME OF DEPOSITOR)                                                                                 (ADDRESS)

            as security for the execution of this Bail Bond written in the sum of$ ______ on behalf of the defendant _________ _
            the following described collateral------------------------------------


            AGENCY _______________                                                                                    _           BY {Print Name) ____________________                                                                                                                  _
                                                                                                                                  (Signature) ______________________                                                                                                                       _
            &lid Collateral Is dl/poslted as security for the payment of any sums which may become due to the Agency or the "Surety" by the tenns of the Bail
            Bond Agreem8f!t ~cuted by the said Defendant and lndemnitors, all of the terms of which are made a part of this receipt by this reference.
                                                    or pre-miurn receipt 1orn11;: other than those authorized by ULICO Stand•rd of Amarice Casw,,lty Comp0r1y
                                                    UCO Stand.erd of Amtrica C~sual1y Company will not be: re--sp-,nsible for cash or oth•r valuab1e,s in connection
                                                      g liited in the appropriate coUateral or pr•mium portions ot t'1is fofm, Collateral wiH be returned only to depositor.
                                                   h~ returned until the Court has furnished written evidenc.e thi, bond hai. baen exonerated and this receipt i$ returned.


            The abdve conditions are agreed to ---,ID=E=-PO=s:=rr=oa:c-}---------------------,                                                                                                          -:-:AD::::D:::RE=-ss::c------------
                                                                                                                                                                                                        1             1

                                                                                 (DEPOSITOR)                                                                                                            {ADDRESS)
            RECEIPT FOR RETURN OF COLLATERAL
            DATE ______ ~YEAR ___ _
            RETURNED TO:______________________________________                                                                                                                                                                                                                         _




            RECEIPT and STATEMENT OF CHARGES                                                                                                                                                                                    POWER i\lUMBER
    N       ULICO STANDARD OF AMEftJCA OASUAL TY COMPANY
    0
    ._I     Received of:
                                                                                                                                                                                                         DATE ___ ._, ___ . YEAR____
    0       NAME                                                                                                                    f-fo'
    ,q'                                                                                                                              ..
    0       ADDRESS                                                                                                            ;l                                                                        $
        f                                                                                                                                                                                                                   BAIL BOND PREMIUM
    ....I
    :::,    Expenses (Itemized in detail, such as Guard Fees, Recording Fees, Notary Fees, long Distance                                                                                                 $
            Calls, Telegrams, Travel and other actual, unusual expenses.)                                                                                                                                                        MISC. CHARGES
    >
    a..                                                                                                                                                                                                  $
                                                                                                                                                                                                                                TOTAL CHAR(',ES
    0       Was Collateral taken: (YES) (NO) If Yes, only use collateral receipt furnished above.
    c.,                                                                                                                                                                                                  $
                                                                                                                                                                                                                          RECEIVED ON ACCOUNT
    en
    ....
    z
            Name and Address of Bail Bond Agency
            By
                                                                                                                                                                                                         $
                                                                                                                                                                                                                                        BALANCE
            MEMORANDUM OF BAIL BOND FURNISHED
    C       Defendant                                                                                          Amount of Bond $                                                                                            Date Filed
    z
    w       Charges
            Date Released                                                                                                                                                         :1;;?;i
    u..                                                                                                        Date to Appear                                                                                             Time
    w       Case No.                                                                                           Court                                                                                                      City
    C       Received Copy of above Receipt and Memo
                                                                                                                                                                                                                                                                               OOCUO!Effr
            (Signature of Defendant or Depositor)
                                                                                                                                                                                                                                   I                                              CONTROL
                                                                                                                                                                                                                                                                                    I\IUMIIEFI




            VE~~FY            ' L":C- >'.~,:;(•. ~),: ~fi!~ <;,;\'. ;·: 1'~".Vrii (l :,\ FlU ll, . :;.p. ·. JiAl'.,' !'ils,, (,1,.·"t .Ir/· f'.)L,-:_;::;:;t1 'K,',1•TV' 2. 1L~ !:i:'.'.T ·1;,; f.-;· 11\ ;s,,,.·r,:::;P .=<:J·ts';.'\ ··1rc,.'-~:,,::'"'-,%.! ::·:t:; \,, \") <1(< ·;(::=. T
            f·!HST            r:; y_:·.. .:,.: ;-:, . ,,. ·:-::.1:-.T',. ',~c•:·· '~-\f:.: IN,.,,,-. J,\'di, ···'····~: q ·-<L~ .;; ~lY :,, ;;:=.r t'.>'!·H.. ~.,·.c··.~ ..J 'W•:· ,=:,:(· M;V,\ffk>l·' .- ~S\:rr-· ,.·, .-r :.J:;\:UC :.::·· ,:w:;<~--:111- 0).-'0.Jt T,,.:
                                                                                                                  POWER OF ATTORNEY
                                                                                 UUCO STANDARD OF AMERICA CASUALTY COMPANY
                                                                                  VOID IF NOT ISSUED BY:
            POWER AMOUNT $                                                                                      POWER NO.
            KNOW ALL MEN BY THESE PRESENTS that ULICO Standard of America Casualty Company, a corporation duly organized and existing
            under the laws of the State of Utah and by the authority of the resolution adopted by tho Board of Directors at a meeting duly called and held on
            _____ which said Resolution has not been amended or rescinded, does constitute and appoint and by these presents does make,
            constitute and appoint the named agent its true and lawful Attorney-in-Fact for it and in its name, place and stead, to execute seal and
            deliver for and on its behalf and as its act and deed, as surely, a bail bond only. Authority of such Attorney-in-Fact is limited to appearance
            bonds and cannot be construed lo guarantee defendant's future lawful conduct, adherence to travel limitations, lines, restitution, payments or
            penalties, or any other condition imposed by a court not specifically related to court appearance.                   __ .,....,""".'!.,__
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            IN WITNESS WHEREOF, ULICO STANDARD OF AMERICA CASUALTY COMPANY has caused these presents to be signed by its duly authorized
            attorney-in-fact, proper for the purpose and its corporate seal to be hereunto affixed this __ day of-------~                                                                                                                                   year____ .
            Bond Amount $ _______________                                      _
            Defendant _________________                                        _
            Court __________________                                                                                             _
            City___________________                                                                                                 _
            State __________________                                                                                             _
            If rewrite, original# ______________                                                                                    _
            Executing Agent _______________                                                                                          _




                                                                                                                                                                                                                                                                                 42 of 145       1
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                                                                                            SUPERVISED
                                                                                          BAIL PROGRAM
 Client Name: ___________________                                            _   Date of Birth: ________ _

 Bond No.: ______________                                    _           Amount: $ ____________                       _


 Additional Bonds:

             #2 ______________                               _           Amount: $___________                     _

             #3 ______________                               _           Amount: $____________                        _

             #4 ______________                               _           Amount: $____________                        _

             #5 ______________                               _           Amount: $ ____________                       _

             (Additional bonds on reverse side of page)


 I, ________________                                 _, the above-named client, understand and agree that as a
 condition of my release, in addition to the terms and conditions set forth in the Indemnity Agreement for Surety Bail
 Bond, the Conditions of Bail, and any other bail transaction documents executed by me, l WILL COMPLY WITH
 THE TERMS OF THE ALADDIN SUPERVISEDBAIL PROGRAM DESCRIBEDBELOW.

 You, the Client, have been released on a Supervised Bail Bond. As a condition of this bond, you are required to
 check in with Aladdin's Customer Service Department the next business day following your release.

                          The Aladdin Bail Bonds Customer Service Department is open
                      Monday through Friday between the hours of 8:00 a.m. and 4:30 p.m. PST.

                                        The telephone number is: 1-866-388-6888

 When you call, please be ready to provide the following information:
                     YourName
                     Your Bond Number(s)
                     Your Driver's License Number
                     Your Social Security Number
                     A list of 5 references (names and phone numbers).
                          We will not contact your references unless we are unable to contact you.
                     Employment information
                     Relative information (this includes addresses and phone numbers)

 A processing agent will ask you a series of questions and go over the Supervised Bail procedures with you. You
 will be given a client code and a weekly check-in phone number. The process will take about 15 minutes. Please
 have the above information and the attached instruction sheet available when calling.

 FAILURETO CHECK fN ON THE SCHEDULEDATES AND TIMES MAY RESULT IN THE CANCELLATIONOF
 YOUR BAIL BOND AND YOUR SURRENDERTO CUSTODY.


 Client Signature: ___________________                                            Date: __________                     _


 Agent Signature: ___________________                                             Date: __________                     _

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                             CLIENT'S SUPERVISED BAIL PROGRAM
                                  COMPLIANCE PROCEDURES

                {Complete this form with your Customer Service Representative when you call)



1. You are required to check in by calling 888-483-4455 every week on your call-in day and after each court
   appearance.


                                       Your call-in day is: ________ _
                               (This day will be provided by the processing agent when you call in.)


2. When calling, enter your client code as prompted followed by the # sign.


                                       Your client code is: ________ _
                             (This code will be provided by the processing agent when you call in.)


3. The automated system will guide you through a series of prompts. You wm be asked to state the following
   information (Please speak loud and clearly):

                    YourName

                    Your Client Code

                    Toe date, time and location for your next court appearance. (If you have multiple bonds and multiple
                    court dates, indicate each appearance date, time and location}

                    The telephone number from which you are calling

                    Update any changes in your residence, employment, or contact telephone numbers


If you have any questions, please direct them to your Aladdin Bail Bonds Customer Service Representative. We
want to assist you in every way possible; however, there are certain conditions that must be met The conditions
set forth in the Supervised Bait Program are mandatory.


Please remember that:


FAILURE TO CHECK IN ON THE SCHEDULED DATES AND TIMES MAY RESULT IN THE
CANCELLATION OF THE BAIL BOND AND THE CLIENT'S SURRENDER TO CUSTODY.


A!AIBP2 /1108) !l




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Aladdin®
    Bail Bonds
                                                                            STATEMENTof CHARGES
WE GET YOU OUT WE GET YOU THROUGH IT ®                                      Account Number


Aladdin Bail Bonds
                                                                                          Power Numbers


Expenses (Itemized)
Bond Fee
                                                                       Date:
                                                                       Total Premium
                                                                       Total Expenses
                                                                       Total Charges
Was Collateral Taken:   Yes      No
                                                                       Received on Account
Type:
                                                                       Balance:


                                                                      Agent Name ____________                    _



MEMORANDUM OF BAil BOND FURNISHED
DEFENDANT                                          DATE OF BIRTH                             DATE FILED
            -------------                                          --------                            ------
JAIL NAME                                          LOCATION                                BOOKING#
                                                                                                      -------


BOND NO                                  CASE NO                             BOND AMOUNT $

CHARGES                                                                           COURT

APPEARANCE DATE                          TIME           LOCATION

REWRITE BOND NO                                        ORIGINAL AMNT $                       PREMIUM$



BOND NO                                  CASE NO                             BOND AMOUNT $

CHARGES                                                                           COURT

APPEARANCE DATE                          TIME           LOCATION

REWRITE BOND NO                                        ORIGINAL AMNT $                       PREMIUM$




TOTAL BAIL AMOUNT$ _________ TOTAL PREMIUM$ ________ _

RECEIVED COPY OF ABOVE RECEIPT
                                                        Page 1 of I                                         ALSC-60




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    c.dlt!s~~'~®
                                                                        PAYMENT RECEIPT
                                                                        Receipt Number
                                                                        Account Number
                                                                               Power Numbers
    WE GET YOU OUT, WE GET YOU THROUGH IT.®

    Aladdin Bail Bonds


                                                                      Payment Date
Received from:                                 Payment Method         Previous Balance

                                                                      Payment Amount

                                                                      New Balance


                                              BAIL BOND INFO
 DEFENDANT                                            DATE OF BIRTH                 BOND DATE

 TOTAL BAil AMOUNT$                                        TOTAL PREMIUM$


                                               COURT DATES
             CourtDate
BOND NUMBER                                      Case No                         Bond Amount $
Court Date               Time                 Court
Room/Div                          location

BOND NUMBER                                      Case No                         Bond Amount $
Court Date               Time                 Court
Room/Div                          location




IMPORTANT: Aladdin Bail Bonds does not guarantee the accuracy of the court date
information contained herein. Please verify the information with the court and let us know
of any changes.                                                                        ALPR-61



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 Ulico Standard of America Casualty Company


                   Bail Bond Rate & Risk Classification Criteria
          The Following Rates Will Be Charged On All Bail Bonds
                                        State of California
 State Bonds:

 All bail bonds, except Qualified Bail Bonds as defined below, are to be rated as follows:

     •   Bonds up to and including $499.00 in liability will be charged $50.00, plus $15.00
     •   Bonds over $499.00 in liability will be charged 10% of the penal amount, plus $15.00

 Qualified Bail Bonds:

 Bail bonds may be qualified for preferred rating in the following circumstances:

     •   Individuals who have retained counsel;
     •   Individuals who are members of a qualified labor union; and
     •   Individuals who are active duty members of the U.S. Armed Services, who are veterans of the
         U.S. Armed Services, and who are immediate families of active duty and veteran members of the
         U.S. Armed Services. Immediate families are defined as parents, children, and spouses.

 Qualified Bail Bonds are to be rated as follows:

     •   Bonds up to and including $600.00 in liability will be charged $50.00, plus $15.00
     •   Bonds over $600.00 in liability will be charged 8% of the penal amount, plus $15.00

 Bail Bond Minimum Premium:

 A minimum premium charge of $50.00 applies per bond. The $15.00 is not included in the calculation of
 the minimum premium.




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 Ulico Standard of America Casualty Company




                                             Exhibit 21

                                     Supplemental Information




 Reference Approved Filings:

 Danielson National Insurance Company: CDI App. No. 08-1743




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_ STATE OF CALIFORNIA                                                                                Steve Poizner, Insurance Commisswner
  DEPARTMENT OF INSURANCE
  RATE REGULATIONBRANCH
  300 SOUTH SPRING STREET
  Los ANGELES, CA 90013
  W\V\v.insurance.ca.gov


          April l 1, 2008


          Danielson National Insurance Company
          attn.: Patrick E. Pawlowski, Regulatory/Product Analyst
          25 Dogie Court
          San Ramon, CA 94583


          RE: APPROVAL OF APPLICATION


          DANIELSON NATIONAL INSURANCE COMPANY has submitted the following application for approval regarding the
          following line of business or program:

          CDI App. No(s).:                 08-1743
          Insurer File No(s).:             CA BB 080201
          Line{s} ofinsurance;             Commercial Surety
          Program:                         Bail Bonds

         Only the change(s) specifically indicated in the application set forth above, as it may have been amended, is (are) approved.
         Nothing in this letter shall constitute approval of any other application, whether incorporated by reference, or filed prior or
         subsequent to the application set forth above DANIELSON NATIONAL INSURANCE COMPANY shall begin issuing
         policies pursuant to this approval within 90 days of the date of this approval, provided that the insureris licensed in California
         to transact the line of insurance for which the approval is given. DANIELSON NATIONAL JNSURANCECOMPANY may
         implement this approval earlier if it is able to do so. Regardless of the implementation date, DANIELSON NATIONAL
         INSURANCE COMPANY shall implement this approval with the same effective date for both new and renewal businessand
         shall offer this product to all eligible applicants as of the implementation date. This approval shall continue to have full force
         and effect until such time as a subsequent change for the referenced lines or programs may be approved or ordered by the
         insurance Commissioner.

         If any portion of the application or related documentation conflicts with California law, that portion is specifically not
         approved. This approval does not constitute an approval of underwriting guidelines nor the specific language, coverages,
         terms, covenants and conditions contained in any forms, or of the fonns themselves. Policy forms and underwritingguidelines
         included in this filing were reviewed only insofar as they relate to rates contained in this filing or currently on file with the
         California Department of Insurance. Any subsequent changes to underwriting guidelines or coverages, terms, covenantsand
         conditions contained in any forms must be submitted with supporting documentation when those changes result in any rating
         impact. The Commissioner may at any time take any action allowed by law ifhe determines that any underwritingguidelines,
         forms or procedures for application of rates, or any other portions of the application conflict with any applicable laws or
         regulations.

         Sincerely,
          _/ /    I   /){-'

         ,A/;,w:tfr ['f!JL__ ·
         Kenneth Allen, CPCU
         Bureau Chief, LA-3 Rate Filing Bureau
         Telephone: (213) 346-6783
         Facsimile: (213) 897-6181
         E-Mail: Allenk@insurance.ca.gov
         Website: www.insurance.ca.gov




                      Consumer Hotline (800} 927-HELP • Producer Licensing {800) 967-9331                                       Ed. 09103


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STATE OF CALIFORNIA                                                                                       Dave Jones, Insurance Commisswner
DEPARTMENT OF INSURANCE
RATE REGULATIONBRANCH
300 Sourn SPRING STREET
Los ANGELES, CA 90013
www.insurance.ca.gov



         October 27, 2011


         Ulico Standard of America Casualty Company
         attn.: Francis E. Lauricella, Jr.
         Chief Financial Officer and Secretary
         475 Gate 5 Road, Suite 320
         Sausalito, CA 94965


         RE: APPROVAL OF APPLICATION


         ULICO STANDARD OF AMERICA CASUALTY COMPANY has submitted the following application for approval
         regarding the following line of business or program:

         CDI App. No(s).:                 11-6920
         Insurer File No(s).:             NIA
         Line(s) of Insurance:            Commercial Surety
         Program:                         Bail Bonds

         Only the change( s) specifically indicated in the application set forth above, as it may have been amended, is (are) approved.
         Nothing in this letter shall constitute approval of any other application, whether incorporated by reference, or filed prior or
         subsequent to the application set forth above. ULICO STANDARD OF AMERICA CASUALTY COMPANY shall begin
         issuing policies pursuant to this approval within 90 days of the date of this approval, provided that the insurer is licensed in
         California to transact the line of insurance for which the approval is given. ULICO STANDARD OF AMERICA
         CASUAL TY COMPANY may implement this approval earlier if it is able to do so. Regardless of the implementation date,
         ULICO STANDARD OF AMERICA CASUAL TY COMPANY shall implement this approval with the same effective date
         for both new and renewal business and shall offer this product to all eligible applicants as of the implementation date. This
         approval shall continue to have full force and effect until such time as a subsequent change for the referenced lines or
         programs may be approved or ordered by the Insurance Commissioner.

         If any portion of the application or related documentation conflicts with California law, that portion is specifically not
         approved. This approval does not constitute an approval of underwriting guidelines nor the specific language, coverages,
         terms, covenants and conditions contained in any forms, or of the forms themselves. Policy forms and underwriting
         guidelines included in this filing were reviewed only insofar as they relate to rates contained in this filing or currently on file
         with the California Department of Insurance. Any subsequent changes to underwriting guidelines or coverages, terms,
         covenants and conditions contained in any forms must be submitted with supporting documentation when those changes result
         in any rating impact. The Commissioner may at any time take any action allowed by law if he determines that any
         underwriting guidelines, forms or procedures for application of rates, or any other portions of the application conflict with any
         applicable laws or regulations.

         Sincerely,




         Kenneth Allen, CPCU, AIE
         Bureau Chief, LA-3 Rate Filing Bureau
         Telephone: (213) 346-6783
         Facsimile: (213) 897-6181
         E-Mail: Allenk@insurance.ca.gov
         Website: www.insurance.ca.gov



                       Consumer Hotline (800) 927-HELP • Producer Licensing (800) 967-9331                                        Ed. 01/11
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                                                                                                        Page 1 of 2



 Hiltgen, Mary

  From:      Hank Lauricella [hlauricella@fl-advisors.com]
  Sent:      Wednesday, October 12, 2011 12:12 PM
  To:        Hiltgen, Mary
  Cc:        'Cerny, Robert J.'; asterett@svinsco.com
  Subject: RE: CDI File No. 11-6920, Commercial Surety New Program Filing

Dear Ms. Hiltgen,

Thank you for your letter dated yesterday October 11. I am writing to respond to the points that you raised.

Regarding the underwriting guidelines, you are certai~ly correct that the Form A approval does not extend to the
Prior App~oval J:'PP~ication_and that the RateB!¾J,uJ,c,'!tion   n;,u~t~ep~rftely review and ~pprove the
underwntmg guidelines. I included the Form ';b(if'¥1an ofOper',ahon\Qf'Ulleb··~tandardof America Casualty
Company ("Ulico Standard") as an attachrne.riftomy letter·:of0ctober}because it details our underwriting
guidelines. I also attached to my October ?fl\J~tt~rTwoJinn, lnc.'s Underwriting Guidelines, which specify the
underwriting procedures to which Ulico Standard has required Two Jinn to adhere as part of the Program
Manager agreement referenced in that letter and included in the Form A. I am ready and willing to discuss with
you any additional questions regarding Ulico Standard's underwriting guidelines that you might have.

Moreover, I apologize that the issue you raised in your September 29th letter regarding renewal premiums
remains unresolved. In my letter of October 7, I edited the attached "Bail Bonds Rate Manual Exceptions Page"
to state that no annual renewal premium would be charged. I have attached this document herein. Is there
another page where I should make a similar clarification? Please let me know precisely which page is the Rating
Plan Page.

Finally, to grant the COi sufficient time to review Ulico Standard's responses to the questions raised and to
process the filing, Ulico Standard respectfully waives the deemer date of October 18, 2011.

Please contact me if you have any questions or require any additional information for this filing. Thank you.

Sincerely,


Francis E. Lauricella
Chief Financial Officer and Secretary    .,     ·.
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        7~~~a:!~of America Casualty Compet~,}i~       c\ti~tiofi'"·Sfftie'6\St.
hlauricella@fl-advisors.com           i:      ~•J1-,t~. ~·~·.
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                                             ?·+11etk' . :Ji(:- ':;h •. . ~-
                                              l~}"Jrr'· 1, !~ :- ,
From: Hiltgen, Mary [mai!to:Mary.Hiltgen@insurance.ca.gov]
Sent: Tuesday, October 11, 201111:50 AM
To: 'Hank Lauricella'
Cc: Tu, Jerome; Allen, Ken
Subject: CDI File No. 11-6920, Commercial Surety New Program Filing
Importance: High


Dear Mr. Lauricella:

Thank you for your emails and attachments dated October 7, 2011. We are currently reviewing the responses.
 Please note the following:

    1)    Form A Application



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                                                                                  ,,         ~: '.
          You referenced Form A in your respohses. ·As.that.review
          Approval Application, Underwriting';,,,;:.          · ,    ,
          Guidelines or any component of the,,r*ing plan is reviewed by the Rate Regulation Branch and subject to
          approval by RRB. In other words,
          if the Underwriting Guidelines or any other filed materials are objectionable in any part, RRB has the
          authority to request revisions. The May 17, 2011
          Approval regarding Form A, etc. does not extend to the Prior Approval Application.

    2)     Renewal Premiums
          The filed Rating Plan Page does not reference Renewal Premiums. We request, once again, that the
          Rating Plan Page be revised pursuant to CIC Sections 1861.01(c), 1861.05(a), CCR Sections 2648.4(a)
          (b) and 2646.5. Please provide a revised rate plan page to include a statement that the company will not
          charge renewal premiums on the bail bonds.

    3)    Waiver of the Deemer Provision
          A brief summation of the Prior Approval filing process appears appropriate for clarification purposes.

          All Prior Approval applications are processed through the COi Intake Unit in San Francisco. The
          application is checked for completeness, that is, for all documents that relate to the type of filing
          category. The Intake Unit analyst accepts or rejects the application. If accepted a CDI file number is
          assigned and the information is added to our computer database. Depending on the volume of filings,
          the processing time in the Intake Unit can vary. Once a file number is assigned, the filing is then
          assigned to the appropriate analysts,: ~ittler. in Los Angeles or San Francisco.
                                                  ~J\ ,·-:~: {    1:~·: :.~•,.,,., ', \.··,~ ' ',
          Depending on the analyst's worklp~lt!l!etprocefssthg:itlnie: varie$ltorlJJieviewingfilings and making
          recommendations. If additional inform~t\onis•needed, as in the proposed subject filing, then additional
          time is required. Once the analyst completesithe review and makes a recommendation (approve or
          disapprove), then the filing is sent to management for their review. We understand that the process may
          appear lengthy but considering the number of filings, the CDI does an excellent and expeditious job in the
          review process.

          If a company declines to waive the deemer provisions, as indicated in your correspondence of October 7,
          2011, there are two basic options available:
            1) the company may withdraw the entire filing and re-file at a later date or

            2)   the CD! RRB will consider a referral to the Legal Division to prepare the filing for a Notice of
                 Hearing pursuant to Article 6, Sections 2646.1 (a)(b)(c), 2646.2, 2646.4(a)(b) and 2646.5 of the
                 California Code of Regulations.


      We are unable to complete the review of this filing prior to the deemer date of Oct. 18, 2011. We are
unable to recommend approval at this time. We
      respectfully request, once again, that the company submit a request to waive the deemer provision by
October 12, 2011.

         Thank you for your attention to this matter.
                                                                                       CH
         Mary Hiltgen, CPCU, AU
         Associate Insurance Rate Analyst;. •,ro,:i!tm f . .H.ifi-i,.nri ~.~1~:r,~~li-1:!l:t,.
         Rate Regulation Branch - Los An~S'12Hii· , '},n -· :ec ~-
                                                    ~.-1r11r,..' ,.· 1 ,~1~, ~'




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Ulico Standard of America Casualty Company


                      Bail Bond Rate & Risk Classification Criteria

           The Following Rates Will Be Charged On All Bail Bonds

                                                State of California
State Bonds:

All bail bonds, except Qualified Bail Bonds,       as. defined
                                        ,,, ~· ,_·:" ,  '
                                                                       b,elow,
                                                             .. ,,,, - ' •  '
                                                                               ar~
                                                                                la'.
                                                                                     to be
                                                                                        ' .
                                                                                            rated as follows:

     •    Bonds up to and including $499.t{)©;:rnliabilityi~jlliibe'chttt,g~ru&fi0.00,plus $15.00
     •    Bonds over $499.00 in liabilit9~n1~be:fh~i'ged 01O%'ofthe 'penal amount, plus $15.00

Qualified Bail Bonds:

Bail bonds may be qualified for preferred rating in the following circumstances:

     •    Individuals who have retained counsel;
     •    Individuals who are members of a qualified labor union; and
     •    Individuals who are active duty members of the U.S. Armed Services, who are veterans of the
          U.S. Armed Services, and who are immediate families of active duty and veteran members of the
          U.S. Armed Services. Immediate families are defined as parents, children, and spouses.

Qualified Bail Bonds are to be rated as follows:

     •    Bonds up to and including $600.00 in liability will be charged $50.00, plus $15.00
     •    Bonds over $600.00 in liability will be charged 8% of the penal amount, plus $15.00

Bail Bond Minimum Premium:
                                                 ·,,. l¾- : .   :· • 1 ·   _""'; - ~: . w;   ... -• .   ':.'
A minimum premium charge of $50.00 appl1es per b~nd. The $'i°S.00isnot included in the calculation of
the minimum premium.             , ·} UJ:t'il~i.          t~~~a.r.16.'.:l•

Renewal Premium:

No annual renewal premium will be charged.




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                                                                                                         Page 1 of 2



 Hiltgen, Mary
 ----------------">~~it1;:~~~~,,~i~~~·-1                      --~-~.~~~(-.:.;~-------
  From:           Hiltgen, Mary
  Sent:           Tuesday, October 11, 20111 f50 AM
  To:             'Hank Lauricella'
  Cc:             Tu, Jerome; Allen, Ken
  Subject:        CDI File No. 11-6920, Commercial Surety New Program Filing
  Importance: High


Dear Mr. Lauricella:

Thank you for your emails and attachments dated October 7, 2011. We are currently reviewing the responses.
 Please note the following:

    1)     Form A Application
          You referenced Form A in your responses. As that review is separate from and not inclusive of the Prior
          Approval Application, Underwriting
          Guidelines or any component of the rating plan is reviewed by the Rate Regulation Branch and subject to
          approval by RRB. In other words,
          if the Underwriting Guidelines or any 0th.er filed materials are. objectionable in any part, RRB has the
          authority to request revisions. The May 17,' 2011 ., . . •... · ,
          Approval regarding Form A, etc. does"iiotexterid tq the;PriorApproVal Application.

    2)     Renewal Premiums                          .
          The filed Rating Plan Page does nofreferen'de Renewal Premiums. We request, once again, that the
          Rating Plan Page be revised pursuant to CIC Sections 1861.01(c), 1861.05(a), CCR Sections 2648.4(a)
          {b) and 2646.5. Please provide a revised rate plan page to include a statement that the company will not
          charge renewal premiums on the bail bonds.

    3)     Waiver of the Deemer Provision
          A brief summation of the Prior Approval filing process appears appropriate for clarification purposes.

          All Prior Approval applications are processed through the CDI Intake Unit in San Francisco. The
          application is checked for completeness, that is, for all documents that relate to the type of filing
          category. The Intake Unit analyst accepts or rejects the application. If accepted a CDI file number is
          assigned and the information is added to our computer database. Depending on the volume of filings,
          the processing time in the Intake Unit can vary. Once a file number is assigned, the filing is then
          assigned to the appropriate analysts, either in Los Angeles or San Francisco.

          Depending on the analyst's workload, the processing time varies for reviewing filings and making
          recommendations. If additional information is needed, as in the proposed subject filing, then additional
          time is required. Once the analyst completes the review and makes a recommendation (approve or
          disapprove), then the filing is sent to management for their review. We understand that the process may
          appear lengthy but considering the r,iumber-oMilings,,the CHI.does an excellent and expeditious job in the
          review process.                        r;; LY ,· 7 · .,   ·
                                                                        t;_r:,pr:,v•.
          If a company declines to waive the. deemer provisions, as indicatetl in your correspondence of October 7,
          2011, there are two basic options available:· ·•··
            1) the company may withdraw tHe entireffiling and re-file at a later date or

           2)   the CDI RRB will consider a referral to the Legal Division to prepare the filing for a Notice of
                Hearing pursuant to Article 6, Sections 2646.1 (a)(b)(c), 2646.2, 2646.4(a)(b) and 2646.5 of the
                California Code of Regulations.


         We are unable to complete the review of this filing prior to the deemer date of Oct. 18, 2011. We are


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                                                                                                  Page 2 of2


unable to recommend approval at this time. We
      respectfullyrequest, once again, that the company submit a request to waive the deemer provision by
October 12, 2011.

      Thank you for your attention to this r,:iatter.

      Mary Hiltgen, CPCU, AU
      Associate Insurance Rate Analyst
      Rate Regulation Branch - Los Ange~~::,i_i:,r · .< i d
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                                                                                                   55 of 145
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               Ulico Standard of America Casualty Company

  Francis E. Lauricella, Jr.
  Chief Financial Officer
  Ulico Standard of America Casualty Company
  1959 Palomar Oaks Way, Suite 200
  Carlsbad, CA 920 l 1

  October 7, 20 l I


  Mary Hiltgen, CPCU, AU
  Associate Insurance Rate Analyst
  California Dept. of [nsurance
  Rate Regulation Branch - Los AngeJj;ts,'t.·        1,,
  300 S Spring Street                ·
  Los Angeles, CA 90013-1261

  Re:     Ulico Standard of America Casualty Company NAIC: 10004
          Prior Approval Rate Application, CDI File Number l l-6920


  Dear Ms. Hiltgen:

  I am writing to respond to your email of September 29 regarding the prior approval rate
  application that I submitted on July 16 on behalf of Ulico Standard of America Casualty
  Company ("Ulico Standard"). I address your points below in the order that you listed them.

  1 Prior Approval Rate Application:

  Miscellaneous Income: Due to accounting requirements for insurers writing bail in California,
  Ulico Standard of America Casualty Company ("Ulico Standard") wiU report Miscellaneous
  Income that reflects only the portion of the retail bail bond premium retained by the bail bond
  agent. However, none of this Miscellaneous Income will be retained b Ulico Standard. As such,
  I believe that it is inappropriate to inc,lud,e.qnPage !01oft,he(af~J\ling application. us, Page
  l O is corrected as originally submitt~d·.,:·,,'     . ,. ~· .. ... .•. .. .·. '
                                   '.,~~t/:     .·.·. ';'•
  California requires net accounting of;tialtpreITliums. Th~s, an insurance company writing bail
  only reports as written and earned premiums that portion of the total retail bail premiums that it
  retains. At the same time, California also requires that the amount of the total retail bail
  premiums that is retained by the bail agent is reflected on the insurance company's Statement of
  Income with an offset in the same amount Thus, the full retail bail bond premiums, upon which
  state premium taxes are calculated, are disclosed by the insurance company without the portion
  retained by the bail bond agent having any impact on the insurance company's net income and
  surplus. In its 2005 Examination Report of American Contractors Indemnity Company, which is
  a subsidiary of HCC Insurance Holdings, Inc., and a California-domiciled surety that writes a
  significant amount of bail, the California Department oflnsurance noted~ that American
  Contractors followed this convention. Following this accounting approach, Ulico Standard will
  recognize the percentage ofretail bail premium retained by Two Jinn, Inc. under "Other Income"
  on the Statement oflncome as "Finance and service charges not included in premiums", line 13.




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   charges". This accounting approach was:dtsclosed to the California Department of Insurance in
   the "Discussion of the UCAA Pro-Forma Financial Statements" submitted with Seaview Surety
   Holding, LLC's Form A application in conjunction with its acquisition ofUlico Standard. The
   "Discussion of the UCAA Pro-Forma Financial Statements" is attached herein. The California
   Department oflnsurance approved the Form A application on May 17, 2011, File # APP-2011-
   00470.

   Rate Template and Ratemaking Data (Page 7): I have made your requested revision. Earned
   premium on line 2 is equal to written premium on Line 1. The revised Page 7 and the revised
   Rate Template are attached.

   2. Danielson National Insurance Company: Your comments have been duly noted.

   3. $15.00 Fee: This fee is charged and retained by the bail bond agent, not by Ulico Standard, to
   compensate the bail bond agent for administrative expenses incurred by the bail bond agent in
   connection with bail transactions. Thus, the $15.00 fee is included in "Finance and service
   charges not included in premiums" and its offset "Aggregate write-ins for miscellaneous income"
   referenced above. (Please refer to #1 Prior Approval Rate Application above.) The California
   Department of Insurance has approved these fees-fo C()nju:nctiqn,Withbail bonds undertaken by
   Two Jinn, Inc., on behalf of aH of;j~pther insur~9e companie~(~incoln General Insurance
   Company, Danielson National Insur~ce Company, arid Western Insurance Company).
                                                          :1 _1.>     ;'        '."' '.;--i


   4. Fixed Expenses - Danielson National Insurance Company: In hindsight, I will admit that
   paragraph 5 of the Explanatory Memorandum does not clearly convey how Ulico Standard's
   expenses were estimated. By contrast, the "Discussion of the UCAA Pro-Forn1aFinancial
   Statements", submitted with Seaview Surety Holding, LLC's Form A application and attached
   herein, provides a clear and detailed ex lanation of Ulico Standard's anticipated ex enses. As
   you will see, U 1co tan ar 's expenses are not ase on Danie son at10na s expenses. Rather
   Ulico Standard's estimated "Other Underwriting Expenses" were based on detailed analysis of its
   unique circumstances built from the ground up, including an Administrative Services Agreement,
   disclosed in the Form A, with its Program Manager Two Jinn, Inc., which will provide Ulico
   Standard with Information Technology and other management services, including office space.
   Ulico Standard will pay to the Program Manager fees that reflect competitive, third party rates for
   services rendered. In addition, Ulico Standard's "Other Underwriting Expenses" also include
   salaries and benefits of Ulico Standard's staff. In the "Discussion of the UCM Pro-Forma
   Financial Statements", Ulico Standard's estimated expenses were then compared to that of a
   group of comparable bail-only sureties, i.e. effectively a sub-set of Best's property & casualty
   company data, to make an fair and accurate comparison, given the special operating
   characteristics of the commercial bail bond pusiness, which includes consistently low ratios and
     latively
   and        highinclude
        does not    expense ratios. ofq'¥l~~lson
                          expenses  T
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                                                                                                                                                     a result, expenses
      reflected in the Rate Templa~:4P:nR.t;-f\ee~                      to b) revjsed..... .
                                                           ," 1                                                     .
   Ulico Standard's minimum premii.1mreflects comparable company expense data, including a sub-
   set of Best's property & casualty company data, as indicated in the paragraph above, and does not
   reflect the specific expenses of Danielson National.




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   Hiltgen, Mary
   October 7, 2011
   Page3


   5. Renewal Premium: UHco Standa,rd wi.ll 1;1ot c~a.tgerenewl;ll premiums. Therefore, this
   proposed revision is not applicable.' 'i'·Y,.·r . · .·•.·. ';•}·:::,r..:- . ... /
                                          i-..~l~~.··       t,q       ·i~\:;(~·.~,_~:·1,<~'      h~'   ".'·.•,:-




   6. Underwriting Guidelines: Uli~o's{ti~~ar~,'s'un:dehvrit'i'ng guideli~es were discussed in detail
   in the "Proposed Plan of Operation ofUlico Standard of America Casualty Company" submitted
   as part of Seaview Surety Holding, LLC's Fonn A application in conjunction with its acquisition
   ofUlico Standard. Please see attached Plan of Operation. As noted above, the Califomia
   Department of Insurance approved the Form A application on May 17, 2011, File# APP-2011-
   00470. In addition, please see attachment herein of Two Jinn's Underwriting Guidelines that
   Two Jinn will adhere to while undertaking bail on behalf of Ulico Standard.

   7. Bail Bond Forms: Regarding the four bail bond forms listed on Page 12(a), I simply made a
   mistake including them. Please disregard them. I should have, and subsequently did, submit
   twenty one forms, included on the Company's Form List, as you noted. Please find attached
   herein a revised Page l2(a). Because there are too many forms to fit on Page l2(a), I make
   reference on revised Page 12(a) to the attached forms index and forms.

   Moreover, per your request, I have attached herein revised Form UL-0 l 00, Form AL-0 l OI, and
   Form ALSC-60. These fonns now include the name of Ulico Standard of America Casualty
   Company as and where you indicated.

   !n additi?n, per Y?U~ request, I have ~~mitted pa~e thrye of ~:?rm UL-0 I 00, which was missing
   m the pnor subm1ss1on.                , , , . ':. : • ·..   ;;v " ··.·
                                          , ~'•, , '.-~ ·         l        "'{< .

)/( Furthermore, please note that I wllb~~:iormJJ1'.,~Q002}Appeal~B~nd)                                                and Form UL-0003
    (Indictment Bail Bond) for use in Ca;U~ot~ia'.,.' · · ·  '

   Finally, policy forms and endorsements will be issued initially under the name of Ulico Standard
   of America Casualty Company. The Company is in the process of having its name changed to
   Seaview Insurance Company. As soon as approval of the name change is finalized, including
   approval by the California Department of Insurance, the Company will notify the Department of
   its intention to issue the forms under than name of Seaview Insurance Company.

   8. Aladdin Bail Bonds: Ulico Standard will initiaHy appoint Two Jinn, Inc., a California
   corporation licensed by the California Department of Insurance (the "Program Manager"), as its
   first licensed bail agent. The respective rights, duties and obligations of the Ulico Standard and
   the Program Manager are set forth in the Program Manager Agreement, a draft of which was
   attached as an exhibit to the Form A Information Statement to which the Plan of Operation
   related. As noted herein, the California Department of Insurance approved the Form A
   application on May 17, 2011, File# APP-2011-00470. The Program Manager Agreement
   stipulates underwriting limits up to which Aladdin has authority to transact bail bonds without
   Ulico Standard's prior approval for each transaction. The percentages of the total retail bail
   premiums to be retained by the Program Manager and ~y Ulico Standard are detailed in
   "Premium Assumptions and Projecti~~f' 1<fthe "Discussion (}f.the VCAA Pro-Forma Financial
   Statements" that was submitted with the foqn A and thaJ.Js atiachedrherein.
                                               I       ,,     '       !,  ;.'   :'   ''   :•                       I




                                     /l.,Ar':·~•l'.•.... ':: ·· \,,:, · (                        :<, ·. ·•
   9. Waiver of the Deemer Provision:.     my:enthe thoroughness of this response to your letter of
   September 29°1, including detailed relevant information included in the Form A already reviewed
   and approved by the California Department of Insurance, and given the amount of time that has




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  Hiltgen, Mary
  October 7, 20 11
  Page4


  already passed since the August l 9th public notification date of this prior approval rate
  application, Ulico Standard respectfully declines the request for a waiver of the October 18, 2011
  deemer date.

  Please contact me if you have any questions or require any additional information for this filing.
  Thank you.

  Sincerely,




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,,, (c,Z_,•,_,A (.,,,____,

  Francis E. Lauricella}] .
                             <,,,

                                    (
                                        /




  (415) 730-8945
  hlauricella@fl-advisors.com




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       !RATEMAKINGDATA
       i(Click + to expand for more than 3 years; - io confract)                                                          I

                                                                                          Completed by
                                                                                                                              Franci$,E.Lauricella,Jr.
                                                                                       Date Completed




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                                                                                          Data below is: i
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                                                                                                                                     Year Data
                                                                                                                          11-, ___________                                            _____,




                                                                                                                                                                                               Most Recent   Projected"/ New
                                                                                                                          ! 2nd Prior Year                     1st Prior Year                     Year          Program-
                                                                                                                                                                                                                   ""' """"'~--~-    -- ·-·
  1 CaliforniaDlrect"WrittenPremium                                                                                                                                                                                   3,826,000

 . 2 CillfomiaDirectEarned Premium                                                                                                                                                                                    3,826,000

  3 Premium AdjustmentFactor (Oeveioped In Exhibit 4)

  4lPremlumTrend Factor. (Diwe!oped In.Exhibit 5)
--s i NiisceiiaiieoiisFeesanii Fiat Charges (Not included in Line 2; ·•
~~.ExhlblU!l-,                                                   ..
 6, Earned ExposureUnits                                                                                                                                                                                                    42,111
   i
  ?;Historic Losses (Projected for New Programs)                                                                                                                                                                          115,641

  Bj Historic Defense and Cost ContainmentExpense (OCCE)                                                                                                                                                                    42,059
   f··················-····················-····..           -        ....   ·-    -   . ·-·-· ----
  9 i Loss Development Factor (Developed In Exhibit 7)                                                 ,,                                                   " .,__

 1OiOCCE Development Factor (Developed In Exhibit 7) , ·                                               C~::•-!'/~t:~-,.....-·,-:-:.::sr==/.',v'=;,;1:-,;::=
                                                                                                                                                     ,=.--~"-~. ,.,--r-""'!"'---1
                                                                                                                                                                        i:::"·;;,·~

·11 I Loss Trend Factor" (Developed In Exhibit 81                                         -        ;   ffJ,Y~-- -
~--+-----------------                                                                    ..'.~_;J'i.Cb.Ui
12 I DCCE Trend Factor" (Developed In Exhibit 8)

13TCata&tropheAdJustmentFactor
                            {Developed In Exh 9)

 14'Credlbilifyfactorforl.osses
                             & OCCE (Developed In Exhibit 10)

15 Exciud&dExpenseFactor'"iFromPage13)                                                                                                                                                                                        0.00%

16 i.neniaryIncome (OevelopedlnExhiblt     11)
   .                   ....
 17 .ProjectedFederal lncOffllllTIXRatG"Oti'iftvestm.ntfneome (From·-                                                                                                                                                       35.00%

1a!~~:Cte1:1Yield (From Page 14}                                                                                                                                                                                              0.11%

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   •                                        , • .,.,. th   •n,sumni;,e.OnJvfsJMinstrudionsl
 19:0lrect Comml&Sions

20:Relnsurance                                  Premium          (DevelopedIn Exhibit 12)
21 !ReinsuranceRecoverables (Developed In Exhibit 12)



   VarianceChange to Leverageon the basisttiaitheInsurer either
       writes at leaat 90% of Its direct earned premium In one line or
       writes at least 90"/4 of Its direct earned premiumIn California.



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       (Must be accompanied by Variance Request, subject to COi




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**IFor New Proarams                                        olease see Rate Flllno Instructions              Paoe 4.      :                              I


                                                                                                         Prior Approval Rate Application
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STATE OF CALIFORNIA                                                                Dave Jones, Insurance Commissi,
DEPARTMENT OF INSURANCE
300 SOUTH SPRING STREET
Los ANGELES, CA 90013
(213) 346-6692
(213)346-6824 (FAX)
MHiltgen(a)insurance.ca.gov          SENT VIA EMAIL


September 29, 2011

Mr. Francis E. Lauricella, Jr.
Chief Financial Officer and Secretary
Ulico Standard of America Casualty Company
475 Gate 5 Road, Suite 320
Sausalito, CA. 94965


SUBJECT:           CDI File Number:         11-6920
                   Company File Number: NIA
                   Line of Insurance:       Commercial Surety
                   Deemer Date:       :---~·-0ctobe1"'t8;2011-·~··
                                      L




Dear Mr. Lauricella:

Thank you for the above referenced application. In order to continue our review,
please note the following and our deadline request:

   1. PRIOR APPROVAL RATE APPLICATION
      Page l Owas not completed; please indicate any fees; note that if the
      company has Miscellaneous Income, it needs to be reflected in the Rate
      Template. (Miscellaneous Income= $0 in the filed template).

       RA TE TEMPLATE AND RA TEMAKING DATA {PAGE 7)
       Please revise the Rate Template and Page 7 of the application; the earned premium
       on Line 2 should be equal to the written premium on Line 1, as this is a new
       program. The change at Max should be $0, as this is a new program.

       Please submit a revised Rate Template.and revised Page 7.

 2.    DANIELSON NATIONAL INSURANCE COMPANY
       Please note that "me too" filings Je not acceptable in California. Each
       company's filing(s) is reviewed on its own merits for compliance with the
       California Insurance Code (CIC), the California Code of Regulations,
       Title 10, Subchapter 4.8 and the CDI's Rate Filing Instructions.




                  Consumer Hotline (800) 927-HELP • Producer Licensing (800) 967-9331




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  3. $15.00 FEE
     Each of the rating tiers includes,a ${5.00 fee for aJlbail bonds. Please advise us
     why the company is charging, ~W.A[ee7,RI~a,~,~1,1?,ptir~t~,\andnote that this fee
     should be included in the Rflt~ .!WPJJ.l3ite,unq~r ¥_isc. Income. Refer to # 1 above.

  4. FIXED EXPENSES - DANIELSON NATIONAL INSURANCE COMPANY
     Please refer to the Explanatory Memorandum, paragraph 5. It is not acceptable in
     California to adopt the expenses of a competitor company. If the Rate Template
     includes the expenses of Danielson National Insurance Company, please revise
     the template to include· only Ulico' s expenses. Refer to # 1. above.

         Minimum Premium
         Minimum Premium may reflect A.M. Best's Aggregates and Averages industry
         data but not the specific expenses of Danielson's as indicated in the Explanatory
         Memorandum. Each insurer's expenses differ and it is not acceptable to "me
         too" another company's expenses in California.

  5. RENEWAL PREMIUM
     Please revise the Rate Pages to include a Premium Determination Rule for
     Renewal Premiums. If not applicabJe, please include the information on the
     Rate Page.                          ·· ·      ,-        ·
                                            ,: ' i   '•   {'
                                 - : ,'.\tl ,
  6. UNDERWRITING GUIOl1t~N.~•i ,t ·
     We noted that no Underwriting Guidelines were included in the filing. Please file
     a copy of the current Underwriting Guidelines for the filed bonds pursuant to CCR
     Section 2648.4(a).

  7. BAIL BOND FORMS
     Please refer to Forms, Page 12(a) of the Prior Approval Application. There are a
     total of four forms listed. The form numbers differ from those on the Company's
     Form List which includes twenty one forms. For example, there is no Form
     BBAP on the Company list of forms or included in the filing. Please revise Forms,
     Page 12(a) and elaborate why these two lists differ.

     Indemnity Agreement for Surety Bail Bond - UL-0100
     Page 3 of the Indemnity Agreement was not included in the filing. Please submit a
     copy of Page 3 for our records pursuant to CCR Section 2648.4(a).

     Also, Form UL-0 I 00 does not include the Surety Company's name pursuant to
     CIC Section 430. Please inclucie'the appiibable company's-name on Page 1 and 2
     ofUL-0100 and provide a~-?_,PY_lb.~!lie•re-Vis~~p'!}g¢:'',\\;
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                                                                                                        I




         Company Name                 ,?       ,< ·•        -                                           1




         Please advise if policy forms and endorsements will be issued!under the name of                I




         Ulico Standard of America Casualty Co. or will they be issued under Seaview
         Surety due to the recent acquisition of Ulico by Seaview?




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  7. BAIL BOND FORMS (CONTINUED)

      Amendment To Indemnity Agreement For Surety Bail Bond- Form AL-0101
      Please include the company name on the heading of this form pursuant to CIC
      Section 430.

      Statement of Charges- Form ALSC-60
      Please refer to the Statement of Charges·form and include.the company name on
      the heading of this form pursua,if'tb'-CIC Section:4'J~M thi's is a PREMIUM related
      form.                        ·· ..xi;1,ifi :.                 ·
                                   ':r7~f~l:,f±f~)i;'
                                           1
      Appeal Bond Bond - UL-0002
      Please refer to UL-0002; this is a rate impact form; however, it does not appear
      that there are separate rates filed for this form. Please advise? The company may
      include the rates in the proposed filing or withdraw the form from use in CA.

      Indictment Bail Bond - UL-0003
      Please refer to UL003; this is a rate impact form and no rates have been filed for
      the form. Please file the rates pursuant to CIC Section 1861.0S(a) or withdraw the
      form from use in California.

  8. ALADDIN BAIL BONDS
     Please clarify- is Aladdin Bail Bonds an Agent or MGA for Ulico? Does Aladdin
     have authority to rate all bail bonds and issue the policy (Indemnity Agreement) to
     the insured (principal)? What is the commission percentage paid by ULICO to
     Aladdin?

  9. WAIVER OF THE DEEMERttiiR()VISION,1~:·,::1~tc1,1{; ,    1:


      To allow Ulico sufficient tiI11e\t~.i~~pontfttf6tdlqµefi~sind allow the CDI time to
      review the company's respo~;ekl~"\ven as' pfocess the filing, we request that the
      company waive the deemer date of Oc'tober 18, 2011. Note that the waiver request
      should be from October 18, 2011 and forward.


The filing is considered incomplete pursuant to CCR Section 2648.4(a). Please provide
the requested revisions and additional information referenced above by October 13, 2011.

Sincerely,

lv1(M'}'flat-~
Mary Hiltgen, CPCU, AU
Associate Insurance Rate Analyst
Rate Regulation - Los Angeles




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  From:      Hank Lauricella [hlauricella@fl-adGi;ors:dom]
  Sent:      Friday, October 07, 2011 5:37 PM
  To:        Hiltgen, Mary
  Cc:        'Cerny, Robert J.'; asterett@svinsco.com
  Subject: CDI File 11-6920 Response to Sep 29 Letter Email 1 Of 3

Dear Ms. Hiltgen,

In response to your letter of September 29, I am sending you the following documents in 3 emails. The first 4
attachments are included in this email 1 of 3:

    1. letter to Mary Hiltgen, dated October 7, 2011;
    2. Retail Underwriting Policy;
    3. Plan of Operations Form A CDI File APP-2011-00470 Ulico Standard;
    4. UCAA Pro-Forma Financial Statements with Discussion Form A CDI File APP-2011-00470 Ulico Standard;
    5. Rate Template Prior Approval Rate App CDI File.11-6.920Reyjsed 111007 Ulico Standard;
    6. Page 7 Ratemaking Data Prior Apprbv~lRate App                         to1
                                                              File,1i~69io Revised 111007 Ulico Standard;
    7. Page 12(a) Forms Prior Approva.l_RfHrtRP CD~ fil,~ l!".6~20          111007 Ulico Standard;
    8. Page 12(a) Forms Index CDI File 11-'o9iO Reyised 111005;
    9. Bail Bonds Rate Manual Exception~'Jliig·eR~v'ised 111005;
    10. Form AL-0101 Revised 111005;
    11. Form Ul-0100 Revised 111005; and
    12. Form ALSC-60 Revised 111005.

Please contact me if you have any questions. Thank you.

Sincerely,



Francis E. Lauricella, Jr.
Chief Financial Officer and Secretary
Seaview Insurance Company
(415) 931-9447 Office
(415) 730-8945 Cell
hlauricella@fl-advisors.com




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           This Plan of Operationrelates to the proposed acquisition of control and

subsequentoperationofUlico Standardof America CasualtyCompany, a multi-line

property and casualtyinsurer domiciledin California(the "Company"). Capitalized·

terms not specificallydefined in this Plan of Operationshall have the meanings assigned

to them in the Form A fuformationStatementto which this documentis an exhibit. In

sum, followingits acquisitionby the Offeror,the Companywill issue bail bonds in

California under the Company's existingsurety authority.

                                                     A'"
                                                           _.L .....
           A. The California Mar¥,t~ee<1;~~~~J,wr Competitor

           There is ample room for anotherplayer in the bail bonds market in California.

In 2005, the top three bail sureties accountedfor over 60% of bail premiumswritten,

while the top five suretieswrote over 80% of total premium, as indicatedin Table 1

below. Furthermore,only 10 insurancegroups were active in the Californiamarket in

2005, as Fairfax Financial and AIA (a joint venture consistingof InternationalFidelity;

AssociatedBond, a Californiaagency; and the managementof Alleghany Casualty)each

had two suretieswriting business.




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    Table1                         2005 Callfornia Taxable Bail Premiums

                                                                                               CA Ball        Market
     Rank                 Company                            Parent                           Premiums·       Share

                                                                      ~~?(, i illi~lJl   >~
                                                                                              ($ 00O's)


              Lincoln General Ins Co            Kln,gi;;way(NYSE:KFS)                          94,800         26.6%
       2      FairmontSpeclallyIns Co (a.)      Fairfax Fin (Toronto:FFH)                      52,341         14.7%
       3      InternationalFidelity Ins Co      Prlvale/AIAHld/NalrlnFamily                    49,253         13.8%
       4      American Contractorslndemn Co     HCC (NYSE:HCC)                                 41,312         11.6%
       5      Bankers Ins Co                    Private                                        26,844          7.5%
       6      AccreditedSurely and Casualty     Prlvate/JalladFamily                           23,373         6.5%
       7      Lexington National Ins Co         Private/FrankFamily                            22,997          6.4%
       8      American Surety Co                Private/Whitlock,Carmichael                    21,659          6.1%
       9      Seneca Ins Co                     Fairfax Fin (Toronto:FFH)                      11,116          3.1%
      10      AlleghenyCasuallyCo               Prlvate/AIAHld/NalrinFamily                    9,960           2.8%
      11      ContinentalHeritage Ins Co        Prlvate/ProAlllance                            3,110           0.9%
      12      Aegis SecurityIns Co              Private                                         103            0.0%

              Total·                                                                          356,868         100.0%

              Notes:
              (a.) Formerly Ranger Ins Co

              Source: CDI, AM Best




             In 2009, the Californiamarket was similarlyconcentrated,although market

share data comparableto that included in Table 1 above is not available. Four companies

(Fairfax Financial, AIA, Bankers Insurance, and Financial Casualty & Surety) issued bail

bonds written by six of the seven leading California bail bond agencies, as illustrated in

Table 2 below. (The number of bail bond offices was used as an indicator of scale of

operations to identify the leading Californiabail bond agenciesbelow because data on

California bail bond premiumsby surety or agency was not available.)




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    Table 2                              Bail Bond Surety Appointments




   Agent                          Ball License #    Appointments                                         Since


   Aladdlnffwo Jinn                  1843442        Lincoln General InsuranceCo.                         2004
                                                    Danielson National InsuranceCo.                      2008
                                                    Western InsuranceCo.                                 2009

   Absolute Bonding Corp.            1841120.;      The NorthH~?r Ins: Co,{f~I~                          2007
                                                    Bankers InsuranceCo .                                2005
                                                    .financial Casualty & Surety/Steves                  2007
                                                    ContinentalHeritage InsuranceCo.                     2000

   All-Pro Bail Bonds                1843885        Bankers InsuranceCo.                                 2006

   AssociatedBond                                   AlleghanyCasualtyCo./AIA Hid.                        1999
                                                    InternationalFidelityIns. Co./AIA Hid.               1999
                                                    Sterling CasualtyInsuranceCo.                        1999

    Bad Boys                         1841399        The North River Ins. Co./Falrfax                     2007

    Liberty Ball Bonds               1398114        Financial Casualty& Surety/Steves                    2008
                                                    Lexington National Ins. Co.                          2007

    King Stahlman Bail Bonds         1215709        Seneca InsuranceCo. /Fairfax                         1998
                                                    InternationalFidelityIns. Co./AIAHid.                1996
                                                    AccreditedSurety and Casualty Co.                    2004
                                                    Sterling CasualtyInsuranceCo.                        1981

   Source: CDI "Agents & Brokers: Llcens.e S}~tus    : :-~.! f-:,.:•1 ,11 H;t_:tJr 1n~
   Inquiry"                                  ·                                           "
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               In 2009, Lincoln General, the bail surety market share leader in California

since at least 2003, went into run-off under the supervision of the Pennsylvania

Department of Insurance. While Lincoln General's bail bond program in California

remained highly successful, the company experienced large losses in certain lines of

property and casualty insurance, primarily commercial auto. Lincoln General accounted


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for approximately20%-to-25%of bail.bondswritten fa.Californiaduring the year prior to
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its being placed under supervision. Durin~ tjle IasHen years, two other leading California

bail bond sureties (FrontierInsuranceCompany and Amwest Surety InsuranceCompany)

ceased issuing bonds when they were placed under regulatorysupervision. As in the case

of Lincoln General,non-suretylines of property and casualtyinsurancewere responsible

for the financialproblemsof Frontier and Amwest, whose bail bond programsremained

profitable.



              The majority of leadingbail sureties operating in the United States are already

present in California. Currentlyabsent from the Californiamarket are American

Reliable, which is a subsidiaryof A~iJ~t              (NYSf;Jti~f~~£eti;National,which is a1          1




subsidiaryof Delphi Financial    (NYi~?Brot~~rican Safety Casualty,which is a
subsidiary of AmericanSafety InsuranceHoldings (NYSE:ASI);Roche Surety and

Casualty Company,which is privatelyowned by the Roche Family; UniversalFire &

Casualty Insurance Company,which is privately owned by Tom Parker, and Sun Surety

Insurance Company,which is privatelyowned by the Wood Family. Of these

companies, Assurantwrites a significantbook of bail bonds. The three privately owned

companies are bail specialistsbut remain relatively small, regional c0mpanies. Delphi

Financial and American Safety are not major bail bond issuers.


              The Company's operati?iij,a:p~if ·~?.r#~fil'e~tYG~~wbring new capacity

and competitionto the Californiab.~Jfb;cin~)i1ark:et~t                                   optimal time, particularlyin

view of Lincoln General's severe financialdifficulties.




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            B. Limited Financial Risk to Company



            The contractualrelationship between a bail bond agent and its surety produces

a risk mitigation system in the bail bond business that is unique in the insurance industry.

The surety is insulated in a variety101;~iys)tfuni}j~j~~~~;that            result when a
                                                               1
defendant fails to make a schedulect·Wtttti~earn~ce. First, the licensed bail agent has

the opportunity to cure the forfeiture through various means (including voluntary

reinstatement and apprehension)thereby avoiding losses altogether. The licensed bail

agent takes responsibility for, and incurs the related expense of, curing the forfeiture by

locating and tracking defendantsthat have failed to appear, using call centers,

investigators and recovery personnel while coordinating with law enforcement.



            Second, through a bail bond indemnity agreement, the licensed bail agent

requires the defendant and any co-signors to indemnify both the licensed bail agent and
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the surety from any bail bond losses .indrelated.exp'enSes:particularlythe penal sun1 of
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the bail bond, if the defendant fails to appear in court and the resulting forfeiture is not

cured.



            Third, the licensed bail agent frequently requires collateral, typically in the

form of cash deposits or deeds of trust on real property, from the defendant and/or other

co-signors as another financial resource to pay for potential bail bond losses and related

expenses.




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           Fourth, the contract between the licensed bail agent ~d the surety also

requires the agent to deposit a fixed percentage of the gross bail premium received into

an escrow account, known as a build-up fund or "BUF" or a contingent reserve account

"CRA", which amounts are held in trust as collateral by the surety. Up to 10% of gross

bail premium collected by the licensed bail agent is deposited into the BUF account from

which bail bond losses and related expenses are paid when incurred.

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           Finally, if the BUF is e)ili;,i~sted,.thellce~sddi:;~(ageiittypically is obligated

to pay for any bail bond losses dire~tlyand'indemnifies the surety from any bail bond

losses.



           Meanwhile, the surety focuses on agent selection and monitoring, bond

issuance and tracking and managementofBUF accounts and loss reimbursement. The

surety incurs and pays losses on summaryjudgments only after the indemnifications,

collateral, and BUF prove to be insufficient. In consideration for bearing most of the

expense associated with this risk mitigation system, the licensed bail agent contractually

keeps, according to the revenue shaIJ,ngarrmigeme1-1:~SJ)<?P(~edjnits agency agreement
 .                               ..,<ii~;\,~         l- : • (\      Ii,?,{;~{;\iJ):~1/
with the surety, the vast majority ofthe bailpremium collected. When this nsk
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mitigation system is rigorously deployed, the result is that sureties consistently incur

extremely low losses.




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           A. Use of Licensed Agents



               1. Appointment of Agents. As a surety licensed in California, the

Company cannot undertake bail contracts directly. Accordingly,the Companywill

conduct its business through one or more licensed bail agents in California.



           The Company will initially appoint Two Jinn, Inc., a California corporation

licensed by the California Departmentof Insurance (the "Program Manager"), as its first
                                   ,,itiijJ ,• .• _, : ·r
licensed bail agent. The respecttv~i~~l~• <luf\esJ~f:~?lit~~.?~s.oftheCompany and the
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Program Manager are set forth in the'Progdin Manager Agreement, a draft of which is

attached as an exhibit to the Fonn A Information Statement to which this Plan of

Operation relates. The Program Manager is one of the largest bail services companies in

the United States and has been consistentlyprofitable and very well managed by a highly

skilled team of seasoned executiveswho have developed and implementeda world class

information technology platform that provides it with unprecedentedreal time bail

management tools and a clear competitiveadvantage in the industry.



            2. Agent's Duties and Responsibilities. , .. As set forth in the Program
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Manager's Agreement, the Pro~lt$ag;~;~~H~{It~~~~~!~¥:iployees will perfonn the
                                    C   • j,i *< '~             }, '   ''
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following duties, subject at all tim~s to t4e oversight and control of the Company:

(a) advertise and solicit applicationsfor bail bonds; (b) receive, evaluate, reject, and




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accept requests for bail services;(c) calculateand collect premiums for bail bonds in

accordancewith the Company's underwritingpolicies. The Program Managerwill be

authorizedto accept and receive collateralfo,m its clients, fam~lies and friends in the
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name of the Company,subject to      t~i~e~~li'~•~?ft~1#j~
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the Company. Bonds will be posteq',
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                                            "fon:ris approvedand providedby the

Company. The Program Managershall also be responsiblefor locating and, if possible,

obtaining reinstatementof released defendantswho fail to make a scheduledcourt

appearance. The ProgramManagerwill pursue, apprehend and retum to the court any

fugitive defendants. Finally, the ProgramManager will talce the steps necessaryto have

bail bonds exoneratedonce releaseddefendantsmake their required court appearance(s)

and will pay the penal sum of the bond upon summaryjudgment in the small percentage

of cases in which fugitive defendantscannot be found and returned to the criminaljustice

system.


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               3'. The Company's Supervision of Its Agents. Californiastate law

requires that the vast majorityof the actions required and of the risks and responsibilities

involved in the undertakingof bail reside with the licensed bail agent. Given the critical

importance of the licensedbail agent in commercialbail services, the Companyviews the

screening, selection and appointmentof licensed bail agents to be one of its most

important tasks. The extensiveand successfulbusiness experienceof the Company's

post-acquisitionproposed senior executiveshas preparedthem extremelywell for this

responsibility. Mr. Patrick Kilkennybuilt ArrowheadGeneral InsuranceAgency, of

which he was majority owner and c.~ajml.an,:fi-Qrµ ct s~allJµs~ance agency into the
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largest privately owned general agency in the United States. Mr. Francis E. Lauricella,

Jr., has worked extensively as a financial consultant to insurance agencies and financial

services technology companies and most recently as an advisor to one of the largest retail

bail services companies in California. During part of his 14-year employment with JP

Morgan, Mr. Lauricella served-asa senior insurance industry analyst, with responsibility

for assessing the credit worthiness of U.S. insurance companies.




factors for licensed bail agents include scale, financial stability and highly disciplined

management procedures. As a result, the Company will seek to identify and contract

with large, well financed, and professionally managed licensed bail agents. The

Company will evaluate potential agent appointees pursuant to the following criteria:



    (i) Industry experience and reputation

    (ii) Compliance with CaliforniaPenal Code, California Insurance Code and the

        California Code of Regulations, Title 10

   (iii) Compliancewith all aspeci~~tco~tr~2ts.:~Uri'.cudentj~reties
                                                     ;   -   ' ' '    '_   ,


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   (iv) Information and managem~:r;i.tdeci~ionmaking systems currently m place

    (v) Number of offices, sub-agents and employees

    (vi) Procedures, particularly regarding underwriting, followed by a licensed bail

    agent and his or her licensed employees to provide pre-trial release services to the

    general public




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                                                                         1 '



   (vii)       Procedures followoo1ttimonitor r~lfiasdddefendants, to analyze business
                                     l'tJJ.~ .'.f, . ',it;J./ ,                               .,

   performance, and to manage claims: tracking released defendants, court appearance

   schedules, filing for exonerations,locating and apprehending fugitive defendants, and

   paying summary judgments

   (viii)      Procedures followed to manage premiums and collateral received and

   bond inventory

   (ix) Operating perfonnance

   (x) Financial perfonnance and viability

   (xi) Litigation: past and outstanding

   (xii)       Complaints



            In conformity with the foregoing criteria, the Company will assess whether

the licensed bail agent has the ability to satisfy the Company's performance standards.

The Company will thereafter monitor and audit each appointed agent's operations to

ensure compliance with the Company's perfonnance and underwriting standards. The

Company will provide each licensed bail agent with an inventory of bonds to post when

undertaking bail.



               4. Agent Compensation. Unlike property .and casualty insurance agents
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                                                 , '•           ,t ,~'         i- ,,, 1_\'~
who are paid commissions of 10%-to-15%ofpretpillin;swtjtte1,1,licensed bail agents
                                 ·t\:.-~r.f;y\~ )1 JI.:; , 1.~:- f ~-" -::·~-,-' i            ~t'        ,   .~ '; ,,

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retained in 2009 on average 89.5% (89.4% median) of the gross bail premiums that they

produced, as indicated below in Table 3, Premium Split between Bail Agents and Surety.

On average, sureties that specialize in bail bonds kept the remaining 10.5% of gross bail




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premiums, i.e. the net bail premiums,to cover potential losses and other operating

expenses, includingpaying premium taxes on gross bail premiums,and to make a profit.

(Net bail premiums account for over 80% of total net premiums written by Lexington
                                                                 I                                                                   (
                                         \'l"\""'



National and AccreditedSurety aµdJqr_;J00%ofto.ta1rtet:p;remiumswritten by the four
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                                  ~-''•>,.-} t_~-,:'.f::•.: ·.'' ·;t·.s\:l:'.< _'..·                            '!       \" -~ ~"
other sureties in the peer group.) Tly,~a1gni:ficantdistinction in compensationbetween

property and casualty insuranceagents and licensed bail agents reflects fundamental

differences between property and casualty insurance and the bail bonds business. First,

while property and casualty insuranceis a mechanism to spread the financial risk of

statistically inevitableindividuallosses over a larger group of policy holders, commercial

bail is a mechanismto assure that defendantsreleased appear at court when scheduled.

Although a prudent, meticulouslicensedbail agent might not be able to eliminate

summaryjudgments on forfeitedbonds, losses incurred by the bail surety that back stops

bonds written by the licensedbail ag~nt, can be keptextr~mely,lowby the risk mitigation
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procedures that the industrypractice~.i. These·risktm1tigatiopi.procedures        include sound
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underwriting practices, efficientand'effective tracking systems deployedby the

bondsmen, build up fund and collateral accounts that are in a first loss position, and the

personal indemnificationprovidedby the bondsmen and managinggeneral agents.

Because the cost of these risk mitigationprocedures is largely born by the licensed bail

agent, the agent keeps the majority of the gross bail premiums produced. By contrast, the

property and casualty agent simply focuses on selling policies, providingvarying degrees

of policy administrationand underwritingsupport to the property and casualty insurance

company.
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 Table 3              Premium Spilt between Ball Agents and Surety

                      2009 Gross      Withheld by              Agents' Comm      Net Ball    Net% Gross
                      Ball Pr!;!ms•    Agents•                  11! Gr Prem
                                                                0
                                                                                Premiums•     Pr!;!mlurns
 Surety


 Lexington National   113,114.1          102,157.4                     90.3%      10,956.7           9.7%
 Accredited Surety     77,261.3           70,905.6                     91.8%      6,355.7            8.2%
 American Surety       69,322.6           61,109.6                     88.2%      8,213.0           11.8%
 Roche Surety          32,801.0           30,503.2                     93.0%      2,297.8            7.0%
 Universal Fire        20,008.5           17,715.3                      88.5%      2,293.2          11.5%
                                                                     .'
 Sun Surety            15,821.6           13;519.6                      85.5%      2,302.0          14.5%
                                                 : j;
 Average                                                                                            10.5%
  Median                                                               89;4%                       10.6%
• Amounts In $ 000s
Source: Company StatutoryAnnual Statements


           The states of Florida, Indiana, Maryland and South Dakota, where the six sureties

that specialize in bail bonds identified above are domiciled, require bail sureties to report

bail premiums net ofretentions by licensed bail agents. Moreover, the Notes to Financial

Statements of the Annual Statement of five of these bail sureties provide detail on the

gross bail premiums, the percentage of gross bail premiums withheld by licensed bail

agents, and the sureties' net bail premiums. (In South Dakota, this breakdown is provided

in a Supplemental Schedule T of the Annual Statement.) The Premium Tax is estimated
                                                          ),
                                          ~-•"    '   .

as the amount that appears in the U1~tl~¥Writing.andiµiv,ystn;ientExhibit, Part 3 -

Expenses, Line 20.1, State and lodlinsura11ce taxes deducting guaranty association

credits of each surety's Annual Statement.


              Once premium taxes are paid, a surety insurer typically has roughly 8.0% of

gross bail premiums left to cover its operating expenses, including loss payments, if any,

and a profit margin. As indicated below in Table 4, Break.downof Premiums Net to

Surety, of the 10.5% of gross bail premiums retained on average by the sureties in 2009,



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2.0% on average was paid as premfuifrifaxeiiwhilethe'remaining 8.5% covered any

losses incurred, other underwritingexpenses, and profit. The median value of the

sureties' net bail premiums (less premiumtaxes) as a percent of gross premiumswas also

8.5%, with a range from 5.3% to 12.1% and a standard deviation of 2.39%.



 Table 4                            Breakdown of Premiums Net to Surety
                                       (2009 Gross Bail Premiums)

                       Gross Ball     Net Bail             Net% Gr          Net Ball Prem       Net Ex Tax   Premium     Prem Tax
                       Premiums•     Premiums•            Premiums         less Prem Tax•       % Gr Prem      Tax•     % Gr Prem
 Surety


 Lexington National    113,114.1      10,956':7 '• -         9.7%              8,697.3            7.7%        2,259.4      2.0%
 AccreditedSurety       77,261.3       a,3s5:·1:·.· ·      "·B-,2%        •. "i ~~'5}398:~
                                                                                   '    •••a;
                                                                                                  7.0%         959.6       1.2%
 American Surety       69,322.6        8,21'3':tl               11,8o/o        6;734.3            9.7%        1,478.7      2.1%
 Roche Surety           32,801.0       2,2~7l~1J~ ·,'("§'7,0%·;                 1,729.9            5.3%        567.9       1.7%
 Universal Fire••       20,008.5       2,293.2                  11.5%           1,873.0            9.4%        420.2       2.1%
 Sun Surety             15,821.6       2,302.0                  14.5%           1,917.5           12.1%         384.5      2.4%


 Average                                                        10.5%                              8.5%                    1.9%
  Median                                                        10.6%                             8.5%                     2.0%
• Amounts In $ OOOs
•• Premium tax based on comp average
Source: Company StatutoryAnnual Statements




              B. Underwriting Policy



                    1. Overview. The Company and the licensedbail agent whose licensed
                                                                                P.  r
                                                                                ,)I~•



employees will undertake bail onth¢;Co'mpany be~alfWii}iiagree-ona written
                                                                   1
                                                                   ,~
                               iJ,.1ib      ·'.J',;,;· '•;,: ,,r}r':; .·,
underwriting policy. The written tih~twrlfihg polic/will establish the underwriting

limits and authorizationrequired for the licensed bail agent and his or her licensed

employees, including retail bail agents, branch managers, regional managers and senior

executives. Subsequentchanges to certain provisions of the written underwritingpolicy,



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particularly regarding collateral and issue or authority limits, will require the Company's

prior written approval in each instance. The licensed employees of the licensed bail

agent will be required to understan4~~:~1~~eJq-;th,~,Ht\~~tip.g policies and to sign

an acknowledgement that any failUf~t~c~ply may result in disciplinary action by the

licensed bail agent, including immediate suspension and possible termination.



               2. Underwriting Authority and Limits. Once appointed by the

Company, a licensed bail agent shall be authorized to post bail bonds on the Company's

paper in an amount up to $250,000 in penal sum per transaction, subject to the following

restrictions. First, bonds in excess of the above maximum limit per transaction will

require the Company's prior written consent. Second, bonds in excess of $1001000 in

penal sum per transaction will require the prior _authorizatfona senior executive officer of

the licensed bail agency. Third, b~h,~~?lip)tt~£~rl~1f'b\hl\i{~~~'oboper transaction
                                  •    :   ;-,,'                    '','.           ,'         .,    f   ,,




shall be subject to the written unde~¥ih(tlicy.established                                               under the agent agreement.

Fourth, bail bonds greater than $150,000 in penal sum shall be secured by collateral of at

least 75% of the penal sum of the bail bond. Fifth, the binding authority of any licensed

bail agent, branch manager, regional manager or executive of the licensed bail agent will

be immediately suspended if his or her employment with the licensed bail agent is

terminated or his or her agent license is revoked. Sixth, the licensed bail agent shall not

write annual gross bail premiums in excess of a limit of $5,000,000. Finally, the

licensed bail agent shall submit to the Company the following documents and
                                                       i     l '.              \-        _   , , _            ,   i,
information related to bail bond transact~onsexceedjng $1;5.0,000: (a) a completed and
           .                          ,, ;<~51\.I •.            .   .       ,f1}ttjif:,{rr••·itf{\
signed application; (b) duly signed:tfiUIJfunity                                             lr\t~r~perly executed deed
                                                   I   ,itlli
                                                        /'




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of trust and disclosure statement as specified by law for real property taken as collateral;

(d) a copy of a credit report for bond indemnitors; and (e) copies of statements of cash,

assignments of brokerage accounts, and/or irrevocable letters of credit taken as collateral.



               3. Mitigation of Underwriting Risk. As part of the underwriting policy,
                      .                                            . '
the Company and each licensed bail5agcm.twill agre~ tbat~certain:types of arrestees
                                   -·;jf~\ . .. .::+\,\i ;:1:,r~·tFf             ·1

present high flight risk and thus 'thaffiaiUransaotlen1s :f<ksttbharrestees should be
                                         1_;. "~:;-; ':! •,                                          .

evaluated with extreme caution. In particular, the Company believes that arrestees who

are transient or who otherwise lack strong ties to the community (e.g. family, work, etc.),

present significantly higher flight risk than arrestees with strong community

relationships. The underwriting approval of a regional manager or an executive officer of

the licensed bail agent will therefore be required before a licensed employee may

complete such a transaction.



               The bail bond application gathers detailed defendant and co-signor
•        •                     ,        ,'"-l:"{~~$:",1.t'~-- ;-}+~~---..                          i.t-   ;~~L,. _.~-~f,.         .
mfonnation that allows the licensed           ~~tJ agent to 1cl.~t1fy..~.pP~::qsksand, if necessary, to
                                    r;i. ,:-',1-\_:)~i{,   •-,.~         :   ,' •:)~·-~,~•·~ ••," \:,_;   <   <>t', •.,_: '   c


                                •1,:1f1Jl.1,:1.,l.. i l),,'.': \O! ,I, ,.,-
                                   •1                                       'ijj ~: .
pursue and apprehend any arrestee,w~o fails to make a scheduled court appearance. The

Program Manager has automated bail bond application ability through a computer-based

system that collects and analyzes the relevant arrestee and co-signor information and

prevents the undertaking of bail transactions that represent unacceptable flight risk or for

which insufficient information has been collected to make such a determination. The

computer-based system requires the Program Manager's licensed employees in certain

cases to gather credit reports and credit scores to help determine whether the defendant




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and co-signors are financially able'to.make good on the indemnification that they provide

to the Program Manager.



                4. Collateral The Company will authorize each licensed bail agent to

take delivery of collateral to secure bail bonds, including collateral in the form of deeds

of trust, cash deposits, assignments ofbrokerag~ accounts, irrevocable letters of credit

and the like, and to return such collateral as appropriate. The licensed bail agent will take

no personal property (cars, boats,jewelry, etc.) as collateral.

                                           ,:,,;'{;                 .    •    , =,(,,,:, 1 ,   S\;'i. ) l/,· ,,' :
        Collateral for bail bonds, _in wfoitever form; 'sb'~ll be (a) taken in the Company's
                                  ..       -,-t:,.,._--":·   ;           '. -,,~,:     Lo,          'H


name, (b) held by the licensed bail agent as trustee, (c) reported in accordance with the
                                       1




Company's instructions and (d) maintained by the licensed bail agent in accordance with

the statutes, rules and regulations of any governmental agency having jurisdiction over

the licensed bail agent's business operations concerning the maintenance, accounting,

segregation, reconveyance and return of any and all such collateral. Any cash deposits

shall be held in a joint trust account established in advance in the name of the Company

and the licensed bail agent.


        The Company's underwriting policies established with each licensed bail agent

will specify the procedures for sec¥#iJfa li~ri,~~f~'.~¥o~~~t,\mcluding                                              the deed of
                                           ;,:•:\'• ',-;:,       ,, ,'   ',:!'.; ;/,     <           c   I




trust form to be used and the required'sign~tures of both spouses to execute a deed of

trust encumbering marital property. The underwriting policies also will stipulate

procedures for filing the deed of trust with the county recorder where the property is

located and for releasing a lien and issuing a full re-conveyance.




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               5. Accounting. With respectto accounting,the Companywill deposit

contingent reserve account funds (known.in.the
                                     ·,
                                              industry
                                                '
                                                       as build-up
                                                              ,
                                                              '
                                                                   funds or "BUF")
                                                     1

into an account owned by the liceisW!4zj1aientfildr.i~1£Wthl1tby the Companyas
                                         ,,_   ,,
                                   1 _.-,t•' /·     '.,, 1·

security for the agent's obligationsto the Company. The Companywill reimbursethe

licensed bail agent from this escrow accountfor all claims paymentsmade by the agent.

From the net bail premiumswritten by the Company, i.e. net of the portion of the gross

bail premiums written retainedby the licensedbail agent, the Companywill pay state

premium taxes owed based on the gross bail premiums written. Finally, the Company

will prepare and submit to the CaliforniaDepartmentof Insuranceall financial statements

and all other regulatoryfilings and will fulfill other requirementsand requeststo remain

in good standing with the CaliforniaDepartmentof Insurance.




       The Companywill obtain infonnationtechnologysystems and certain

administrativeservices from the ProgramManagerpursuant to the ProgramManager

Agreement and the AdministrativeServicesAgreementin the forms attachedto the

Form A InformationStatementto which this Plan of Operationis an exhibit. Through its

relationship with the ProgramManager,the Companywill have access to a proprietary

bail technology platform that is the finest availablein the United States. Not only will

this system provide the Companywith real time access to critical bail management

information, but it will also provide the Company~ith additionalanalytictools.




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       D. Advertising

       Because of the unique nature of bail bonds, the Company does not plan to

advertise extensivelyon its own. Rather, the Company's licensed bail agents do their

own advertising,which generallyconsists of advertisementsplaced in the yellow pages

of their respective local telephone companies,postings displayedwithin jails and

detention facilities and by other mean~which an1 ac9eptaplev~4er local court rules and
                                   . ' . •~ ; ' ',,   '   ,· ' j' •'   • • 'I   -    t(

regulations.



       E. Investments

       The Company's investmentswill be managed and overseenby the Company's

president and chief financialofficer in accordancewith the requirementsof California

law and with the assistanceof third party financialprofessionalsas needed. The

Company's investmentstrategies are simple: approximately100% will be invested in

cash and governmentbonds with any balance being distributedamong common stocks

and other assets authorizedfor investmentund<::r Califomi!:"l,law.



       F. Special Investigation Unit ("SIU")

       Insurers authorizedto transact insurancein Californiaare required to establish a

Special InvestigationsUnit to identify, investigateand report potential instancesof

insurance fraud. Because of the unique nature of the bail bonds business, fraud in

relation to underwritingor "claims'' involvingthe Companywould be extremelyrare.

Notwithstandingthe foregoing,the Companywill implementan appropriateanti-fraud

program in conformitywith California law.




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        G. Office Space

        The Companywill sub-leaseapproximately____ square feet of office space

from its affiliate,Two Jinn, Inc. (i.e. the Program Manager). The tenns of the sub-lease

are set forth in the AdministrativeServicesAgreement attachedto the Fonn A.



        H. Compensation of Officers/Directors

        As noted in the Form A to which ~s Plan of Operationis attached,Patrick J.

Kilkenny, Francis E. Lauricella,Jr. ijll'.ij William.,R,;de;J'drtg~.wiJlserve as the members of
                                        \',;          ",   ,   ;   ·;.•   ',    ";f




the Company's Board of Directors. Members of the Company's Board will not receive

additional compensationfor perfonning the functions of a director;however, such

individuals will be reimbursedfor their reasonabletravel, lodging and other expenses,if

any, incurred in connectionwith attendanceat Board meetings.



        Patrick J. Kilkennyshall serve as the Company's President and Chief Executive

Officer. Francis E. Lauricella,Jr. shall serve as the Company's Secretaryand Chief

Financial Officer. Each of such individualsshall be paid an annual salary of $150,000,

payable in 24 equal installments. It:is nofanticjpated at this time that either Mr. Kilkenny
            .      .        .      ., apd ' ,. i l]i;1.r ..R. de )n11ec.,:wlH·. .
or Mr. Launcella will enter mto a wntten employmentagreementwith the Company.
                                    • !'-/:i   p,:,
And neither of such individualshas entered into a written employmentagreementwith

Seaview Surety Holding, LLC, the proposedimmediateparent of Company.




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       No officer, director, trustee, investment committee member or actuary of the

Company will received, directly or,indirectly, a cow,rnis~ion
                                     Ii,   .~...   '   • ,,1 ;,+
                                                           •'
                                                                 from any licensed bail agent
                                                                     • ''




       I. Conflict of Interest

       The Company has a procedure for ascertaining whether there will be any conflict

of interest between its business and the private interests of its officers and directors. This

procedure consists of a written confidential questionnaire, answered under oath, by each

officer and director. A copy of such questionnaire is attached to Form A and

incorporated herein by this reference. Such questionnaire fully inquires into the areas

specified in California Insurance Code Section 1101.



       J. Reinsurance

       The Company will not obtain reinsurance as such is unnecessary in light of the

Company's initial plan to issue only bail bonds under the Company's existing surety

authority.




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SEAVIEW SURETY HOLDINGS,LLC
 PLAN OF OPERATION




                                        VERIFICATION

I declare under penalty of perjury under the laws of the State of Californiathat the
foregoingis true and correct and t at I am authorizedto yxecute the same.
 '?/I\/\\                          ,.    bk..4., . ·: ,
DAte   r                       '                 Signature




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                        ULICO STANDARDOF AMERICA CASUALTY COMPANY
       AMENDMENTTO INDEMNITYAGREEMENTFOR SURETY BAil BOND


             This Amendment to Indemnity Agreement for Surety Bail Bond ("Amendment") is effective as of
__________                       _, 20__ ("Effactive Date"), t>,Y and between Aladdin Ball Bonds ("Aladdin'') and
--------------'-------"--"""-                           {"lndemnltor')(each',a "Party" and collectlvely the "Parties").
                                                   ,   !)IT

                                                       . 'RECITAL

   Aladdin is in the business of providing surety ball bonds for criminal defendants. In connection with
___________                  County Superior Court Case No. __________ _, the court
has set bail for criminal defendant ____________________                                              (the "Defendant")
in the total penal amount of$ ______ . In exchange for providing Bail Bond #_______ _
(and/or such other bonds in connection with the above case) (the "Bond"), the Defendant and/or other
indemnitors have agreed to (1) pay Aladdin a premium in the amount of$ _______ (the "Premium"); and
(2) indemnify Aladdin for any expenses incurred in the event of the Bond's forfeiture. As inducement for the above
named lndemnitor to execute the Indemnity Agreement for Surety Bail Bond (the "Bond Contract"), Aladdin has
agreed to limit lndemnitor's obligations thereunder solely with respect to the Premium payment as provided in this
Amendment.

                                                   AMENDMENT

In consideration of the above Recital and for valuable consideration, the Parties agree as follows:

1. .     Li~it~ Liability for Continuing P~i~rp, P_ay(flento/'{9Jqlf,\!t~r_F,9/j~iture Expens~. Other than a~ounts
paid as an 1mt1al down payment toward Premn.im, if any, lndemn1tor st)aU ,not be responsible to pay Aladdm any
remaining portion of the Premium due for ?het·Bood, pH:,.Jt8~lrhbwev~'ffi~ Bond does not become forfeited. In
the event Aladdin incurs any expense as a restilt ofif;rbnd forfeiture, lndemnitor shall be liable for all Premium due
in addition to any and all expenses incurred as a result of the Bond's forfeiture, including but not limited to the
total penal amount of the Bond, all as set forth in the Bond Contract. This Amendment applies solely to the above
named lndemnltor and may not be assigned for the benefit of any other party.

2.      Other Portions of Bond Contract Unaffected. The Parties agree that this Amendment does not in any
way affect, limit, or alter lndemnitor's obligations under the Bond Contract with respect to contingent liability for
Bond forfeiture. All such obligations, including the terms and conditions of the Bond Contract which are expressly
incorporated herein by reference, shall continue in full force and effect.

3.       Integrated Agreement. The Parties acknowledge and agree that no promises or representations were
made to them which do not appear written herein and that this Amendment and the Bond Contract contain the
entire agreement of the Parties on the subject matter thereof. The Parties further acknowledge and agree that all
prior statements, agreements, understandings or promises, written or oral, are superseded by the Bond Contract
and this Amendment.



IN WITNESS WHEREOF,the Parties have executed this Amendment, effective _______ __, 20__ .

Aladdin Bail Bonds:



        AGENT SIGNATURE                                             PRINT INDEMNITORNAME



        PRINT AGENT NAME                                            lNDEMNITOR SIGNATURE

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                    ULICO STANDARDOF AMERICA CASUALTY COMPANY


                                 INDEMNITY AGREEMENT
                                          FOR
                                   SURETY BAIL BOND



                                                    RECITAL

The following is a bail bond contract/indemnity agreement between you (as the defendant
or indemnitor(s)), Two Jinn, Inc. dba Aladdin Bail Bonds ("Aladdin"), and UUCO Standard of
America Casualty Company ("ULICO'') (c;ollectively•;wrf ar,d/or "us.','). It providesfor, among other things,
                                          ',:'"<"!,~ " ,: . - 'J       -~",\i·(~~'i:'.'.·-!~·
the consequences to you as a result otfailing to p~ythe oaiJ bor,tl premium and/or the defendant's
failure to appear in court as ordered 1 ' ,:..   · ,, ·..    ·' '




In order to keep the bail bond in force and the defendant out of jail, you must (1) pay the
bail bond premium, and (2) ensure that the defendant appears in court on the required dates.
If a bail bond premium is not fully paid and/or the defendant does not appear in court as
ordered, we may surrender the defendant back to the custody of the court and charge you for
all expenses incurred in locating, capturing, and returning the defendant to court. Additionally,
IN THE EVENT WE ARE UNABLE TO RETURN THE DEFENDANT TO COURT WITHIN THE
TIME PRESCRIBED BY LAW AND MUST PAY THE FULL PENAL AMOUNT OF THE BAIL
BOND, YOU ARE RESPONSIBLE TO REIMBURSE US FOR ALL AMOUNTS WE MUST PAY,
INCLUDING THE PENAL SUM OF THE BOND, INVESTIGATION COSTS, COURT COSTS,
AND ATTORNEYS' FEES (INCLUDING ATTORNEYS' FEES INCURRED RECOVERING THESE
AMOUNTS FROM YOU). In such an event, any premium amounts paid by you will not offset
your obligation for the full penal am9unt of the bond.                                 ..
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                                        01ffa11.·      ' , .: ' ' .'!'~   p:;il?t1l~t:Hib
Please carefully review each of .:the;
                                 i,. '
                                       terms
                                           '
                                                                   :aha conditions·
                                                                              '
                                                                                    of the following bail bond
contract/indemnity agreement.




UL-0100 (08-11)




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                             ,,, ,; ;~b.~ ' '•' '} . ,' /1;._.(,,/' r,i <·:i•.:,::'.:k)
                                                                               JI
                                                                                        COMPANY
                  INDEMNITY AGiR~EMENl      ',   J   •   ''   ';'
                                                                    F01Res1.JFt~TYBAIL BOND
                                                                    4


This Indemnity Agreement ("Agreement") is effective as of ______ _, 20__ . In consideration for the
executing, arranging, and continuance of the undertaking of bail for __________                       (the "Principal"
or "Defendant") in the penal amount of $._______ ("Bail Bond"), the undersigned lndemnitor(s) agrees to
pay the Bail Bond premium(s) and to indemnify Aladdin Bail Bonds ("Aladdin") and ULICO Standard of America
Casualty Company ("UUCO") as follows:

1. General Conditions of Bail. As a further condition to Aladdin and/or Surety maintaining the Bail Bond,
lndemnitor(s) and Principal/Defendant agree that their failure to satisfy any of the following conditions constitutes
a breach of this Agreement and may result in Defendant's surrender to custody without return of premium:

      (a) THE DEFENDANT MUST RETURN TO ALADDIN'S OFFICE IMMEDIATELYUPON RELEASE FROM
JAIL. Failure to do so may result in the Defendant being surrendered back to custody in accordance with paragraph
5 below ("Surrender"), and additional fees may be owed pursuant to paragraph 4 below ("Indemnification").

      (b) The Defendant must APPEAR AT ALL COURT DATES in person as ordered by the court.

       (c) If the defendant fails to appear in pburt, he/sh~ must contact Aladdin immediately for possible bail bond
reinstatement. If reinstatement is approv~<;l:~)j:t\,ia_<;ff)ed~@.~~~t      ;re* ·,pubmit the reinstatement document
provided by Aladdin to the clerk of the q~,uFt1m;medlate1yqr,~t,y,vill'.otfi~~~)Je void. Please be advised that under
these circumstances the Defendant's warl'~\~fill~tiviftJ'ntil      'be/shefl'as appeared in court and the judge has
recalled the warrant                          ·. ·'· · · ·

       (d) As more fully set forth in paragraph 4 below, the Defendant and lndemnitor(s) are responsible for any
and all expenses incurred by Aladdin or its Surety as a result of the Defendant's failure to appear for scheduled
court dates.

      (e) The Defendant and lndemnitor(s) must notify Aladdin if they (or any of them) change their residence
address, business address, telephone numbers, or employment.

      (f) The Defendant and lndemnitor(s) shall remain liable hereunder until such time as the Bail Bond is
exonerated and Aladdin and/or Surety are fully indemnified for any losses pursuant to paragraph 4 below
("Indemnification").

       (g) Supervised Bail. The Defendant may be placed on supervised bail at any time in Aladdin's sole
discretion. If placed on supervised bail, Defendant must check in with Aladdin or its designee as requested by
Aladdin.

2. Premium. lndemnitor(s} shall pay Aladdin $._________                           for continuance of the Bail Bond (the
"Premium"). The Premium is fully earned u~~l'l the r~lease oPthe Prtl'lcipaL The fact that the Principal may have
been improperly arrested, or his bail reduci~~ frl~t'G~~~~~j~,~J?t.Fl!(frot obligate the return of any portion
                                                                      11le~~':Affiddin and/or Surety maintain the right
of said Premium. In the event any Premh.in'it.~~i~. not-pa.ie1t,,tifpY,f\
to surrender the Principal as provided by'T~:'atidfflon -rcf!~xefcising··ariyother available legal remedies arising
from this Agreement. Any amounts due here~nder ;hall bear interest at the maximum rate allowed by law. Time
is of the essence as to all payments.

3. Collateral. Aladdin and/or Surety may require lndemnitor(s) to deposit money or other property as collateral
in an amount or value which Aladdin and/or Surety determines, in their sole and absolute discretion, sufficient to
protect against the risk of Bail Bond forfeiture and/or summary judgment ('~Collateral"). If as a result of judicial
action bail is increased, Aladdin and/or Surety may demand such additional Collateral as they determine
necessary to protect against the increased risk. In the event lndemnitor(s) or Principal misrepresents or conceals



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information which would have been material to Aladdin and/or Surety's decision to execute the Bail Bond, or
otherwise takes any action which creates ar:i increase in the risk of. Bail Bond forfeiture, lndemnitor(s} shall, upon
dema~d, deposit _Collateralin an amount or :,,J':> ' ~uJye1~nfa2,:          '1,t:; ~rltltri?unt of the Bail Bond. lndemnitor(s)
authorizes Aladdin and/or Surety to levy µ          __ oflater:a:I.ifL _            - - i_· - ner to recover sums due under this
Agreement for unpaid Premium, indemhit9~i~veatiqg~;                                  l~~k
                                                                       c$sts, ex~e'~'ses, and/or other liabilities for which
lndemnitor(s) has agreed to indemnify Al(1cidi'rf'ana'k>rSurety hereunder. Following exoneration or other final
disposition of the Bail Bond and following the application of Collateral to satisfy lndemnitor(s)'s obligations, any
excess Collateral shall be immediately returned to the depositor.

4. Indemnification. To the fullest extent permitted by law, lndemnitor(s) agrees to indemnify and reimburse
Aladdin and/or Surety for any and all losses, damages, judgments, attorneys' fees (including the reasonable value
of services performed by Aladdin and/or Surety's in-house legal staff, claims staff, and/or investigative staff}, costs,
expenses, or liability of any kind whatsoever arising out of or relating to the following:

          (1) the Principal and/or lndemnitor(s)'s breach of any of the terrm; and conditions of this Agreement;
          (2) false or misleading information provided by Principal/lndemnitor(s) in the Bail Bond Application (the
              contents of which are incorporated herein by reference);
          (3) searching for, recapturing, and/or returning the Principal to custody prior to the entry of summary
              judgment on the Bail Bond;
          (4) making application to a court for an order to vacate or to set aside the order of Bail Bond forfeiture or
              summary judgment entered thereon;
          (5) payment of a judgment on the forfeiture of the Bail Bond;
          (6) any action or proceeding commenced by Aladdin and/or,Suret~ to enforce this Agreement; and
          (7) any expenses incurred by Ala--d~-i,:fl            ~-n_
              the arrangement and/or execut10 ,0fh~ Sq!I e611~\(or'~'
                                                                      s_                  as
                                                                                          _ :_
                                                    _ , d-.f_br u__~e-t_y- -----_a__ :_·_e_-_,-~-_¥!_-_;:t o_f_
                                                                                                      th-
                                                                                                       __·_-"_-~        Principa_l's~efusal to cooperate wi~h
                                                                                                                   ··-- or subst1tut1onthereat) once Aladdin
              and/or Surety have initiated ,arrt( -             fmerits
                                                                      ~tl:tt.Wl~")e6uri m.R&tention facility.
                                            t11i1; 1;ilo'!~~i:1 , 1 i1,{ t·~ts, 1 c;e -                    ,,. , ,
                                                          :·:-,<\-,,-,/,. _-,.•{;:               _,
Principal and lndemnitor(s) understand anH1~gree.1tf\at Aladdin or Surety's own active or passive negligence in
connection with investigation and handling of claims forfeitures shall not in any way cancel or limit Principal
and lndemnitor(s)'s indemnity obligations. Defendant and lndemnitor(s) fully assume the risk of the Defendant's
non-appearance. lndemnitor(s) further agrees to fully cooperate and assist Aladdin and/or Surety in securing the
release and exoneration of the Bail Bond, including the surrender of the Principal to court should Aladdin and/or
Surety deem such action advisable.

5. Surrender. In the event of Bail Bond forfeiture, or the Principal and/or lndemnitor(s)'s failure to abide by the
terms of this Agreement, Aladdin and/or Surety maintain the right to surrender the Principal as provided by law.
Aladdin and/or Surety shall not surrender the Principal to custody prior to the time specified in the Bail Bond for
the appearance of the Principal, or prior to any occasion when the presence of the Principal in court is lawfully
required, without first returning all Premium paid, unless as a result of judicial action, information concealed or
misrepresented by the Principal and/or lndemnitor(s}, or other reasonable cause, any one of which was material to
the risk to be assumed by Aladdin and/or Surety, the risk was substantially increased.

6. lndemnitor Representations & Warranties. lndemnitor(s) represents and warrants that (1) all statements and/
or information provided on or in connection with the Bail Bond Application are true and accurate; (2) lndemnitor(s)
will advise Aladdin and/or Surety of any change _i_n ~uch information within 48 hours of learning of the change
(including but not limited to (i) changes_ of;•··    ~f9·r·_•e-·fn_~_-_-_1r._~_,~'--_~:,,-_e
                                                                                         _ n_}?:' - . •€l_r,_ the Principal or lndemnitor(s), or (ii)
any other material change in circumstance              tl:rat1'~d                        ·t ·'.ll·.        ;;so  advise shall be reasonable cause
for the immediate surrender of the Prinq· .,. ,_-_ _ p9e_~Hif~~~f\li'¥                                   tKnows the contents of the Bail Bond
                                                                                         of
Agreement and this Agreement, and has r~cei d .~O'pies each document included therein; (4) lndemnitor(s) is
the true and lawful owner of all Collateral o( ~ther pr~perty set forth in the Bail Bond Application, and lndemnitor(s)
shall not transfer or otherwise encumber said property without first satisfying all outstanding liability for the Bail
Bond.
                                                                                     3




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7. Additional Bail Bonds. In the event additional Aladdin bail bonds are executed for the same charge for which
the above mentioned Bail Bond was executed, or any other charge arising out of the same criminal matter, this
Agreement shall apply equally to those bonds.

8. Joint & Several Obligations. The obligations hereunder are joint and several. lndemnitor(s) expressly waives
the benefits of any law requiring Aladdin and/or Surety to seek available remedies from the Principal prior to
proceeding against lndemnitor(s) hereunder.

9. Governing La~. T~is Agreement shall ,R~&.PY!3rrted.f.onstr~ed, nd interpreted in accordance with the laws
of the State of California.
                                                                         1
                                    , ,r.:;J't.'., ·• ,;.,,:1. •. i\iJ4\'f'~ , ,,   ,ii ,
                                      ,._ e/   1
                                                ~•~. ''.,, ::,·?,   ~t          . 1~tf~
10. Integrated Agreement. lndemnitdr(s£, " ·ol}';l!#:Jgeg~ahda,greest'tiat no promises or representations were
made to lndemnitor(s) which do not appeati~tttelh~rein and that this Agreement contains the entire agreement
between lndemnitor(s), Aladdin and Surety on the subject matter hereof. lndemnitor(s) further acknowledges
and agrees that all prior statements, agreements, understandings or promises, written or oral, are superseded by
this Agreement. This Agreement may only be modified by a writing signed by authorized representatives of the
parties.

IN WITNESS WHEREOF, lndemnitor(s) acknowledges that in executing and continuing the Bail Bond, Aladdin
and/or Surety is relying on this Agreement and the statements made by lndemnitor(s) in connection herewith, and
as such, the undersigned lndemnitor(s) enters into this Agreement by signing below.


lndemnitor

SIGNATURE_____________                                              _        NAME _____________                  _

ADDRESS ______________________________                                                                          _


lndemnitor




lndemnitor

SIGNATURE _____________                                         _            NAME _____________                     _

ADDRESS _____________________________                                                                           _


lndemnitor

SIGNATURE _____________                                             _        NAME ______________                        _

ADDRESS _______________________________                                                                                 _


Principal/Defendant

SIGNATURE _____________                                         _            NAME _____________                  _

ADDRESS __________________________________                                                                              _




                                                                                                                            92 of 145
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               INDEMNITY AGREEjf\11\ENT FOR SURETY BAIL BOND
                       ULICO STANDARD OF AMERICA CASUALTY COMPANY

Defendant Name                                                                                                                                  Date of Bonds _____ _
Bond 1
            Amount$                                     Number                                                                                     Case#

            Charges

Bond 2
            Amount$                                     Number                                                                                     Case#

            Charges

Bond 3
            Amount$                                     Number                                                                                     Case#

            Charges

Bond 4
            Amount$                                     Nurobtir                                                                                   Case#
                                                                        \;);\,
                                                                   .,,, Jt ,,
            Charges

Bond 5
            Amount$                                     Number                                                                                     Case#

            Charges

Bond 6
            Amount$                                     Number                                                                                     Case#

            Charges

Bond 7
            Amount$                                     Number                                                                                     Case#

            Charges

Bond 8
            Amount$                                     Number                                                                                     Case#
                                                                      ,•,·t
            Charges
rotal
~mount
:>f Bail$
              STATEMENT OF INFORMATION REQUIRED BY SECTION 2100, CALIFORNIAREGULATORY CODE, AND WHICH MAY BE REQUIRED IN OTHER STATES



     Full Name of person supplying information                                Name of person negotiatingbail                                                 Name of person receiving information



                      Address                                                                     Address                                                     Date and time informationreceived



       Connection or relationshipto defendant                        Connection or relationshipto defendant                                                  Manner in which informationreceived



   If same was defendant, how did he communicate?               Name of licensee who negotiatedtransaction                                             Name of other ageQt involved and commission paid

f writ ____________                                 _
                  Name of Attorney                                                                                Name and sum paid unlicensed persons and service performed


                                                                                                                                                                                  93 of 145
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                       ULICO STANDARDOF AMERICA CASUALTYCOMPANY


t-A-l~bbi~®                                                             STATEMENTof CHARGES
    Bail Bonds
WE GET YOU OUT. WE GET YOU THROUGH IT. ®                                Account Number:

Aladdin Bail Bonds
                                                                                 Power Numbers

Expenses (Itemized)
                                                                    Date:
                                                                    Total Premium:
                                                                    Total Expenses:
                                                                    Total Charges:
Was Collateral Taken: Yes       No
Type:                                                               Received on Account:
                                                                    Balance:


                                                                  Agent Name: ___________                 _



MEMORANDUM OF BAIL BOND FURNISHED
DEFENDANT

JAIL NAME
            ------------
                                             -\~•-lOCATIQN .
                                                             -------
                                                  DATE OF BIRTH        DATE FILED
                                                                                  -----
                                                                     BOOKING#______ _




BOND NO.                              CASE NO.                            BOND AMOUNT$
            ---------                            -------- --------
CHARGES                                                                    COURT
                                                     -----------
APPEARANCE DATE         TIME       LOCATION
                 ------      ----           ----------------
REWRITE BOND NO.                  ORIGINAL AMNT $
                                                 ----- PREMIUM $ ------




                                                       r •   \I




TOTAL BAIL AMOUNT $ ________ TOTAL PREMIUM$~-------

RECEIVED COPY OF ABOVE RECEIPT ____________________                                                      _
                                                      Page l of l                                   ALSC-60
                                                                                                    94 of 145
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                                                                                                 Page 1 of 1



 Hiltgen, Mary

  From:      Hank Lauricella [hlauricella@fl-advisors.com]
  Sent:      Friday, October 07, 2011 5:39 PM
  To:        Hiltgen, Mary
  Cc:        'Cerny, Robert J.'; asterett@svinsco.com
  Subject: CDI File 11-6920 Response to Sep 29 Letter Email 3 Of 3

Dear Ms. Hiltgen,

Please find attached the final 4 attachments:

    •     Bail Bonds Rate Manual Exceptions Page Revised 111005;
    •     Form AL-0101 Revised 111005;
    •     Form UL-0100 Revised 111005; and
    •     Form ALSC-60 Revised 111005.
                                                                <-: \j -'


Please contact me if you have any questions'.'Thank:you.

Sincerely,



Francis E. Lauricella, Jr.
Chief Financial Officer and Secretary
Seaview Insurance Company
(415) 931-9447 Office
(415) 730-8945 Cell
hlauricella@fl-advisors.com




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                                                                                                         Pagel of 1



 Hiltgen, Mary

  From:      Hank Lauricella [hlauricella@fl-advisors.com]
  Sent:      Friday, October 07, 2011 5:39 PM
  To:        Hiltgen, Mary
  Cc:        'Cerny, Robert J.'; asterett@svinsco'.com
  Subject: COi File 11-6920 Response to Se1f29 -Letter ErnaiL2 bf3


Dear Ms. Hiltgen,

Please find attached the-4 additional attachments:

    •     Rate Template Prior Approval Rate App CDI File 11-6920 R.evised 111007 Ulico Standard;
    •     Page 7 Ratemaking Data Prior Approval Rate App CDI File 11-6920 Revised 111007 Ulico Standard;
    •     Page 12(a) Forms Prior Approval Rate App CDI File 11-6920 Revised 111007 Ulico Standard; and
    •     Page 12(a) Forms Index CDI File 11-6920 Revised 111005.

Please contact me if you have any questions. Thank you.

Sincerely,



Francis E. Lauricella, Jr.
Chief Financial Officer and Secretary
Seaview Insurance Company
(415) 931-9447 Office                            ~.:s.·,:,.,.
                                                            ',c-1 ' •

                                                                            '.°
(415) 730-8945 Cell                               l                     •


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hlauricella@fl-advisors.com




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                                                                                                            96 of 145
                                                Case 4:19-cv-00717-JST                            Document 513-15                          Filed 12/11/24              Page 98 of 146
STATE OF CALIFORNIA                                                                                                                                                              Company Name:            Ullco Standard of America
OEPARTMEIIITOF INSURANCE (COi)                                                                                                                                                   Line of lmurarn:a:       SURETY
Edition Date:

                                                                                                                 FORMS
Insurers who wish to use a new or replacemsnt form in connection with a new or existing program !lli!.fil. furnish the following information and documentation for our review.
Revisions must be highlighted and the corresponding manual pages must be provided.
                                                                                                                                                                                  Restricts   Broadens       Rate
                                                                                                                                                          SOURCE                 Coverage Coverage           Impact      %
                 FORM NO                                                                                                          TYPE                   FORM NO• CATEGORY       r Yes/ No I I Yes/ Nol   I Yes I No 1
11 New:   Please see attached.

  Old:

2J New:
 Old:

3I New:

  Old:

4]New:

  Old:

5] New:

  Old:


                                                                                            REQUIRED RESPONSES FOR THE ITEMS ABOVE

                                       TYPE:                                                                                   SOURCE                                            CATEGORY

                                       1) Application                                                                          1) 1so·                                           1) New. mandatory
                                       2) Endorsement                                                                          2) Other Advisory Organization"                   2) New. optional
                                       3} Policy                                                                               3) Company                                        3) Replacement. mandatory
                                       4) Other ( Please define )                                                              4) Other (describe)                               4) Replacement. optional
                                                                                                                                                                                 5) Withdrawn. mandatory
                                                                                                                                                                                 6) Withdrawn. optional

• Provide Cafilomia Oapt. of /nSA.1rancen~ { CD/#} under the column identified as Source Form No.

Additional Information and Documents       Required
          Describe the purpose of the form or form change

          For NEW FORMS. furnish a copy of the fom, to be filed,~ identical to an advisory organization fonn. If the form is a new endorsement to the policy, describe any changes in coverage under the policy. Describe what
          adjustments. if any. will be made to the premium due to the introduction of the forms.


          For REVISED FORMS. describe any changes in coverages bet.ween the proposed form and the current form. Reference pertinent sections of each form affected. Brackets [ ] should be used to identify any deletions on the
          current form and underline all changes in the revised form. Describe what adjustments. if any, will be made to the premium due to the revisions.




                                                                                                         Prior Approval Rate Application
                                                                                                                    (Forms)                                                                                          Page 12(a)



                                                                                                                                                     97of145
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 DEPARTMENTOf INSURANCE(CDI)                                                                                                                       lme of Insurance.        Surety
 Edition Date:           4/4/2011

 FORMS

 Insurers who wish to use a new or replacement form in connection with a new or existing program must furnish the following information and documentation for our review.
 Revisions must be highlighted and the corresponding manual pages must be provided.
                                                                                                                                                   Restricts                Broadens    Rate
                                                                                                           SOURCE                                  Coverage                 Coverage    Impact      %        Flat
            FORM NO,                TITLE                   TYPE                 SOURCE                    FORM NO•          CATEGORY               [Yes/No]                [Yes/No]    [Yes/No]    Change   Rate


 1] New:     AL-10      Application for Surety Bail                                       4                n/a                                      n/a                     n/a         n           n/•      n
                        Bond


 Z] New:     UL-0100    Indemnity Agreement for                          4                4                n/a                                      n/a                     n/a                     n/a      n
                        Surety BaH Bond

 3] New:     AL-0101    Amendment to Indemnity                           4                4                n/a                                      n/a                     n/a         n           n/a
                        Agreement


 4]New:      ALGC       General Conditions of Bail                       4                4                n/a                                      n/a                     n/a                     n/a

 S]New:      UL-0202    Disclosure Statement                             4                4                n/a                                      n/a                     n/a                     n/a

                                                                                                   ''
"',6]New:    UL-0200    Deed of Trust                                    4                          .,~{•                                           n/a                     n/a                     n/a      n

 7]New:      UL-0201     Authorization Re                                    4            4                .~I•                                     n/a                     n/a                     n/a
                         Deed of Trust


 8] New:     UL-0001     Bail Bond Face Sheet               4- Bond                                        n/a                                      n/a                     n/a                     n/a      n

•,9] New:    UL-0600     lndemnitor Order of                                 4            4,               'n/a                                     n/a                     n/a         n           n/•
                        Surrender


clO] New:    Ul-0700     Bail Bond Rates                    4   V   Notice                4c               n/a                                      n/a                     n/a                     n/a      n
                                                                                                   ,,.,,
:•,H]New:    UL-0601     Authorization to Arrest                             4            4          . 'n/a                                         n/a                     n/a                     n/a

 12] New:    UL-0002    Appeal Bond Face Sheet              4-Bond                        4                  ,.
                                                                                                           ...                                      n/a                     n/a                     n/a

 B]New:      Ul-0003     Indictment Bail Bond Face          4- Bond                       4                n/a                                      n/•                     n/a         n           n/•      n
                        Sheet


 14] New:    AL-PN       Promissory Note                                     4            4                n/a                                      n/a                     n/a                     n/a

 15] New:    UL-0401-0l Bail Bond Power of Attorney         4- Bond                       4                n/a                                      n/a                     n/a         n           n/a

 16] New:    UL-0401-Q; Statement of Charges                             4                4                n/a                                      n/a                     n/a         n           n/•

 17] New:    Ulv0401--0~ Receipt for Collateral Deposited                4                4                n/a                                      n/a                     n/a         n           n/a      n

 18] New:    AL·SBPl    Supervised Bail Program                          4                4                n/a                                      n/a                     n/a         n           n/a      n

 19] New:    AL-SBP2    Supervised Bail Program                          4                4                n/•                                      n/a                     n/a                     n/a      n

 20] New:    ALSC-60    Statement of Charges {BMA)                       4                4                n/•                                      nf•                     n/a                     n/a      n

 21] New:    ALPR-61    Payment Receipt (BMA)                            4                4                n/•                                      n/•                     n/a                     n/a      n




                                                                                                                                                                            98 of 145
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    UCAA Proforma Finan~ial Statements
          Property and Casualty Insurance Company                 titf>o~g
                                                                      1pjidR*ATiO,F
                                                                           T
                                                                                 I I.
                                                                                            ·. ___-9   .o':.
                                                                                                                 · •.•             tu'
                                                                                                                           '--A7flt'JN>--
                                                                                                                     -., ...  L:::,  ,·-•'.'

                                                                  •   AK       Alaska
                                                                                                                               •     MT     Montana

                                                                  •   AL       Alabama
                                                                                                                               •      NC    North Carolina

  1. Enter the Company Name below                                 •   AR       Arkansas
                                                                                                                               •      ND    North Dakota
  2. Enter the -first year of the proformas (ie. 2009).
                                                                  •   AS       American Samoa
                                                                                                                               •     NE     Nebraska
  3. Select the states to be completed for proformas by
  clicking the check boxes on tl:Je right and then click on the   •   AZ       Arizona
                                                                                                                               •      NH    New Hampshire
  •create.Selected StateWorksheetsn button below.
                                                                  • coCA       California                      Goto CA
                                                                                                                               •      NJ    New Jersey
  4. Complete all ,sections of the proforma statemen.ts
  contained on .each tab below.·                    ·   ·         •            Colorado
                                                                                                                               •      NM    New Mexico                                ,<{,;

  5. Note that several tabs contain worksheets for 3 years of     •   CT       Connecticut
                                                                                                                               •      NV:;,'~da
  data. Be sure to complete all years of data.·
  6. Do not "Cur and ·Paste" cells in the worksheets. Use         •   DC       District Of Columbia
                                                                                                                               •      NY .New York
                                                                                                                                      jF'' +·
  •eopy" and •Paste" instead.                                     • FLDE       Delaware
                                                                                                                               •      OH    Ohio

                                                                  •            Florida
                                                                                                                               •      OK --o.Q.ldahoma

                                                                  •   GA       Georgia
                                                                                                                               •      OR .Ore!;Jon

                                                                  •   GU       Guam
                                                                                                                               •      PA    Pennsylvania                        f     r- -~n,
                                                                  •   HI       Hawaii
                                                                                                                               •      PR    ~uerto .Rico

                                                                  •   IA       Iowa
                                                                                                                               •      RI    Rhode Island
            Enter the Company Name:
                                                                  •   ID       Idaho
                                                                                                                               •      SC    South .Carolina                     t.:
                                                         --       •   IL       Illinois
                                                                                                                               •      so South Dakota                                 Sot1th]J:;-_

              Ullco Standard of America Casualty Company
                                                                  •   IN       Indiana
                                                                                                                               •      TN   · Te?:riessee                                      :'Ir


                                                                  •   KS       Kansas
                                                                                                                               •      TX    Texas
Year 1:                             2011
                                                                  •   KY       Kentucky
                                                                                                                               •      UT    Utah

                                                                  •   LA       Louisiana
                                                                                                                               •      VA    Virginia
Year 2:                             2012
                                                                  •   MA       Massachusetts
                                                                                                                               •     VJ     U.S. Virgin Islands

                                                                  •   MD       Maryland
                                                                                                                               •     VT     Vermont
Year 3:                             2013
                                                                  •   ME       Maine
                                                                                                                               •     WA     Washington

                                                                  •   Ml       Michigan
                                                                                                                               •     WI     Wisconsin

                                                                  •   MN       Minnesota
                                                                                                                               •     WV     West Virginia

                                                                  •   MO       Missouri
                                                                                                                               •     WY     Wyoming

                                                                  •   MS       Mississippi




                                                                                                                                           99 of 145
                                   Case 4:19-cv-00717-JST   Document 513-15   Filed 12/11/24     Page 101 of 146




If states were added to this spreadsheet in error:
1: Select the states to be deleted by clicking the check
boxes on the right.         ··                       ··
2. Click.on the nDelete Selected State Worksheets• button
above.




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                                                                            Company Name:       Ulico Standard of America Casualty Company
                                                                            (Property & Casualty Insurance Company)
                                                                            Pro Forma Statutory Balance Sheet
                                                                            (In Thousands)




                                                              2011                                                                 2012                                        2013
Admitted Assets

1.   Invested Assets(non-affiliated)                             6,576                                                                 8,518                                     11,174
2.   Investments in Subs and Affiliates
3.   All assets other than investments                           4,451                                                                 8,484                                     12,249
4.   Total Admitted Assets(1+2+3)                               11,027                                                                17,002                                     23,422




5: losses (Case & IBNR)                                              142                                                                  309                                         463
6. Loss Adjustment Expenses                                                 -,:-)5~_/:-/
7. Unearned Premiums                                                 956    .,8:8£1{<                                                  1,521                                      2,151
                                                                                                                                                          .."lk)C      ,-
8. Ced~d)~einsurance Payable
9. Payable to Parents, Subsidiaries & Affiliates                                                                                                          ~u--J_J:r ':"
10:· All Other Liabilities                                       4,451'                                                                8,484                                     12,249
11. Total Li,abilities(5+6+7+8+9+10)                             5,549        : ··11 ; · _s;:                                         10,314              ·-· l ;--.,,...:__     14,863
                                                                                                                                                 _,;...
                                                                                                                                                                    1:_::.
Capital and Surplus
             "t.                                                                                                                                 ---~·-~-·---·-
12-~ Comm.onStock                                                                                                                      5,000                                      5,000
                                                                                                                                                                    -:-21_
13:· Preferred Stock
14. Gross'Paid In and Contributed Surplus
15. Surplus Notes
16. Unassigned Surplus                                               478                                                               1,689                                      3,559
17. Other ltems(elaborate)
18. Total Capital and Surplus(12+13+14+15+16+17)                 5,478                                                                 6,689                                      8,559


19. Total Liabilities,
    Capital and Surplus(11 +18)                                 11,027                                                                17,002                                     23,422


                                                                                                  Risk-Based Capital Analysis

20. Total Adjusted Capital                                       5,478                                                                 6,689                                      8,559
21. Authorized Control Level Risk-Based Capital                      ns                                                                1,301                                      1,788
22. Calculated Risk-Based Capital (20/21)                            706%                                                               514%                                      479%




                                                                                                                                  101 of 145
                                                     Case 4:19-cv-00717-JST                              Document 513-15                      Filed 12/11/24       Page 103 of 146



                                                                                              Company Name:       Ulico Standard of America Casualty Company
                                                                                              (Property & Casualty Insurance Company}
                                                                                             ·pro Forma Statutory Profit & Loss Statement
                                                                                              [In Thousands)

                                                                              2011                                                     2012                                   2013

1. Net Premiums Eamed                                                              2,867                                                   5,518                                     7,974
2. Net Losses Incurred (Case & IBNR)                                                  158                                                      304                                     439
3. Net Loss Adjustment Expenses Incurred
4. Direct Commissions & Brokerage
5. Reinsurance Ceding Commissions
6. Net Commissions Incurred (4-5)
7. Other Contractual Agreements•                                                       150                                                   150                                       150
8. Other Underwriting Expenses Incurred                                              1,859                                                 3,174                                     4,433


9. Underwriting Gain (Loss) (1-{2+3+6+7+8))                                           700                                                  1,891                                     2,953
10. Net Investment Income                                                              97                                                      127                                      165
11. Other Income
12. Net Operating Income (Loss),,;,
    Before Taxes (9+10+11)                                                            797                                                     2,017                                  3,118-
13. lncome Taxes Incurred                                                             319                                                      807                                    1,247


14. Net Operating Income (Loss).. .. _,-                                                                               )-
    AfterTaxes (12-13)    ·                                                           478                                                     1,210                                   1,87'.1

15. Stockholder Dividends

   Operating Percentages:
   Net Premiums Eamed                                                            100.00%                                                 100.00"/4                               100.00%


16. Net Losses Incurred to !')letBremiums Eliimed(2/1)                               5.50%                                                    5.50%


17. Net loss Adjustment Expenses lnoorred to Net Premiums Eamed(3/1 J                0.00%                                                    0.00%                                   0.00%

18. Other Underwriting Expenses to Net Premiums Eamed ((6+7+8)/1)                 70.08%                                                  80.24%                                     57.47%


19. Net Underwriting Gain Or (Loss) (9/1)                                         24.42%                                                  34.26%                                     37.03%


   Other Percentages:


20. Other Underwriting Expenses to Net Premiums Written
   ((6+7+8)/Total Net Premiums Written))                                          52.56%                                                  54.84%                                     0.00%

21. Net Loss and Loss Adjustment Expenses Incurred to
   Net Premiums Earned ((2+3)/1)                                                     5.50%                                                    5.50%                                  5.50%




•ie ... MGA(excluding amounts included above as agents commissions), service contracts, claims payment contracts



                                                                                                                                                      102 of 145
                                                  Case 4:19-cv-00717-JST                  Document 513-15                       Filed 12/11/24      Page 104 of 146



                                                                               Company Name:       Ulico Standard of America Casualty Company
                                                                               (Property & Casualty Insurance Company)
                                                                               Pro Forma Statutory Cash Flow Statement
                                                                               (In Thousands)

                                                               2011                                                      2012                                  2013
                 Cash From Operations
1. Premiums Collected Net of Reinsurance                              3,823                                                  6,083                                    8,605
2. Loss and Loss Adjustments Expenses Paid (Net of S&S)                 16                                                      137                                     284
3. Unde!Writing Expenses Paid                                         2,009                                                  3,324                                    4,583
4. Other Underwriting lncome(expenses)
5. Total Cash From Underwriting(1-2-3+4)                              1,798                                                  2,623                                    3,738


6. Net Investment Income                                                97                                                      127                                     165
7. Other Income
8. Dividends to Policyholders
9. Federal and Foreign Income Taxes (Paid) Recovered                   (319)                                                  (807)                                   {1,247)
10. Net Cash From Opera1ions(5+6+7---8+9)                             1,576                                                  1,942                                    2,656


                 Cash From Investments
11. Net Cash from Investments                                     (4,932)                                                   (1,4571                                   (1,992)



        Cash From Financing and Misc Sources
12. Total Other Cash Provided                                         5,000
13. Total Other Gash applied
14. Net Cash from F1nancing and Misc Sources(12-1~)                   5,000

15. Net Change In Cash, Cash Equivalents and Short-Term               1,644                                                                                             664
   lnvestments(10+11+14)




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                                         Company Name:        Ulico Standard of America Casualty Com1
       Nationwide                        (Property & Casualty Insurance Company)
                                         Premiums Written to Surplus Ratios
                                         Amounts in Whole Dollars

Year        Direct            Assumed            Gross              Ceded               Net                    Gross                Net
          Premiums            Premiums         Premiums           Premiums           Premiums           Written Premiums    Written Premiums
           Written             Written          Written            Written            Written               to Surplus          to Surplus




2011         3,822,600                            3,822,600                            3,822,600,_                  69.8%               69.8%


2012         6,083,100                            6,083,100                            6,083,100                    90.9%               90.9%


2013         8,604,800                            8,604,800                            8,604,800                   100.5%              100.5%




                                  No data entry is required on this page.




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Nationwide                                                           Company Name:         Ulico Standard of America casualty Company
Year 1        2011                                                   {Property & Casualty Insurance Company)
                                                                     Planned Premium Volume By Line of Business
                                                                     Amounts in Whole Dollars


 Annual                                                                     Direct           Assumed                       Ceded         Net             Direct         Assumed           Ceded             Net
Statement                                                                 Premiums           Premiums                    Premiums     Premiums          Premiums        Premiums        Premiums         Premiums
   Line       Description                                                  Written             Written                    Written      Written           Earned          Earned          Earned           Earned

   1.0        Flre
   2.1        Allied Lines
   2.2        Multiple Peril Crop
   2.3        Federal Flood
   3.0        Farrnowners Multiple Peril
   4.0        Homeowners Multiple Peril
   5.1        Commercial Multiple Peril (Non-Liability Portion)
   5.2        Commercial Multiple Peril (Liability Portion)
   6.0        Mortgage Guaranty
   a.o        Ocean Marine
   9.0         Inland Marine
  10.0         Financial Guaranty
  11.1         Medical Professional Liability - Occurrence
  11.2         Medlcal Professional Liability - Claims Made
  12.0         Earthquake
  13.0         GroupA&H                                                                                                                                                            ~:;;:_·-;:,, _t, .-
  14.0         Ctedil A&H (Group & Individual)
  15.1         Colleoti'velyRenewableA&H
  15.2         Non-Cance!lable A&H
  15.3        'Guaranteed Renewable A&H
  15.4         Non-.Rimew-81ated Reasons Only A&H
  15.5         Other Accident Only
  15.6         Medicare Title XVII exempt from state taxes or fees
  15.7         All Other A&H
  15.B        Federal EmployeesHealth BenefitsProgram
  16.0        WorRers' Compensation
  17.1        Other Liability                                                                                . -,~;-

  17.3        Excess Workers Compensation
  18.1        Products Liability - Occurrence
  18.2        Products Liability- Claims Made
  19.1        Private Passenger Auto Ner-Fault (PIP)                                                      Pf:·,,:.i~e t'2ss,:-:;.
  19.2         Other Private Passenger Auto Liability                                                                         o, -/
  19.3      '"cCornrnemal Aulo Ner-Faull (PIP)
                            0



  19.4        Other Commercial Auto Liability
  21.1        Private Passenger Auto" Pt,ys Damage
  21.2        Commercial Auto Physlcal Damage
  22.0        Aircraft (Ail Perils)
  23.0        Fldellty
  24.0        Surety
  26.0        Burglary and Theft
  27.0        Boller and Machinery
  28.0        Credit
  28.0        Credit Dlsability
  30.0        Warranty
  34.0        Prepaid Legal
  34.0        Bail Bonds                                                     3,822,600                                                   3,822,600        2,867,000                                         2,867,000
  34.0        Glass
  34.0       True
  34.0        Livestock
  34.0        Industrial Extended Coverage
  34.0        Mobile Home Multiple Peril
  34.0        Mobile Home Pt,ysical Damage
  34.0        Reinsurance
  34.0        Ottier- Property
  34.0        Other - casualty
  34.0        Other

             Total                                                           3,822,600                                                   3,822,600        2,867,000                                         2,867,000




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Nationwide                                                         Company Name:          Ullco Standard of America casualty Company
Year2        2012                                                  {Property & Casualty Insurance Company)
                                                                   Planned Premium Volume By Line of Business
                                                                   Amounts in Whole Dollars


 Annual                                                                   Direct              Assumed             Ceded               Net               Direct        Assumed      Ceded             Net
Statement                                                               Premiums              Premiums          Premiums           Premiums           Premiums        Premiums   Premiums         Premiums
  Line       Description                                                  Written              Written           Written            Written            Earned          Earned      Earned              Earned

   1.0       Fire
   2.1       Allied Lines
   2.2       Multiple Peril Crop
   2.3       Federal Flood
   3.0       Farmowners Multiple Peril
   4.0       Homeowners Multiple Peril
   5.1       Commercial Multiple Peril (Non-Liability Portion)
   5.2       Commercial Multlple Peril (Liability Portion)
   6.0       Mortgage Guaranty
   8.0       Ocean Marine
   9.0       Inland Marine
  10.0       Financial Guaranty
  11.1       Medical Professional Uablllty- Occurrence
  112        Medical Professional Llability- Claims Made
  12.0       Earthquake             ·• · ·
  13.0       GroupA&H                    ·
  14.0       Credit A&H (Group & !ndi\/lcftial)
  15.1       Collectively Renewa.ble l'.&H
  152        Non-Canceilable A&H         •.
  15.3       Guaranteed Renewable A&H
  15.4       Non-Renew-Stated Reasons Only A&H
  15.5       Other Accident Only
  15.6       Medicare Title XVII exempt from state taxes or fees
  15.7       All Other A&H
  15.8       Federal Employees Health; Benefits Program                                                                                                                                     '1"l."'.

  16.0       Workers' Comperu;aitton
  17.1       Other Liability
  17.3       Excess Workers ~asation _
  18.1       Products Liability - Occurrence
  182        Products Liability - Claims Ma(le
  19.1       Private Passenger Al,rlQ N_o•fllulI (PIP)
  19.2       Other Private Passe~ A,,,to U.ab11ity
  19.3       Commercial Autol)l9-F.'llYlt~jpj.      ·
  19.4       Other Commercial Auto_ LiaPli.ity
  21.1       Private PassengerAuto Ph~ !)amage
  212        Commercial Auto Physical Damage
  22.0       Aircraft (All Perils)
  23.0       Fidellty
  24.0       Surety
  26.0       Burglary-and Theft
  27.0       Boller and Machinery
  26.0       Credit
  26.0       Credit Disability
  30.0       Warranty
  34.0       Prepaid Legal
  34.0       Bail Bonds                                                     6,083,100                                                  6,083,100        5,518,000                                        5,518,000
  34.0       Glass
  34.0       Trtle
  34.0       Livestock
  34.0       Industrial 8ctended Coverage
  34.0       Moblle Home Mulliple Peril
  34.0       Mobile Home Physical Damage
  34.0       Reinsurance
  34.0       Other - Property
  34.0       Other - Casualty
  34.0       Other

             Total                                                          6,083,100                                                  6,083,100        5,518,000                                        5,516,000




                                                                                                                                                   106 of 145
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Nationwide                                                         Company Name:                  Ulico Standard of America Casualty Company
Year3        2013                                                  (Property & Casualty Insurance Company}
                                                                   Planned Premium Volume By Line of Business
                                                                   Amounts In Whole Dollars


 Annual                                                                           Direct            Assumed             Ceded                 Net              Direct        Assumed      Ceded       Net
Statement                                                                    Premiums               Premiums           Premiums            Premiums          Premiums        Premiums   Premiums   Premiums
  Line       Description                                                      Written                Written            Written             Written           Earned          Earned      Earned    Earned

   1.0       Fire
   2.1       Allied lines
   2.2       Multlple Peril Crop
   2.3       Federal Flood
   3.0       Farmowners Multiple Peril
   4.0       Homeowners Multiple Peril
   5.1       Commercial Multiple Penl {Non-liability Portion)
   5.2       Com-nercial Multiple Penl (liability Portion)
   6.0       Mortgage Guaranty
   8.0       Ocean Marine
   9.0       Inland Marine
  10.0       Financial Guaranty
  11.1       Medical Professional liability- Occurrence
  11.2       Medical Professional liability- Claims Made
  12.0       Earthquake
  13.0       GroupA&H
  14.0       Credit A&H (Group & Individual)
  15.1       Collectively Renewable A&H
  15.2       Non-Cancellable A&H
                                                                          ,-,
  15.3       Guaranteed Renewable A&H
                                                                          '.,~:;~_';),·::
  15.4       Non-Renew-Stated Reasons Only A&H
  15.5       Other Accident Only
  15.6       Medicare Title XVII exempt from state taxes or fees
  15.7       AIIOtherA&H
  15.8       Federal Employees Health Benefits Program
                                                                     Sc
  16.0       Workers' Compensation
  17.1       Other Uabmty
  17.3       Excess Workers Compensation
  18.1       Products liability - Occurrence
  18.2       Products Liability - Claims Made
  19.1       Private Passenger Auto No-Fault (PIP)
  19.2       Other Private Passenger Auto liability
  19.3       Commercial Auto No-Fault (PIP)
  19.4       Other Commercial Auto Liability
  21.1       Pliva!e Passenger Auto Phys Damage
  21.2       Commercial Auto Physical Damage
  22.0       Aircraft (All Perils)
  23.0       Fidelity
  24.0       Surety
  26.0       Burglary and Theft
  27.0       Boiler and Machinery
  28.0       Credi!
  ?8.0       Credit Disability
  30.0       Warranty
  34.0       Prepaid legal
  34.0       Bail Bonds                                                               8,604,800                                                8,604,800       7,974,300                              7,974,300
  34.0       Glass
  34.0       Titie
  34.0       Uvestock
  34.0       Industrial Extended Coverage
  34.0       Mobile Home Multiple Pelil
  34.0       Mobile Home Physical Damage
  34.0       Reinsurance
  34.0       Other - Property
  34.0       Other - Casualty
  34.0       Other

             Total                                                                   8,604,800                                                 8,604,800       7,974,300                              7,974,300




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Nationwide                                           Company Name:    Ullco Standard of America CasualtyCompany
Year 1       2011                                    (Property & Casualty Insurance Company)
                                                     Incurred Loss Summary By Line of Business
                                                     Amounts in Whole Dollars


 Annual                                                                    Direct                      Assumed         Ceded                      Net
Statement                                                                 Losses                        Losses         Losses                   Losses
  Line       Description                                                  lncurrecl"                   Incurred*      Incurred*                Incurred ...

   1.0       Fire
  2.0        Allied Lines
  2.2        Multiple Peril Crop
  2.3        Federal Flood
  3.0        Farmowners Multiple Peril
   4.0       Homeowners Multiple Peril
   5.1       Cormiercial Multiple Peril (Non-Liability Portion)
   5.2       Corrmercial Multiple Peril (Liability Portion)
   6.0       Mortgage Guaranty
   8.0       Ocean Marine
   9.0       Inland Marine
  10.0       Financial Guaranty
  11.1       Medical Professional Liability - Occurrence
  11.2       Medical Professional Liability - aaims Macie
  12.0       Earthquake
  13.0       GroupA&H
  14.0       Credit A&H (Group & Individual)
  15.1       Collectively Renewable A&H
  1'5.2      Non-Cancellable A&H
  15.3       Guaranteed Renewable A&H
  15.4       Non-Renew- Stated Reasons Only A&H
  15.5       Other Accident Only
  fs.s       Medicare Title XVII exempt from state laxes or fees                                                                                               ·•_;·.'-
  15.7       AH OlherA&H
  15.8       Federal Employees Health Benefits Program
  16.0       Workers' Compensation
  17.1       Other Liability
  17.3        Excess Workers Compensation
  18.1       Products Liabirlty- Occurrence
  18.2       Products Liability - Claims Made
  19.1       Private Passenger Auto No-Faull (PIP)
  19.2       Other Private Passenger Auto Liability
  19.3       Commercial Auto No-Faull (PIP)
  19.4       Other Commen:ia! Auto UabDlty
  21:1       Private Passenger Auto Phys Damage
  21:i       Cortrnercial Auto Physical Damage
  22.0       Aircraft (All Perils)
  23.0       Fidelity
  24.0       Surety
  26.0       Burglary and Theft
  27.0       Boiler and Machinery
  28.0       Credit
  28.0       Credit Disability
  30.0       Warranty
  34.0       Prepaid Legal
  34.0       Bail Bonds                                                        157,700                                                               157,700
  34.0       Glass
  34.0       Titie
  34.0       Livestock
  34.0       Industrial Extended Coverage
  34.0       Mobile Home Multiple Peril
  34.0       Mobile Home Physical Damage
  34.0       Reinsurance
  34.0       Other
  34.0       Other
  34.0       Other


             Total                                                             157,700                                                               157,700
             Verific:atlon from P & L                                                                                                                157,700

          • Include loss adjustment     expenses.



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Nationwide                                              Company Name: Ulico Standard of America Casualty Company
Year2          2012                                     (Property & Casualty Insurance Company)
                                                        Incurred Loss Summary By Line of Business
                                                        Amounts in Whole Dollars


 Annual                                                                        Direct                  Assumed                    Ceded                    Net
Statement                                                                     Losses                    Losses                   Losses                  Losses
  Line         Description                                                   Incurred•                  Incurred•               Incurred•                Incurred"

   1.0         Fire
   2.0         Allied Lines
   2.2         Multiple Peril Crop
   2.3         Federal Flood
   3.0         Farmowners Multiple Peril
   4.0         Homeowners Multiple Peril
   5.1         Commercial Multiple Peril (Non-Liability Portion)
   5.2         Commercial Multiple Peril (Liablllty Portion)
   6.0         Mortgage Guaranty
   8.0         Ocean Marine
   9.0         Inland Marine
  10.0         Financial Guaranty
  11.1         Medical Professional Liability - Occurrence
  11.2         Medical Professional Liabmty - Claims Made
  12.0         Earthquake
  13.0         GroupA&H,
  14.0         Credit A&H {Group & Individual)
  15.1         Collectively Renewable A&H
  152          Non-Cancellable A&H
  15.3         Guaranteed Renewable A&H
  15.4         Non-Reo~ • Staled Reasons Only A&H
  15.5         Other Accld~t Only
  15.6         Medicare TIile XVII exempt from state 13l<es or fees
  15.7         All Other A&H
  15.8         Federal Employees Health Benefits Program
  16.0         Workers' Compensation
  17.1         Other Liability
  17.3         Exces,fWor!cers Compensation
  18.1         Products Liablllty • Occurrence
  182          Products u~mty • Claims Made                                                                         . ,""' ~:
  19.1         Private Passenger Auto No-Faull (PIP)
  192          Other Private PaSsenger Auto Liability
  19.3         Commercial,Autq Jllo-Fault (PIP)
  19.4         Other Coinmemal Auto Liability
  21.1         Private PassengerAulo Phys Damage
  21.2         Commercial Auto Physical Damage
  22.0         Aircraft {All Perils)
  23.0         Fidelity
  24.0         Surety
  26.0         Burglary and Theft
  27.0         Boiler and Machinery
  28.0         Credit
  28.0         Credit Disability
  30.0         Warranty
  34.0         Prepaid Legal
  34.0         Bail Bonds                                                         303,500                                                                    303,500
  34.0         Glass
  34.0         Tille
  34.0         Livestock
  34.0         Industrial Extended Coverage
  34.0         Mobile Home Multiple Perl!
  34.0         Mobile Home Physical Damage
  34.0         Reinsurance
  34.0         Other
  34.0         Other
  34.0         Other


               Total                                                             303,500                                                                    303,500
              Verification from P & L                                                                                                                       303,500

            • Include loss adjustment expenses.




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                                                         Case 4:19-cv-00717-JST                       Document 513-15       Filed 12/11/24         Page 111 of 146


Nationwide                                               Company Name: Ullco Standard of America Casualty Company
Year3         2013                                       (Property & Casualty Insurance Company)
                                                         Incurred Loss Summary By Line of Business
                                                         Amounts in Whole Dollars


 Annual                                                                         Direct                   Assumed         Ceded                      Net
Statement                                                                       Losses                    Losses        Losses                    Losses
  Une         Description                                                      Incurred•                  Incurred•     Incurred*                Incurred•

   1.0        Fire
   2.0        Allied Lines
   2.2        Multiple Peril Crop
   2.3         Federal Flood
   3.0         Farmowners Multiple Peril
   4.0         Homeowners Multiple Peril
   5.1         Commercial Multiple Peril (Non-Liability Portion)
   5.2         Comnercial Multiple Peril (Liability Portion)
   6.0         Mortgage Guaranty
   8.0         Ocean Marine
   9.0         Inland Marine
  10.0         Financial Guaranty
  11.1         Medical Professional Liability- Occurrence
  11.2         Medical Professional LlabiITty- Claims Made
  12.0         Earthquake
  13.0         GroupA&H
  14.0         Credit A&H (Group & Individual)
  15.1         Collectively Renewable A&H
  152          Non-Cancellable A&H
  15.3         Guaranteed Renewable A&H
  15.4         Non-Renew• Stated Reasons Only A&H
  15.5         Other Accident Only                            . . .. .
  15.6         Medicare iltle XVll exempt from state taxes oi-
  15.7         All Other A&H                                    ·· "
  15.B         Federal Employees Health Beneltts Program
  16.0         Workers' Compensation
  17.1         Other Liability
  17.3         Excess Workers Compensation
  18.1         Products Llabll!ty - Occurrence
  182          Products Liability - Claims Made
  19.1         Private Passenger Auto No-Fault (PIP)
  192          Other Private Passenger Auto Liability
  19.3         Commercial Auto No-Fault (PIP)
  19.4         Other Commercial Auto Liability
  21.1         Prlvate Passenger Auto Phys Damage
  212          Commercial Auto Physical Damage
  22.0         Aircraft {All Perils)
  23.0         Fidelity
  24.0         Surety
  26.0         Burglary and Theft
  27.0         Boiler and Machinery
  28.0         Credit
  28.0         Credit Dlsabillly
  30.0         Warranty
  34.0         Prepaid Legal
  34.0         Ball Bonds                                                           438,600                                                           438,600
  34.0         Glass
  34.0        Tltle
  34.0         Livestock
  34.0         Industrial ExtendedCoverage
  34.0         Moblle Home Multiple Peril
  34.0         Mobile Home Physical Damage
  34.0         Reinsurance
  34.0         Other
  34.0         Other
  34.0         Other


              Total                                                                 438,600                                                           438,600
              Verification from P & L                                                                                                                 438,600

            • Include loss adjustment expenses.



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                                                           Case 4:19-cv-00717-JST                       Document 513-15        Filed 12/11/24          Page 112 of 146

Nationwide                                                Company Name: Ullco Standard of America Casualty Company
Year1          2011                                       {Property & Casualty Insurance Company)
                                                          Incurred Loss Summary By Line of Business
                                                          Amounts in Whole Dollars


 Annual                                                                          Direct                   Assumed           Ceded                     Net
Statement                                                                       Losses                     Losse_s         Losses                   Losses
   Line        Description                                                     Incurred•                  lncum,d"        Incurred"                Incurred•

  1.0          Fire
  2.0          Allied Lines
  2.2          Multiple Pen1 Crop
  2.3          Federal Flood
  3.0          Farmowners Multiple Peril
  4.0          Homeowners Multiple Peril
  5.1          CommercialMultiple Peril (Non-Liability Portion)
  5.2          Corrmercial Multiple Peril (Liability Portion)
  6.0          Mortgage Guaranty
  8.0          Ocean Marine
   9.0         Inland Marine
  10.0         Financial Guaranty
  11.1         Medical Professional Liability - Occurrence
  11.2         Medical Professional Liability- Claims Made
  12.0         Earthquake
  13.0         GroupA&H
  14.0         Credit A&H (Group & Individual)
  15.1         Collectively Renewable A&H
  15.2         Non-Cancellable A&H
  15.3         Guaranteed Renewable A&H
  15.4         Non-Renew - Stated Reasons Only A&H
  15.5         Other Accident Only
  15.6         Medicare TIUe XVll exempt from state taxes or fees
  15.7         All OlherA&H
  15.8         Federal ~loyees Health Benefits Program
  15.0         Workers' Compensation
  17.1         Other Liability
  17.3         Excess Workers Compensation
  18.1         Products Liability - Occurrence
  18.2         Produc!s Liability - Claims Made
  19.1         Private Passenger Auto No-Faull (PIP)
  19.2         Other Private Passenger Auto Liability
  19.3         Commercial Auto No-Fault {PIP)
  19.4         Other Commercial Auto Liability
  21.1         Private Passenger Auto Phys Damage
  21.2         Commercial Auto Physical Damage
  22.0         Aircraft (All Perils)
  23.0         Adellty
  24.0         Surety
  28.0         Burglary and Theft
  27.0         Boiler and Machinery
  28.0         Credit
  28.0         Credit Disability
  30.0         Warranty
  34.0         Prepaid Legal
  34.0         Bail Bonds                                                           157.700                                                            157,700
  34.0         Glass
  34.0         Title
  34.0         Livestock
  34.0         IndustrialExtended Coverage
  34.0         Mobile Home Multiple Peril
  34.0         Mobile Home Physical Darmge
  34.0         Reinsurance
  34.0         Other
  34.0         Other
  34.0         Other


               Total                                                                157,700                                                            157,700
               Verification rrom P & L                                                                                                                 157.700

            • Include loss adjustment expenses.




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                                                         Case 4:19-cv-00717-JST                       Document 513-15                    Filed 12/11/24         Page 113 of 146

Nationwide                                               Company Name: Ulico Standard of America Casualty Company
Year2         2012                                       (Property & Casualty Insurance Company)
                                                         Incurred Loss Summary By Line of Business
                                                         Amounts in Whole Dollars


 Annual                                                                         Direct                    Assumed                    Ceded                     Net
Statement                                                                      Losses                        Losses                 Losses                    Losses
  Line         Description                                                    Incurred•                      Incurred•              Incurred•                Incurred"

   1.0         Fire
   2.0         Alfied Lines
   22          Multiple Peril Crop
   2.3         Federal Flood
   3.0         Fammvners Multiple Peril
   4.0         Homeowners Multiple Peril
   5.1         Convnercial Multiple Peril (Non-liabmty Portion)
   52          Commercial Multiple Peril (Liability Portion)
   6.0         Mortgage Guaranty
   8.0         Ocean Marine
   9.0         Inland Marine
  10.0         Financial Guaranty
  11.1         Medical Professional Liability • Occurrence
  112          Medical Professional Liability • Claims Made
  12.0         Earthquake
  13.0         Grou_pA&H
  14.0         Credit A&H (Group & lmfNidual)
  15.1         Collei,tively Renewable A&H
  152          Non-Cancellable A&H
  15.3         Guaranteed Renewable A&H
  15.4         Non-Renew • Stated Reasons Only A&H
  15.5         OtherAccidenl Only                                                                                                                                              ""C'-:
  15.6                                                                                                                                                                       ,e,1,CAC<)
               Medialre Title XVII ei<enl)! from stale taxes or fees                                     !ed)C..:::('e.,-1•
  15.7         All Other A&H                                                                              . Other
  15.8         FederafEmployees Health Benefits Program                                                  ,3/-?i:t:-a''.';6~.
  16.0         Workers' Compensation                                                                      ,ri<;!:"<s'\.-C"r':
  17.1         Other Liability                                                                         J~,     . i.J~~;1•,_
  17.3        .!=xcessWorkers Compensation
  18.1         Products.Liability• Occurrence
  182          Products Liability· Claims Made
  19.1         Private Passenger Auto No-Fault (PIP)
  192          Other Priv13le Passenger Auto Liability                                                              ·vi
  19.3         CommercialAu.to No-Fault (PIP)                                                          :a;;:1~ ,~ ci:3:A
  19.4         Other Commer,:ial Auto Liability                                                        '.;.;Tir-;-:_Gc-:-'lf:;e~;                                          .:-,~he-i'." "A.:·:-:~,'¢-'
  21.1         Private P_ll1lSOOgerAuto Ph)IS Damage                                                   ~,;~_?te i:&J.:er.9      1                                          ,___.-:_· ~; f -\JS~~tt<,fr
  212          Commercial Auto Physical Damage
  22.0         Aircraft (All Perils)
  23.0         Fidelity
  24.0         Surety
  26.0         Burglary and Theft
  27.0         Boiler and Machinery
  28.0         Credit
  28.0         Credit Disability
  30.0         Warranty
  34.0         Prepaid Legal
  34.0         Sail Bonds                                                          303,500                                                                       303,500
  34.0         Glass
  34.0         Title
  34.0         Livestock
  34.0         Industrial Extended Coverage
  34.0         Mobile Home Multiple Peril
  34.0         Mobile Home Physical Damage
  34.0         Reinsurance
  34.0         Other
  34.0         Other
  34.0         Other


              Total                                                                303,500                                                                       303,500
              Verification from P & L                                                                                                                            303,500

            • lndude loss adjustment expenses.




                                                                                                                                                112 of 145
                                                          Case 4:19-cv-00717-JST                      Document 513-15        Filed 12/11/24          Page 114 of 146


Nationwide                                               Company Name: Ulico Standard of America CasualtyCompany
Year3         2013                                       (Property & casualty Insurance Company}
                                                         Incurred Loss Summary By Line of Business
                                                         Amounts in Whole Dollars



 Annual                                                                         Direct                  Assumed          Ceded                     Net
Statement                                                                      Losses                     Losses         Losses                  Losses
   Line        Description                                                    lncWTed"                   Incurred•      Incurred"                Incurred•

   1.0         Fire
   2.0         Allied Lines
   2.2         Multiple Peril Crop
   2.3         Federal Flood
   3.0         Farrnowners Multiple Peril
   4.0         Homeowners Multiple Peril
   5.1         Commercial Multiple Peril (Non-Liability Portion)
   5.2         Commercial Multiple Peril (Liability Portion)
  6.0          Mortgage Guaranty
  8.0          Ocean Maline
  9.0          Inland Marine
  10.0         Financial Guaranty
  11.1         Medical Professional Liability - O=irrence
  11.2         Medical Professional Liability - Claims Made
  12.0         Earthquake
  13.0         GroupA&H
  14.0         Credit A&H (Group & lndividualf,"
  15.1         Collectively Renewable A&H . " ..
  15.2         Non-Cancellable A&H          ·
  15.3         Guaranteed Renewable A&i-f':
  15.4         Non-Renew - Staled Reason¥ .Only_A&H
  15.5         Other Accident Only           . ~. '.      '
  15.6         Medicare 11tle XVII exempt f(O(n si;,,te taxes or fees
  15.7         All OlherA&H                   .,., ..
  15.8         Federal Employees Health Benefits Program
  16.0         Workeis' Compensation                  ·'
  17.1         Other Liability
  17.3         Excess Workers Compensatiot\" ·
  18.1         Products Liability- Occurrence·
  18.2         Products Liability - Claims Made·
  19.1         Private Passenger Auto No-'Faull (PIP)
  19.2         Other Private Passenger Amo\Jat,_ility
  19.3         Commercial Auto No-Faul({PIP) •
  19.4         Other Commercial Auto LiaQl_ll!)i'·. _·_.'
  21.1         Private Passenger Auto Phys Damage
  21.2         Commercial Auto Physical Damage
  22.0         Aircraft (All Perils)
  23.0         Fidelity
  24.0         Surety
  26.0         Burglary and Theft
  27 .o        Boiler and Machinery
  28.0         Credit
  28.0         Credit Disability
  30.0         Warranty
  34.0         Prepaid legal
  34.0         Ball Bonds                                                           438,600                                                          438,600
  34.0         Glass
  34.0         Title
  34.0         Livestock
  34.0         Industrial Extended Coverage
  34.0         Mobile Home Mul1lp!e Peril
  34.0         Mobile Home Physical Damage
  34.0         Reinsurance
  34.0         Other
  34.0         Other
  34.0         Other


              Total                                                                 438,600                                                          438,600
              Verification f(Om P & L                                                                                                                438,600
            • lndude loss adjustment expenses.



                                                                                                                                    113 of 145
                                            Case 4:19-cv-00717-JST                              Document 513-15                  Filed 12/11/24                   Page 115 of 146

Nationwide                                                           Company Name:           Ulico Standard of America Casualty Company
                                                                     {Property & Casualty Insurance Company}
                                                                     Net Premium and loss Developments By Line of Business
                                                                                                                                                                                                                                            l[)
                                                                     Amounts in Whole Dollars                                                                                                                                               ,;;t-
                                                                                                                                                                                                                                            r-


 Annual
Statement
   Line        Description
                                                                                 Premiums
                                                                                  Earned
                                                                                                   2011
                                                                                                  Losses
                                                                                                  Incurred"
                                                                                                                   ,_
                                                                                                                           I
                                                                                                                           1.
                                                                                                                            :         Pr;:~u=
                                                                                                                                                             2012
                                                                                                                                                            Losses
                                                                                                                                                           Incurred"             I
                                                                                                                                                                                 ~.   Premiums
                                                                                                                                                                                                     2013
                                                                                                                                                                                                    Losses
                                                                                                                                                                                                    Incurred•

                                                                                                                                                                                                                    ~1
                                                                                                                                                                                                                    Loss~.                  ;::




                                                                                                                                                                            -=1
                                                                                                                                                                                       Earned
  -- ---                                                                                                           Ratio

   1.0
   2. 1
   22
   2.3
               Fire
               A!Hed Lines
               Multiple Peril Crop
               Federal Flood
                                                                                                                           =I
                                                                                                                           :1                                                                                            :I=I
                                                                                                                           ii=I
   3.0         Farmowners Multiple Penl




                                                                                                                                                                                                                         ii
   4.0         Homeowners Multiple Penl




                                                                                                                                                                                 =I
   5.1         Commercial Multiple Peril (Non-Liability Portion)
   5.2         Commercial Muttple Peril (Liability Portion)
   6.0         Mortgage Guaranty
   8.0         Ocean Marine
   9.0
  10.0
  11.1
               Inland Marine
               Financial Guaranty
               Medical Professional Liability - Occurrence

                                                                                                                           :I                                                    =I                                      =I
                                                                                                                                                                                                                         -~.
  112
  12.0
               Medical Professional liability - Claims Made
               Earthquake



                                                                                                                           =1                              //
                                                                                                                                                                                 =I                                      -1. ,-;.:·,
                                                                                                                                                                                 =I
  13.0         Group A&H                                             ,'~/:




                                                                                                                           ii:I
  14.0         CreditA&H (Group & Individual)                                                                                                         /'~
  15.1         Collectively Renewable A&H                                    :                                                                             ,,.,                                                          -~ ':


                                                                                                                                                                                 =I
  152          Non-Cancellable A&H                                                                                                                         ~/
  15.3         Guaranteed RenewableA&H
                                                                                                                                                                                                                         -~,-,
                                                                                                                                                                                                                         =~.'·,•;·~.·;.·:

                                                                                                                                                                                                                         =I]
                                                                                                                                                      ;,~~
  15.4         Non-Renew-Stated Reasons Only A&H                             ,



                                                                                                                                                                                 =1
                                                                                                                                                      -~~'/:·.


                                                                                                                                                                                                                         :I,;,•
  15.5         Other Accident Only
  15.6         Medicare Title XVII exempt from state taxes or fees                                                                                        4


                                                                                                                           =I
  15.7         AUOlherA&H                                                                                                                             ,; ,;;
                                                                                                                                                       /    1/,
  15.8         Federal EmployeesHeal1h Benefits Program
  16.0
  17.1
  17 .3
               Workers'Compensation
               Other Liability
               Excess Workers Compensation                           ~-


                                                                                                                           =I                                                    =I                                      :I
                                                                                                                                                                                 =I
                                                                                                                           :I~-
  18.1         Products Liability- Occurrence
  18.2
  19.1
               Products Liability- Claims Made
               Private Passenger Auto No-Fault(PIP)                                                                                                                                                                      :l:1

                                                                                                                                                                                 ii                                      =i:f
  192          Other Private Passenger Auto Liability                                                                                                                                                                      ~7,
  19.3         Commercial Auto No-Fault (PIP)
  19.4         Other Commercial Auto Liabif,ty
  21.1         Private Passenger Auto Phys Damage
  212          Commercial Auto Physical Damage

                                                                                                                                                                                                                         =I
                                                                                                                           =I
               Aircraft (All Perils)




                                                                                                                                                                                                                         =I
  22.0
  23.0         Fidelity




                                                                                                                                                                             ~1
  24.0         Surety




                                                                                                                           =I
  26.0         Burglary and Theft
  27.0
  28.0
  28.0
  30.0
  34.0
               Boiler and Machinery
               Credit
               Credit Disability
               Warranty
               Prepaid Legal
                                                                                                                       ~-                 .,,,,om                            ~1 ,.,.~.                               =I
                                                                                                                                                                                                                     ~1
                                                                                                                           =I
  34.0         Ban Bonds                                                            2,867.ooo          157,700                                                    303,500                                438,600
  34.0
  34.0
  34.0
  34.0
               Glass
               Trt!e
               Livestock
               IndustrialExtended Coverage

                                                                     ~w.                                                   ~1                                                    =I
                                                                                                                                                                                 =I                                  =1
                                                                                                                                                                                                                     =I
                                                                                                                                                                                                                         ~-
  34.0         MobRe Home Multiple Penl




                                                                                                                                                                                 ii
  34.0         Mobile Home Physical Damage
  34.0
  34.0
  34.0
  34.0
               Reinsurance~~
               01her
               01her
               Olher


               Total                                                                2,867,000          157,700      6%
                                                                                                                           :I             5,518,000               303,500   6%          7,974,300        438,600    6%
            Verification from P & L - should equal line above.                      2.867,000          157,700                            5,518,000               303,500               7,974,300        4313,600

            • Incl•,,,,_'-,,;s adjustment expenses.
                                                                                                                 -------          -
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 ""    ..,/---'   .!
                                UCAA Proforma Financial Statements
         .,,
                                          A~;umptions .

Lfs_taJ!
       of t~e relevant assumptions used to create the profoi~as[ ,., ·
N(?~; assumptions enclosed within the Plan of Operation n~~OtJbe,disclosed   again here.
 ', ;:·-,,,:>                                          \'' ',-..




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                                                           Case 4:19-cv-00717-JST                         Document 513-15                      Filed 12/11/24              Page 117 of 146




California                                                             Company Name: UUco Standard of America casualty Company
Year1             2011                                                 (Property & Casualty Insurance Company)
                                                                       Planned Premium Volume By Line of Business
                                                                       Amounts in Whole Dollars

   Annual                                                                  Direct          Assumed              Ceded               Net           Direct            Assumed      Ceded        Net
  Statement                                                              Premiums          Premiums           Premiums           Premiums        Premiums           Premiums    Premiums   Premiums
     Une          Description                                             Written           Written            Written             Written        Earned             Earned      Earned      Earned

     1.0          Fire
     2.,          Allied Lines
     2.2          Multiple Peril Crop
     2.3          Federal Flood
     3.0          Farmowners Multiple Peril
     4.0          Homeowners Multiple Penl
     5.1          Com-nercial Multiple Pen1 (Non--LiablTrtyPortion)
     5.2          CommercialMultiple Peril (Liability Portion)
     6.0          Mortgage Guaranty
     8.0          Ocean Marine
     9.0          Inland Marine
    10.0          Financial Guaranty
    11.1          Medical Professional Uabifrty - Occurrence
    11.2          Medical Professional Liablllty- Claims Made
    12.0          Earthquake
    13.0          GroupA&H       .
    14.0          Credit A&H (Group & Individual)
    15.1          Collectively Renewable A&H
    15.2          Noo-Cancella~       A&H
    15.3
    15.4
                  Guaranteed     Ren~ A&H
                  Non-Renew-Stated Reasons Only A&H
    15.5          OtherAccidentOl)f:l;t · ';.... ... •
    15.6          Medicare Title XVII   ~pl from state taxes or fees
    15.7          All Other A&H •        .
    15.8          Federal~ ~--1 l!fl!ifitsProgram
    16.0          Workers' c~;;,n '
    17.1          Other Liability . ·~·
    17.3          Excess Workers Compensation
    18.1          Products Liability- Occurrence-
    18.2          Products LiabiUty-0 Claims Made
    19.1          Private PassengerA.!JIO_No-&ult (PIP)
    19.2          Other Private ~YigerAulo UabtTrty
    19.3          Commercial ~~lftl?ti; .
    19.4          Other Cotmler~.Auto Liability
    21.1          Private PassengerAuto Phys Damage
    212           CommercialAuto Physical Damage
    22.0          Aircraft (AD Perils)
    23.0          Fldef,ty
    24.0          Surety
    26.0          Burglary and Theft
    27.0          Boilerand Machinery
    28.0          Credit
    28.0          CrecrrtDisabillty
    30.0          Warranty
    34.0          Prepaid Legal
    34.0          Bail Bonds                                               3.822,600                                               3,822,600       2,867.000                                  2,867,000
    34.0          Glass
    34.0          Trtle
    34.0          Livestock
    34.0          Industrial Extended Coverage
    34.0          MObile Home Multiple Peril
    34.0          Mobile Home Ph},sical Damage
    34.0          Reinsurance
    34.0          Other
    34.0          Other
    34.0          Other



                 Total                                                     3.822,600                                               3,822,600       2.867,000                                  2,867,000
Verification from Net Premiums and Loss Developmentby LOB                                                                                                                                     2,867,000




                                                                                                                                                           116 of 145
                                                            Case 4:19-cv-00717-JST                               Document 513-15                     Filed 12/11/24               Page 118 of 146




California                                                                    Company Name: unco Standardof America Casualty Company
Year2             2012                                                        (Property & Casualty Insurance Company)
                                                                              Planned Premium Volume By Line of Business
                                                                              Amounts in Whole Dollars

   Annual                                                                         Direct          Assumed             Ceded               Net           Direct         Assumed          Ceded       Net
  Statement                                                                     Premiums          Premiums          Premiums           Premiums       Premiums         Premiums       Premiums   Premiums
     Une          Description                                                    Written           Wlil!en           Written            Written        Earned           Earned          Earned    Earned

     1.0          F1re
     2.1          Alried Lines
     2.2          Multiple Peril Crop
     2.3          Federal Flood
     3.0          FarmownersMultiple Peril
     4.0          Homeowners Multiple Peril
     5.1          Commercial Multiple Penl (Non-Liability Portion)
     5.2          Commercial Multiple Pertl (Uabif,ty Portion)
     6.0          Mortgage Guaranty
     8.0          Ocean Marine
     9.0          Inland Marine
     10.0         Financial Guaranty
     11.1         Medical Professional Liabllity- Occurrence
     11.2         Medical Professiooal Liability- Claims Made.
     12.0         Earthquake
     13.0         GroupA&H
     14.0         Credit A&H (Group & Individual)
     15.1         CollectivelyRenewableA&H
    15.2          Non-Cancellable A&H
    15.3          Guaranteed Renewable A&H
    15.4          Non-Renew-Staled Reasons Only A&H            ·.·,:c;;;
    15.5          Other Accident Only                              ,,
    15.6          Medicare Tot!e XVII exempt from stale taxes orfeei
    15.7          All Other A&H                                    ., : ·-·
    15.8          Federal Employer_~ He.alth Benefits Program    •
    16.0          Workers' Compensation
    17.1          Other Liability
    17.3          Excess Wcllf<ersCompensation
    18.1          Products Liabillly - Occurrence
    18.2          Products Liabillly- Claims Made
    19.1          Private Passenger Auto No-Fault (PIP)
    19.2          Other Private Passenger Auto Liabifny
    19.3          Commercial Auto No-Fault (PIP)
    19.4          Other Commercial Auto Liabfilty
    21.1          Private Passenger Auto Phys Damage
    21.2          Commercial Auto Physical Damage
    22.0          Aircraft(All Per!ls)
    23.0          Fidelity
    24.0          Surety
    26.0          Burglary and Theft
    27.0          Boiler and Machinery
    28.0          Cred'rt
    28.0          Credit Disability
    30.0          Warranty
    34.0          Prepaid Legal
    34.0          Ball Bonds                                                      6,083,100                                              6,083,100      5,518,000                                   5,518,000
    34.0          Glass
    34.0          111le
    34.0          Livestoek
    34.0          Industrial Extended Coverage
    34.0          Mobile Home Multiple Peril
    34.0          Mobne Home Physical Damage
    34.0          Reinsurance
    34.0          Other
    34.0          Other
    34.0          Other


                    Total                                                         6,083,100                                              6,083,100      5,518,000                                   5,518,000
Verification from Ne! Premiums and Loss Development by LOB                                                                                                                                          5,518,000




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California                                                               Company Name: Ulico Standard of America C3sualty Company
Year3             2013                                                   (Property & Casualty Insurance Company)
                                                                         Planned Premium Volume By line of Business
                                                                         Amounts !n Whole Dollars

  Annual                                                                     Direct          Assumed             Ceded                 Net          Direct           Assumed         Ceded        Net
 Statement                                                                 Premiums          Premiums           Premiums            Premiums       Premiums          Premiums       Premiums   Premiums
    Line          Description                                               Written           Written             Written            Written        Earned            Earned          Earned    Earned

     ,.o          Fire
     2.1          Alfie<! Lines
     2.2          Multiple Peli! Crop
     2.3          Federal Flood
     3.0          Farmowners Multiple Penl
     4.0          Homeowners Multtple Peril
     5.1          Cormtercial Multiple Peril (Nari-1.iabirrtyPortion)
     5.2          Commercial Multiple Peril (Liability Portion)
     6.0          Mortgage Guaranty
     8.0          Ocean Marine
     9.0          lnland Marine
    10.0          FmanclalGuaranty
    11.1          Medical Professional Llablnty- Occurrance
    11.2          Medical Professional Liability - Claims Made
    12.0          Earthquake
    13.0          GroupA&H
    14.0          Credit A&H (Group & lndlviduall
    15.1          Colleclively RenewableA&H
    15.2           No<l-CancellableA&H
    15.3           Guaranteed Renewable A&H
    15.4           Non-Renew-SlatedReasons Only A&H
    15.5           Other Accident Only
    15.6           Medicare Titte XVII exempt from state.taxes or fees
    15.7          All Other A&H
    15.8           Federal Employees Health Benefits Program
     16.0         Workels' Compensation
    17.1           Other Uabilily
    17.3           Excess Workers Corll)ensation
    18.1           Products Liabifity- Occurrence
    18.2           Products Liability- Claims Made
    19.1           Private PassengerAuto No-Fault (Pf P)
    19.2          Other Private Passenger Auto Liability                                                                                                              ,,,i.·<
    19.3          Commercial Auto No-Faull (PIP)
    19.4           Other CommercialAuto Uaboity
    21.1           Private Passenger Auto Phys Darnage
    21.2          Com-nercialAuto Physical Darmge
    22.0          Aircraft(All Perils)
    23.0           Fidelity
    24.0          Surety
    26.0           Burglary and Theft
    27.0          Boiler and Machinery
    28.0          Credit
    28.0          Credtt Disab!lity
    30.0          Warranty
    34.0          Prepaid Legal
    34.0          BaH 6onds                                                   8,604,800                                               8,604,800      7,974,300                                    7,974,300
    34.0          Glass
    34.0          Trtle
    34.0          Livestock
    34.0          Industrial Extended Coverage
    34.0          Mobile Home Multiple Penl
    34.0          Mobile Home Physical Damage
    34.0          Reinsurance
    34.0          Other
    34.0          Other
    34.0          Other


                    Total                                                     8,604,800                                               8,604,800      7,974,300                                    7,974,300
Verification from Net Premiums and loss Development by LOB                                                                                                                                        7,974,300




                                                                                                                                                             118 of 145
                                                             Case 4:19-cv-00717-JST                        Document 513-15                       Filed 12/11/24           Page 120 of 146



California                                                         Company Name:         IJllco Standard of America casualty Company
Year1         2011                                                 (Property & Casualty Insurance Company)
                                                                   Incurred Loss Summary By Line of Business
                                                                   Amounts in Whole Dollars

 Annual                                                                Dlreet                                              Assumed                Ceded                       Net
Statement                                                             Losses                                                 Losses               Losses                    Losses
  Une         Description                                             lncurrecr                                            Incurred'             lncurrecr                 lncul'Tea"

   1.0         Fire
   2.0        AlliedUnes
   2.2        Multiple Peril Crop
   2.3        Federal Flood
   3.0        Farmowners Multiple Peril
   4.0        Homeowners Multiple Penl
   5.1        Commercial Multiple Pen1 (Non-Liability Portion)
   5.2        Commercfal Multiple Peril (Liability Portion)
   6.0        Mortgage Guaranty
   8.0         Ocean Marine
   9.0         Inland Marine
  10.0         Financial Guaranty
  11.1         Medical Professional Liability- Occurrence
  11.2         Medical Professional LiabTiity- Claims Made
  12.0         Eartt,quake
  13.0         GroupA&H
  14.0         Crecfrt A&H {Group & Individual)
  15.1         Collectively Renewable A&H                                                                       ,Ii ...'!iveJ1-,:
  15.2         Noo-Cancellable A&H                                                                        .,,'\;,C;l"!~,C?ncn:·
  15.3         Guaranteed RenewableA&H                                                                     ('..,,-~~H~;He, ..1
  15.4         Non:-Renew- Staled Reasons Only A&H
  15.5         Other :AccidentOnly
  15.6         MedicareTille XVII exemptfrom state taxes or fees
  15.7         All other A&H                                                                               ,._: C•-~:er A'~~
  15.8         federal Employees Health Benefits Program                                                   ' .: "?~?'~r-;;-ic:y
  16.0         Workers' Compensation                                                                         / ......... - s' C-:,
  17.1         Other Liability
  17.3         Excess WOl1<ers Compensation                                                                        J.:,'5"\"•0-~.
  18.1         Products Liability - Occurrence                                                                     1.::t.      ;·!~;-

   18.2        Products Liability- Claims Made                                                                    -                 ':,_.If.-(
                                                                                                            --,~..,..            .-lj:1::,.
  19.1         Private Passenger Auto No-Fautt (PIP)
  19.2         Other· Private Passenger Auto Liablnty                                                       _a:.,"1{!i }nf;;;ite ;-'~~--,
  19.3         CQnmefclalAuto.Nq.-Fault(PIP)                                                                . Of;'Tr'8fd.aLA!Jtc
  19.4         Other CommercialAuto Liability                                                              0·_,c,r=:-0~:J";e~c::;:,
  21.1         Private Passenger Auto Phys Damage                                                                       •Z-:::is,sc·'j_;,,.:"

  21.2         Commercial Auto Physical Damage
  22.0         Aircraft (All Perils)
  23.0         Fidelity
  24.0         Surety
  26.0         Burglary and Theft
  27.0         Boiler and Machinery
  28.0         Credit
  28.0         Credtt Disability
  30.0         Warranty
  34.0         Prepaid Legal
  34.0         Bail Bonds                                                  157,700                                                                                              157,700
  34.0         Glass
  34.0         Trtle
  34.0         livestock
  34.0         Industrial Extended Coverage
  34.0         Mobile Home Multiple Penl
  34.0         Mobffe Home Physical Damage
  34.0         Reinsurance
  34.0        Other
  34.0        Other
  34.0         Other

              Total                                                                                                                                                        ~00
Verification from Net Premiums and Loss Oevelopmenl by LOB                                                                                                                  157,700

            • Include loss adjustmerrtexpenses.




                                                                                                                                                             119 of 145
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California                                                               Company Name:       Ullco Standard of America Casualty Company
Year2      2012                                                          (Property & Casualty Insurance Company)
                                                                         Incurred Loss Summary By Line of Business
                                                                         Amounts in Whole Dollars

 Annual                                                                      Direct                                                        Ceded                       Net
Statement                                                                   Losses                                                         Losses                    Losses
  Line        Description                                                  Incurred"'                                                     Incurred•                 Incurred"

  1.0         F1re
  2.0         Allied Lines
  2.2         Multiple Pen1 Crop
  2.3         Federal Flood
   3.0        FarrnownersMultiple Peril
   4.0        Homeowners Multiple Peril
   5.1        Corrrnercial Multiple Peril (Non-liability Portion)
   52         Commerclal Multiple Peril (Liability Portion)
   6.0        Mortgage Guaranty
   8.0        Ocean Marine
   9.0         Inland Marine
  10.0        Financial Guaranty
  11.1        Medical Professional Liability- Occurrence
  11.2        Medical Professional LJablllty- Claims Made
  12.0        Earthquake
  13.0         GroupA&H
  14.0         Credit A&H (Group & Individual)
  15.1         Collectively Renewable A&H
  15.2         Non-Cancellable A&H
  15.3         Guaranteed Renewable A&H
  15.4         Non-Renew- Stated Reasons Only-'/ll&R
  15.5         Other Accident Only          ,·,,c
  15.6         Medicare Title XVII exempt from     statetai<eiror fees
  15.7         All Other A&H                    '"x c ·
  15.8         Federal Employees Health Benefits•Program
  16.0         Workel>l'Compensation
  17.1         Other Liability
  17.3         Excess Workers Compensation,-
  18.1         Products Liability- Occurrence
  16.2         Produc!S Liability- Claims Made
  19.1         Private PassengerAuto No-Fault (PIP).
  19.2         Other Private Passenger Auto Lia~ifrty
  19.3         Commercial Auto No-Fault (PIPL-.;c, . • .. a>,,:-:-.,
  19.4        Other Corrmercial Auto Liabirrty .. , ;:•-,- .r.
  21.t        Private Passenger Auto Phys       Damage.·-
  21.2        Commercial Auto Physical Damag€· ···
  22.0        Aircraft (All Perils)
  23.0         Fidelity
  24.0         Surety
  26.0         Burglaryand Thell
  27.0         Boiler and Machinery
  28.0         Credit
  26.0         Credit Disability
  30.0         Warranty
  34.0         Prepaid Legal
  34.0         BaH Bonds                                                        303,500                                                                                 303,500
  34.0         Glass
  34.0         Title
  34.0         Livestock
  34.0         Industrial ExtendedCoverage
  34.0         Moblle Home Multiple Peril
  34.0         Mobile Home Physical Damage
  34.0         Reinsurance
  34.0         Other
  34.0        01her
  34.0        Other

              Total                                                                                                                                                     303,500
Ver!licattonfrom Net Premiumsand Loss Development by LOB                                                                                                                303,500

            • Include loss adjustment expenses.




                                                                                                                                                      120 of 145
                                                           Case 4:19-cv-00717-JST                         Document 513-15             Filed 12/11/24          Page 122 of 146



California                                                           Company Name:       ur.co Standard of America Casualty Company
Year3          2013                                                  (Property & Casualty Insurance Company}
                                                                     Incurred Loss Summary By Line of Business
                                                                     Amounts in Whole Dollars

 Annual                                                                  Direct                                  Assumed                Ceded                     Net
Statement                                                               Losses                                    Losses               Losses                   Losses
   Une         Description                                             Incurred"                                 incurred"            Incurred•                Incurred'

   1.0         Fire
   2.0         Allied Lines
   2.2         Multlple Peril Crop
   2.3         Federal FlOOd
   3.0         Farmcr,,ners Multiple Peril
   4.0         Homeowners Multiple Peril
   5.1         Cormlercial Multiple Peril (Non-Liability Portion)
   5.2         Commercial Multiple Peril (Liability Portion)
   6.0         Mortgage Gwranty
   8.0         Ocean Marine
   9.0         Inland Marine
  10.0         Fmncial Guaranty
  11.1         Medical Professional Liability - Occurrence
  11.2         Medical Professional Liability - Claims Made
  12.0         Earthquake
  13.0         GroupA&H
  14.0         Credit A&H (Group & Individual)
  15.1         Collectively Renewable A&H
  15.2         Non-Cancallable A&H
  15.3         Gwranteed Renewable A&H
  15.4         Non-Renew - Stated Reasons Only A&H
  15.5         Other Accident Only
  15.6         Medicare Title XVII exempt from state taxes or fees
  15.7         All Other A&H
  15.8         Federal Employees Health Benefits Program
  16.0         Workers' Compensation
  17.1         Other Liability
  17.3         Excess Workers Compensation
  18.1         Products Liability- Occurrence
  18.2         Products liabifrty - Claims Made
  19.1         Private Passenger Auto No-Fault(PIP)
  19.2         Other Private Passenger Aulo Liability
  19.3         Commercial Auto No-Faull (PIP)
  19.4         Other CommercialAuto Liability
  21.1         Private Passenger Auto Phys Damage
  21.2         Commercial Auto Physical Damage
  22.0         Aircraft (AU Perils)
  23.0         Fidelity
  24.0         Surety
  26.0         Burglary and Theft
  27.0         Boilerand Machinery
  28.0         ereort
  28.0         Croort Disablfity
  :io.o        Warranty
  34.0         Prepaid Legal
  34.0         san Bonds                                                   438,600                                                                                 438,600
  34.0         Glass
  34.0         Title
  34.0         Livestock
  34.0         Industrial Extended Coverage
  34.0         Mobtte Home Multiple Peril
  34.0         Mobile Horne Physical Damage
  34.0         Reinsurance
  34.0         Other
  34.0         Other
  34.0         Other

               Total                                                   ~00
Verification from Net Premiums and Loss Development by LOB

            • Include loss acf")USlmentexpenses.




                                                                                                                                                  121 of145
                                                             Case 4:19-cv-00717-JST                                           Document 513-15                  Filed 12/11/24            Page 123 of 146


 Califomia                                                           Company Name:          Ulico Standard of America Casualty Company
                                                                     {Property & Casualty Insurance Company)
                                                                     Net Premium and Loss Developments By Line of Business
                                                                     Amounts in Whole Dollars

 Annual                                                                                            2011                                                         2012                                                         2013
Statement                                                                     Premiums            Losses                        Loss            Premiums       Losses           Loss     Premiums                          Losses       Loss
   Une        Description                                                       Earned           Incurred'                      Ratio            Earned       Incurred'         Ratio     Earned                           Incurred'    Ratio

   1.0         Fire
   2.1        Allied Lines
   2.2         Mulliple Penl Crop
   2.3         Federal Flood
   3.0         Farmowners Multiple Peril
   4.0         Homeowners Multiple Penl
   5.1         Cormiercial Multiple Peril (Non-Uabif<ty Portion)
  5.2          Corrrnercial Mutiple Peril (Uabif<ty Portion)
  6.0          Mortgage Guaranty
  8.0          OcsanMarine
   9.0         Inland Marine
  10.0         Financial Guaranty
  11.1         Mecfical Professional Liability- Occurrence
  11.2         Medical Professional Llaboity- Claims Made
  12.0         Eartbqua!<B
  13.0         GroupA&H
  14.0         Credit A&H (Group & Individual)
  15.:1      • CoUectively Renewable A&H                                                                         1
  15.2         Non-Cancellable A&H                                                                                     l',:

  15.3         Guaranteed Renewable A&H                                                                                .~:_.:;
  15.4         Non-Renew-Stated Reasons Only A&H                                                             ~-"       ;-,.~_
  is..s        Other Accident Only                                                                       , ;j5                                                                                 ;~. '~
  15.6         Medicare rrt1e XVll exempt from Slate taxes or fees                                           _$
  15.,.·     .All Other A&H                                                                                  ~7;       ~1.,,;'.-                                                                   _'0;._·~

  15.8
  16.0
  17.1
               Federal Employees Healttl Benefits Program
              -Workers' Compensation
               Other Liablllty
                                                                                                             - 3
                                                                                                             .,1,:;;   '~-:.~--:2·                                                                            (_'';_~./~

  17,3         Excess Wooers Compensation                                                                              :::."
  18.1         Products Liabnity- Occurrence                                                             t:,
  182          Products Liabif,ty- Claims Made                                                                                UC:
  19.1         Private Passenger Auto No-Fault (PIP)                                                                            i-:~te r.
                                                                                                                              ..

                                                                                                             -~
  19.2         Other Private Passenger Auto Liability                                                                                P1i'~ _
  19'3         Commercial Auto No-Fault {PIP)                                                                :J'"'      ;u                                                                         J?·
  19:4         Other Commercial Auto Liability                                                                         C~i.i:er--~,         -                                                      .r--.;,     '-o-c:,


  21.1       ,Private Passenger Auto Ph)'S Damage                                                                      ?;i--;,a~.
  21.Z         Commercial Auto Physical Damage                                                           :--:.~ '      ~.:c:·;:r.;t:r~ -
  22.0         Aln:rafl (All Perils)                                                                                   ,-l;n--r-:... i ,,;_·_                                                                 ,\,f,' ~-
  23.0         Fidelity
  24.0        Surety
  26.0       Burglary and Theft
  27.0       Boller and Machinery
  28.0       Credit
  28.0       Crecfrt Disability
  30.0       Warranty
  34.0       Prepaid Legal
  34.0       Ball Bonds                                                         2,867,000             157,700                           6%        5,518,000       303,500          6%     7,974,300                           438,600     6%
  34.0       Glass
  34.0       Titte
  34.0       Livestock
  34.0       Industrial Extended Coverage
  34.0       Mobile Horne Mulllple Peril
  34.0       Mobile Horne Physical Damage
  34.0       Reinsurance
  34.0       Olller
  34.0       Other
  34.0       Other



             Total                                                              2.867,000            157,700                       6%             5,518,000       303,500       6%        7,974,300                           438,600    6%


           • !ndude loss adjuslment expenses.




                                                                                                                                                                            122 of 145
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California                                                                               Company Name:       unco Standard of America casualty Company
Year1        2011                                                                        (Property & Casualty Insurance Company)
                                                                                         Expense Allocation to Lines of Business Net of Reinsurance
                                                                                        Amounts in Whole Dollars

                                                                                                                                                             Loss                 Commission            Taxes.               Other
 Annual                                                                      Net             Net                    Net                                   Adjustment              & Brokerage          Licenses,           Acquisition                                   All Other
Statement    Premiums, Losses, Expensesand Percentages                    Premiums        Premiums                Losses                                  Expenses                 Expenses             &Fees              Expenses                                      Expenses
  Line       To Premiums Earned for Business Net of Reinsurance            Written         Earned                 Incurred                                   Incurred              Incurred            Incurred             Incurred                                     Incurred

                                                                           Amount          AmOunt         ¾       Amount                %                    Amount         %       Amount        %    Amount        %      Amount                    %                  Amount          %
   1.0       Fire
   2.1       Allied Lines
   2.2       Multiple Pen1 Crop
   2.3       Federal Flood
   3.0       Farmowners Multiple Peril
   4.0       Homeowners Multiple Penl
   5.1       Commercial Multiple Peril (Non-Llability Portion)
   5.2       Commercial Multiple Peril (Liabifity Portion)
   6.0       Mortgage Guaranty
   8.0       Ocean Marine
   9.0       Inland Marine
  10.0       Financial Guaranty
  11.1       Medical Professional Liabifrty- OOOJrrence
  11.2       Medical Professional Liability•- Claims Made                                                                      ~f-,;:,,:,·_-                                                                                                       ...::.-~
  12.0       Earthquake
  13.0       GroupA&H                                                                                                           -~            ,' . .:,

  14.0       Credit A&H (Group & lndividuaf) ·                                                                               _, l::,, ,,,.,
  15.1       Collectively RenewableA&H '                                                                                  ,~.¥.;;e .;_";_i;                                                                                              ,-   ::. '
  15.2       Non-CancellableJl&Hi.                                                                                        -?~~
  15.3       Guaranteed RenewableA&H                                                                                          -~ i'-z,
                                                                                                                             ;ac:..c. -'~ 11
                                                                                                                                                  -                                                                                                   .-J~:;."' ,--q; .; .....
  15.4       Non-Renew-Stated Roosons-"0nly11>.&H
  15.5       Other Accident Only
  15.6       Medicare Title XVII elcemptfrOmstate laxes or fees                                                               );,-;       '•-.!~•

  15.7       AllOtherMH
                                                                                                                                                                                                                                               .   '"[~
  15.6       Federal Employees Realttl Beriefils Program
                                                                                                                                               ....
                                                                                                                                      ,,.--- .:.,_

  16.0       Workers' Compensation
  17.1       OlherLiability
  17.3       Excess WOll<ers Compensation •c.::•                                                                                 .,,,,:
  18.1       Products Uabifrty. Ocx;urrence                                                                                                                                                                                                                               :
  18.2       Products Uabifrty • Clalms Made
                                                                                                                                                                                                                                             •·.''1       <~. J,_
  19.1
  19.2
  19.3
  19.4
             Private Passenger A!Jfo No-Falllt(PlP)
             Ottler Private PasseildefAIIIOt.iabilily
             Commercial Auto No-Fault (Pli='f.    0



             OU,e, Corrmercial Airto Liability •. '
                                                                                                                          2)                  ·;.<f:···
                                                                                                                                          .~:cd'
                                                                                                                                          ,:·•:;;
                                                                                                                                                 ·;·l','·'
                                                                                                                                                                                                                                         ,.._. '
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                                                                                                                                                                                                                                                                 ,;
                                                                                                                                                                                                                                                                   "<
                                                                                                                                                                                                                                                                         -,:,:..;,

  21.1       Private PassengerAuto Phys Damage                                                                                                    ;;;;,
                                                                                                                                                                                                                                                                  ·.•·
  21.2       Commen::!alAuto Physical Damage
  22.0       Aircraft (All Perils)
  23.0       Fidelity
  24.0       Surety
  26.0       Burglary and Theft
  -n.o       Boiler and Machinery
  26.0       Credlt
  28.0       Credit OisabHity
  30.0       Warranty
  34.0       Prepaid Legal
  34.0       Bail Bonds                                                     3,822,600       2,867,000    100%        157,700              6%                                                             1,259,300   44%       750,000                26%
  34.0       Glass
  34.0       TIiie
  34.0       U\/eslock
  34.0       Industrial ExtendedCoverage
  34.0       Mobne Home Multiple Perl!
  34.0       Mobile Home Physical Damage
  34.0       Reinsurance
  34.0       Ottler
  34.0       Other
  34.0       Other


             Total                                                          3,822,600        2,867,000   100%         157,700              6%                           0    0%               0   0%     1,259,300   44%        750,000                26%                           0   0%




                                                                                                                                                                                      123 of 145
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California                                                                                      Company Name:       Ullco Standard of America casualty Company
Year2        2012                                                                               (Property & Casualty Insurance Company)
                                                                                               Expeni,e Allocation to Lines of Business Net of Reinsurance
                                                                                               Amounts in Whole Dollars

                                                                                                                                              Loss                Commission              Taxes,               Other
 Annual                                                                            Net              Net                  Net               Adjustment             & Brokerage            Ucenses,            Acquisition          All Other
Statement    Premiums, losses~ Expenses and Percentages                         Premiums         Premtums               Losses              Expenses               Expenses               &Fees              Expenses             Expenses
  Line       To Premiums Earned for Buslness Net of Reinsurance                  Written          Earned               Incurred             Incurred                Incurred             Incurred             Incurred            Incurred

                                                                                 Amount           Amount         %     Amount        %       Amount         %       Amount          %    Amount        %      Amount        %     Amount          ¾
   1.0       Flre
   2.1       A!Ued Lines
   2.2       Multiple Penl Crop
   2.3       Federal Flood
   3.0       Farmowners Multiple Peril
   4.0       Homeowners Multiple Peril
   5.1       Commercial Multiple Peril (Non-UabHityPortion)
   5.2       Corrrnercial Multiple Penl (Llabnlly Portion)
   6.0       Mortgage Guaranty
   8.0       Ocean Marine
   9.0       Inland Marine
  10.0       Financial Guaranty
  11.1       Medical Professional Liability- O=.,rrence
  11.2       Medical Professional Llablflly- Claims Made
  12.0       Earthquake
  13.0       GroupA&H
  14.0       Credtt A&H (Group & lncfividual)
  15.1       Collect!vely Renewable A&H
  15.2       Noo-CancellableA&H                                  .•, "''
  15.3       Guaranteed Renewable A&H
  15.4       Non.-Renew-StatedReasons Only A&H
  15.5       Other AccidentOnly
  15.6       Medicare Title XVII exempt from state taxes or fees
  15.7       All Other A&H
  15.8       Federal Employees Health Benefits Program
  16.0       Workers' Compensation
  17.1       Other Uab!lity
  17.3       Excess Wori<ers Compensation
  18.1       Products Liabifrty- Oca.,rrence
  18.2       Products Liability- Claims Made
  19.1       Private Passenger Auto No-Fault (PIP)
  19.2       Other Private Passenger Auto Liability
  19.3       Commercial Auto No-Fault (PIP)
  19.4       Other Corrrnercial Auto Liability
  21.1       Private Passenger Au1o Phys Damage
  21.2       Commercial Auto Physical Damage                               _l
  22.0       Aircralt {Alf Penls)
  23.0       Fidelity
  24.0       Surety
  26.0       Burglary and Theft
  27.0       Boiler and Machinery
  28.0       Credit
  28.0       Cre<frt Disability
  30.1       Warranty
  34.0       Prepaid Legal
  34.0       Ban Bonds                                                            6,083,100        5,518,000    100%      303.500    6%                                                   2,423,800    44%        900,000   16%
  34.0       Glass
  34.0       Title
  34.0       Livestock
  34.0       Industrial Extended Coverage
  34.0       Moone Horne MUitipiePeril
  34.0       Moone Horne Physical Damage
  34.0       Reinsurance
  34.0       01her
  34.0       Other
  34.0       Other


             Total                                                                 6,083,100        5,518,000   100%       303,500    6%                0    0%                 0   0%     2,423,800   44%        900,000   16%               0   0%




                                                                                                                                                                      124of145
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California                                                                                     Company Name:       Ulico Standard of America Casually Company
Year3        2013                                                                              {Property & Casualty Insurance Company)
                                                                                                Expense Allocation to Lines of Business Net of Reinsurance
                                                                                               Amounts in Whole Dollars

                                                                                                                                                    Loss                Commission                            Taxes.                 Otl'ler
 Annual                                                                     Net                        Net                        Net            Adjustment             & Brokerage                       Ucenses,                 Acquisition           All Other
Statement    Premiums, Losses, Expenses and Percentages                  Premiums                   Premiums                    Losses            Expenses               Expenses                             &Fees                Expenses              Expenses
   Une       To Premiums Earned for Business Net of Reinsurance            Written                   Earned                    Incurred           Incurred                Incurred                            Incurred              Incurred             Incurred

                                                                          Amount                    Amount             ¾       Amount       ¾     Amount          ¾       Amount          ¾                   Amount         %       Amount        ¾     Amount          %
   1.0       Fire
   2.1       Alfied Lines
   2.2       Multiple Peril Crop
   2.3       Federal Flood
   3.0       Farmowners Multiple Peril
   4.0       Homeowners Multiple Penl
   5.1       Commercial Multiple Peril (Non-Uabifily Portion)
    5.2      Commercial Multiple Perfl (Uabir,ty Portion)
    6.0      Mortgage Guaranty
    8.0      Ocean Marine
    9.0      llllandMarlne
   10.0      Flnanclal Guaranty
   11.1      Medical Professional LiabiTlty - Occurrence
   11.2      Medical Professional Liability- Claims Made
   12.0      Earthquake
   13.0      GroupA&H
   14.0      Credit A&H (Group & Individual)                                                                                                                                                              '
   15.1      Collectively Renewable A&H                                         t;;.""'                                                                                                       ~!
   15.2      Non-Cancellable A&H
   15.3      Guaranteed Renewable A&H
  -15:4      Non-Renew-Staled Reasons Only A&H                                                        --r~--
   15.5      Other Accident Only
   15.6      Medicare Trtle XVII exempt from state taxes or fees                 .   ::,\.                                                                                                    -
   15.7      AIIOtnerA&H                                                                                                                                                                              '
   15.8      Fed..-al Employees Health Benefits Program
   16.0      Workers' Compensation                                               L
   17.1      Other liability
   17.3      Excess Workers Compensation                                                               · 7_3 _                                                                                                         7:t
    18.1     Products Llabffity- Occurrence
   .18.2     Products Liability- Claims Made
  ·1j,).1    Private Passenger Auto No-Fault (PIP)                                                     Ti.>•. '   -
  192
   1.9:~
             Other Private Passenger Auto Liabiflly
             Convnerclal Auto No-Fault (PIP)
                                                                                          -;   ..
   19,4
  ·21.1
             Other Commercial Auto Llabifity
             Private Passenger Auto Phys Damage
                                                                                                                                                                                              I'''·
   21.2      Commercial Auto Physical Damage
   22.0      Aircraft (All Perils)
   23.0      Fidelity
   24.0      Surety
   26.0      Burgtary and Toeft
   27.0      Boller and Machinery
   28.0      Credit
   28.0      Credit Disability
   30.0      Warrar,ty
   34.0      Prepaid Legal
   34.0      Ban Bonds                                                     8,604,800                  7,974,300       100%        438,600   6%                                                                 3,502,700     44%      1,080.000    14%
   34.0      Glass
   34.0      11th!
   34.0      Livestock
   34.0      Industrial Extended Coverage
   34.0      Mobile Home Multiple Peril
   34.0      Mobile Horne Physical Darmge
  34.0       Reinsurance
  34.0       Other
  34.0       Other
  34.0       Other


             Total                                                          8,604,800                 7,974,300       100%        438,600   6%                0    0%                 o   0"/4                  3,502,700    44%       1,060,000   14%               0   0%




                                                                                                                                                                            125 of 145
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California                                                                                       Company Name:       unco Standardof America Casualty Company
Year 1       2011                                                                                (Property & Casualty Insurance Company)
                                                                                                 Expense Allocation to Lines of Direct Business .Written
                                                                                                 Amounts in Whole Dollars

                                                                                                                                  Loss               Commission               Taices.              Other
 Annual                                                                Direct        Direct                 Direct             Adjustment            &Brokerage              Ucenses.           Acquisition                            All Other
Statement    Premiums, Losses, Expenses and Percentages              Premiums      Premiums                Losses               Expenses               Expenses               &Fees             Expenses                               Expenses
   Line      To Premiums Eamed for Direct Business Written            Written       Earned                Incurred              Incurred               Incurred              Incurred            Incurred                              Incurred

                                                                      Amount       AmOunt          %      Amount        •1,,    Amount          %      Amount           ¾    Amount       %      Amount                     ¾          Amount          ¾
    1.0      Fire
    2.1      Allied Lines
    2.2      Multiple Per11 Crop
    2.3      Federal Flood
    3.0      FarmownersMultiple Peril
    4.0      Homeowners Multiple Peril
    5.1      Corrrnercial Multiple Penl (Non-Liability Portion)
    5.2      Corrrnercial Mu!liple Peril (Liability Portion)
   6.0       Mortgage Guaranty
    8.0      Ocean Marine
    9.0      Inland Marine
   10.0      F,nancial Guaranty
   11.1      Medical Professional Liability- Occurrence
   11.2      Mecfi\21 ProfessionalUabifrty- Claims Made
   12.0      EarthQua~e
   13.0      GroupA&H
   14.0      Credi! MH (Group & Individual)
   15.1      Colli!<;til,ejyRenewable A&H
   15.2      Nro-Cancellable A&H
   15.3      Guarant9'ld Renewable A&H
   15.4      Non-~ Reasons Only A&H
   15.5      Other Accident Only
   15.6      Medicare TlUe XVII exempt from state ta><es or fees                                                                                                                                              ~I   ,,. -•       "''.

   15.7      All   OtherA&H . '
   15.8      Federal Emp!oye_es Health Benefits Program                                                                                                                                                               '7/.-
   16.0      Worbrs'Compensation
   17.1      Other Liability . ..
   17.3      Excess Workers Compensation
   18.1      Produi,tsLiability-  dcdurrence
   182       Produt:ts!Jabilily,: Claims Made
   19.1      Private·PassengerAuto No-Fault (PIP)
   192       Olher;Flriw,te Passepger Auto Liability
   19.3      CommercialAuto No-Fault (PIP)
   19.4      ott1er'eomrneraai  Aul6 Liability
   21.1      Private PassengQr Auto Phys Damage
   21.2      Commercial AUIO Physlcal Damage
   22.0      Aircraft {All Perils)
   23.0      Fidelity
   24.0      Surety
   26.0      Burglary and Theft
   27.0      Boiler and Macninery
   26.0      Credit
   26.0      Credit Disabif,ty
   30.0      Warranty
   34.0      Prepaid Legal
   34.0      BaH Bonds                                                 3,822,600     2,867,000   100%        157,700     6%                                       . 0         1,259,300   44%       750,000             26%
   34.0      Glass
   34.0      rrt1e
   34.0      Livestock
   34.0      Industrial Extended Coverage
   34.0      Mobile Home Multlpfe Penl
   34.0      Mobile Home Physical Damage
   34.0      Reinsurance
   34.0      Other
   34.0      Other
   34.0      Other


             To1al                                                     3,622,600     2,867,000    100%       157,700      6%                0   0%                 0    0%    1.259.300   44%       750,000                 26%                    0   0%
Verificationfrom Planned PremiumVolume by LOB Year 1.                  3,822,600                                                                      •::••!••2~~~¥.·i~.r:.r~-H~0t~~• 7-~9P~ ·:/<,· tIB~2:¥~~-••-~_-:~!.~:~
                                                                                     2.a67.ooo llia~9~74r:sg~;z;2s.§z·:~tttY'$+}k;iq:~2'f·t?\'"t;-:,~~i_?:'•
                                                                                                          =====
                                                                                                                                                            126 of 145
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California                                                                                        Company Name:       Ullco Standard of America Casually Company
Year2         2012                                                                                (Property & Casualty Insurance Company)
                                                                                                  Expense Allocation to Lines of Direct Business Written
                                                                                                  Amounts in Whole Dollars

                                                                                                                                  Loss             Commission            Taxes,              Olher
 Annual                                                                 Direct        Direct                  Direct           Adjustment          &Brokerage           UcensesJ           Acquisition         All Other
Statement     Premiums, Losses, Expenses and Porcentages              Premiums      Premlums                 Losses             Expenses            Expenses             &Fees             Expenses            Expenses
   Line       To Premiums Earned for Direct Buslnl!SS Written          Written        Eamed                 Incurred            Incurred             Incurred           Incurred            Incurred           Incurred

                                                                       Amount       Amount          %       Amount       %       Amount       %      Amount        %    Amount       %      Amount       %     Amount          %
    1.0       Fire
    2.1       Allied Lines
    2.2       Multiple Peril Crop
   2.3        Federal Flood
   3.0        Farmowners Multiple Peril
   4.0        Homeowners Multiple Peril
   5.1        Convnercial Multiple Peril (Non-Uabmty Portion)
    5.2       Commercial Multiple Peril (Liability Portion)
    6.0       Mortgage Guaranty
    8.0       Ocean Marine
    9.0       Inland Marine
   10.0       Financial Guaranty
   11.1       Medical Professional Liability- Occurrence
   11.2       Medical Professional Liability- Claims Made
   12.0       Earthquake
   13.0       GroupA&H
   14.0       Credit A&H (Group & lndivicksl)
   15.1       Collectively RenewableA&H
   15.2       Non-Cancellable A&H
   15.3       Guaranteed Renewable A&H
   15.4       Non-Renew-Stated Reasons Only A&H
   15.5       Other Accident Only            .... ,," .• '
   15.6       Mecllcare Tille XVII exempt from state 1a,ai!for fees
   15.7       All Other A&H                              .
   15.8       Federal EmployeesHealth Benefits Program
   16.0       Wor1<ers'Compensation
   17.1       Other Liability
   17.3       Excess Wocl<ers Compensation
   18.1       Products Llabil!!y- Occurrence
   18.2       Products Liability- Claims Made       _
   19.1       Private Passenger Auto No-Faull (PIP)
   19.2       Other Private PassengerAuto Liablii!y
   19.3       Commercial Auto No-Faull (PIP)
   19.4       Other Commercial Auto Liabifrty
   21.1       Prtvate Passenger Auto Phys Damage
   21.2       Commercial Auto Physical Damage
   22.0       Aircraft (All Penis)
   23.0       Fidelity
   24.0       Surety
   26.0       Burglary and Theft
   27.0       Boller and Machinery
   28.0       Credit
   28.0       Credit Dlsabllity
   30.0       Warranty
   34.0       Prepaid Legal
   34.0       Baff Bonds                                                6,083,100     5,518,000   100%         303,500   6%                                   0          2,423,800   44%       900,000   16%               0
   34.0       Glass
   34.0       Tille
   34.0       Livestock
   34.0       Industrial Extended Coverage
   34.0       Mobne Home Multiple Peril
   34.0       Mobile Home Physical Dan-age
   34.0       Reinsurance
   34.0       Other
   34.0       Other
   34.0       Other


              Total                                                     6,083,100
Ve_rfficationfrom Planned Premium Volume by LOB Year 1.                 6,083,100




                                                                                                                                                           127 of 145
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California                                                                                        Company Name:         Ulico Standard of America Casualty Company
Year3         2013                                                                                (Property & Casualty Insurance Company)
                                                                                                  Expense Allocation to Lines of Direct Business Written
                                                                                                  Amounts in Whole Dollars

                                                                                                                                   Loss                  Commission                  Taxes,                              Other
  Annual                                                                Direct        Direct                 Direct             Adjustment               & Brokerage                Licenses,                         Acquisition                             All Other
 Statement    Premiums, Losses, Expenses and Percentages              Premiums      Premiums                Losses               Expenses                 Expenses                   &Fees                            Expenses                                Expenses
    Une       To Premiums Earned for Direct Busln!!SS Written          Written       Earned                Incurred              Incurred                  lncum,d                  Incurred                           Incurred                                Incurred

                                                                       Amount       Amount          %      Amount         ¾       Amount          ¾        Amount          %         Amount         ¾                       Amount                   %         Amount            %
    1.0       Fire
    2.1       Allied Lines
    2.2       Mull!ple Perl! Crop
    2.3       Federal Flood
    3.0       Farmowners Multiple Peril
    4.0       Homeowners Multiple Peril
    5.1       CorrnnercialMultiple Peril (Non-Uablfrty Portion)
    5.2       Commercial Multiple Peril (LJabifrty Portion)
    6.0       Mortgage Guarar,ty
    8.0       Ocean Marine
    9.0       Inland Manne
   10.0       Financial Guaranty
   11.1       Medical Professional Liabifrty- Occ,.,rrence
   112        Medical Professional Liabifrty- Claims Made
   12.0       Earthquake
   13.0       GroupA&H
   14.0       CreditA&H (Group & Individual)                                                                                                                                                                                                                                                 .,
   15.1       Collectively Renew.,ble A&H
   15.2       Noo-Cancellable A&H
   15.3       GuaranteedRenewableA&H
   15.4       Non-Renew-Slated Reasons Only N!.H
    15.5      Other Accident Only
   15.S       Medicare Tit!e XVII exemptfrom state taxes or fees
   15.7       All Other A&H
   15.8       Federal Employees Health Bellefits Program
   16.0       Workers' Compensation
   17.1       Other Liability
   17.3       Excess Workers Compensation
   18.1       Products Liability- Occurrence
   18.2       Products liabif,ty- Claims Made
   19.1       Private Passenger Auto No-Fault (PIP)
   19.2       Other Private Passenger Auto Liability
   19.3       Commercial Auto No-Fault (PIP)
   19.4       Other Commercial Auto LiabHity
   21.1       Private Passenger Auto Phys Damage
   21.2       Commercial Auto Physlcal Damage
   22.0       Aircraft (All PertlS)
   23.0       Fidelity
   24.0       Surety
   26.0       Burglary and Theft
   27.0       Boiler and Machinery
   28.0       Credit
   28.0       Credit Dlsabllity
   30.0       warranty
   34.0       Prepaid Legal
   34.0       Bail Bonds                                                8,804.800     7,974,300   100%        438,800      6%                                        0                3,502,700     44%                     1,080,000               14%                    0
   34.0       Glass
   34.0       Trtle
   34.0       Livestock
   34.0       lndustr!al Extended Coverage
   34.0       Mobile Home Multiple Peril
   34.0       Mobile Home Physical Damage
   34.0       Reinsurance
   34.0      Other
   34.0      Other
   34.0      Other


                Total                                                  B.604,800     7,974,300 100%          438.eoo     6%                  o     O¾                a      0%        3 """100      44%                     1 oso ooo                14%                   o       0%
Verification from Planned Premium Volume by LOB Year 1.                8,604,800     7.974,300 tifa.:::t.t±~i&'~~"i)i;:·~~~~~:=:           ·-~5:..:f;~:~-:.2~·~''"'<::,.;~±~{IDf~'.~\~~~3;;,yw.:".';,,   +I ,. ~;~;    -~        , •f/lf,~j.   ·   ,i;¾';..~«J:.-~;~~2-'l~~~::;.::,.~·~:~~




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              Discussion of the UCM Pro Fo.nua Finan~falStatements



       This section providesa detaileddiscussion of the assumptionsand results of the

UCAA Pro Forma Financial Statements. For the purposes of discussion,it is assumed

that the Companywill commenceoperationsat the beginningof2011 and will generate

all of its premiums through the ProgramManager. Moreover,the projectionsassume that

the Company's premiumsare generatedfrom bail bonds and that all premiums are

written in California.



       The Companywill be a well capitalized·surety that experiencesfrom inception
                                             .                                '


profitable growth, which reflects•tHi!#~sist(?tltt'f\Ww~ibsl~1fhiltharacteristic
                                                                             of well

managed bail bond sureties. The low loss ratio assumptionsand the favorableprojected

underwritingperformancereflect the Program Manager's historic low losses, the

indemnificationthat the ProgramManagerprovides to the Company for any losses

beyond the ContingentReserveAccount ("CRA"), which is also know in the industry as

the Build-Up Fund, and the ProgramManager's consistentlyexcellentoperational

performance and financialconditionsince its inception in 2004.



A.     Pro Forma StatutoryProfit & Loss Statement
                                                                 ',.
                                                                 ,),t,   ..




                               .. ;\/'.\•,       .;',;:.;.,,vrr' -,~i_,:p:J,.
                  1.           AssunfA\ions'aiid'1>rofoctioris-
                         Premium



       Total bail bond premiums are calculatedas the product of the number of bail

bonds posted annuallyby the ProgramManager, times the percentageof the Program




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Manager's bail bonds attributableto Company,times the average bail bond liability,

times the average bail bond premium rate. The Company is projected to write 42,111
                                    _; \~-~:}· J,('·l     1 ::;     .,



bonds in 2011; 65,062 bonds in~'ql,~},0d 8,:,•,3Mt~R1lfsiEb~?:~~-, These amounts
                                   1~ 'l}ir:l~
                                     1
                                                        ·, ,i,l,         5:

represent 50%, 75%, and 100% ofln"tftotal·numberof bail bonds that the Program

Manager expects to post in California,respectively, in 2011, 2012, and 2013. The total

number of bail bonds posted annuallyby the Program Manager is projected to grow at

3.0% per annum during the projectionperiod, essentially unchanged from the 3.1 % per

annum growth experienced from 2006 through 2010. Average bail bond liability is

projected to increase 3.0% per annum, rising from $18,050 per bail bond in 2011 to

$19,149 in 2013. During the five year period ended December 31, 2009, the Program

Manager1 s average bail bond liability grew at 4.0% per annum. Thus, the Company's

aggregate bail bond liability is proj~~t~ciJobe $7.6Q:1 miJJ,iqn i4_2011; $1,209.6 million in




       Total bail bond premiums are calculated as the aggregate bail bond liability per

annum times the Program Manager's average premium rate of9.4%. While the Program

Manager charges the 10% standard rate on most bail transactions, it charges a California

Department of Insurance authorized 8% rate on qualifying bail transactions (i.e. those

transactions that qualify for the lower rate based on (i.) retention of private counsel

within thirty days; (ii) union membership;and (iii.) active duty in or veteran of the anned

services). Total bail premiums are projected at $71.5 million in 2011; $113.7 million in
                                                        . ;.,_,.1
2012; and $160.8 million in 2013.




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         As is typically the case in the commercialbail bond business, the Program

 Manager that will undertake bail by posting bail bonds issued by the Companywill retain

 the vast majority of total bail premiums to conduct its operations,which include

monitoring failures to appear in court, tracking and apprehendingfugitives,paying any

summary judgments, and, indemnifying_the Company fot 1all \osses in the event that
                                   '.-'_\<\. -·       ,) j ,- ':_·,i)?}tyi/' :.'~j :/,\\.'L_''\,
funds in the ContingentReseIYe cX¼&up.t.a~e exh«ust~d. Dntler'the terms of the Program
                                                  (-.d•



Manager Agreement, the Program Managerwill keep 94.65% of the total bail bond

 premiums. This percentage level of total bail bond premiums retained is slightlyhigher

 than that of comparablebail-only sureties,which averaged 89.5% in 2009, with a range

 of 85.5% to 93.0%. (See Table 3 above.) The higher percentage of total bail bond

 premiums retained by the Program Manager implicitly reflects the price it charges to

 indemnify the Company for any losses beyond the ContingentReserve Account. As a

 result, although the Company receives a smaller percentage of the total bail premiums, its

 exposure to potential loss has been significantlyreduced. Following the example of
                                    i>rllll,, ., 11        •   i~ ,,'1 . ;   ,   :P \ .   .:..,
 American ContractorsIndemnity ~6mpanY,, a Ca1¥-()raja-domicHedinsurer, which writes
     ,     ·             .      .'\1{<~#wfii.',,:·, f4;1,/ t iir:i(;(: "'.                         .
 multiple Imes of surety, mcludmg,bad,.;the_.p_ortiorr
                                   ,. ,    r"
                                                    of the total bail bond premiums

 retained by the Program Manager is treated as a revenue item (i.e. an "Aggregatewrite-in

 for miscellaneous income") offset by an expense (i.e. a "Finance and service charge") in

 an equal amount, resulting in no impact to the suretf s profitability. In the UCAA Pro

 Forma Financial Statements,this revenue and expense offset occurs in a single line

 ("Other Income") of the Pro Forma Statutory Profit & Loss Statement.




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       The remaining5.35% of total bail bond premiumswill be recognizedas Direct

Premiums Written by the Company. The 5.35% consists of2.35% that is earmarkedto

pay Californiastate premium taxes and 3.00% that representsa risk premium paid to the

Company from whlch it will fund its bail surety operations. In 2011, Direct Premiums

Written are projectedto total $3,822,600,growingto $8,604,800by 2013. The Company

does not plan to assume or cede premiums. Thus, its Direct PremiumsWritten will equal

its Gross PremiumsWritten and its Net PremiumsWritten.

                                                                            '          ;,1,1
                                                                         1'.fC11-1::.~~·~-~:-;:;_

       The Companywill accounti{~lr:pre~~miil~wnechlµ:eemonths after bail bonds
                                 ,   ,, ;_~   l   ·I   ',-,;,




are written. This accountingtreatment is consistentwith that of LexingtonNational

Insurance, a prominentbail bond-onlysurety that is licensedin California. Thus, the

Companywill earn 75% of premiumswritten in any given accidentyear, while the

remaining 25% of premiumswritten will be earned in the first quarter of the subsequent

year. The Companywill recognizeNet PremiumsEarned of $2,867,000in 2011,

$5,518,000 in 2012, and $7,974,300in 2013. The Companyhas projected a reserve of

Unearned Premiumson its Pro Forma StatutoryBalance Sheet at year end to reflect the

25% of premiumswritten but not earned. UnearnedPremiumsare estimated to total

$955,700 in 2011; $1,520,800in 20-fa{:and
                                    /,-
                                     .   .
                                           $2,t5J;20.0,j~2:0J3,)
                                                     ,·,  -', ' -,   '          .




                 2.   Incurred Losses



       During the three year projectionperiod, the Company estimates a 5.5% per annum

ratio of Net Loss and Loss AdjustmentExpenses Incurredto New Premiums Earned

("Loss Ratio"). Net Losses Incurred of $157,700are projectedin 2011, rising to




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$438,600 in 2013. This estimatedL?~,~.;&:ati9is~l~~~Jr 1Wgp<r:~~hanthe 3.0% average

Loss Ratio experienced in 2009 'by,cbmparable ~ui'eties that' ~ecialize in bail bonds but is
                                                         '             ,,   i    ,!




near the middle of the range of Loss Ratios, which ran from a low of 0.0% to a high of

10.5%, incurred by these sureties, as illustrated in Table 5 below.



 Table 5
              2009 Bail Surety Loss Ratio

                             Net Prams                                      Loss
                               Earned*                                      Ratio

    Lexington National        12,787.8                                            3.8
    American Surety            8,196.9                                          10.5
    AccreditedSurety           8,098.6                                            3.4
    Sun Surety                 2,302.0
    Universal Fire
       ./
                               2,293.2                               1\·
    Roche Surety               2,259.7                                            '6.o
                                    HJr5dnHr·i•r·3.0i                           s,)
    Average                                        ,,    I




    Median                                                                        1.7
    High                                                                        10.5
    Low                                                                           0.0


 * Amounts In $ 000s
 Source: CompanyAnnual Statementsand AM Best



          The Company believes that its Loss Ratio assumptions are cautious and that its

actual Net Losses Incurred during the forecast period might be lower than the projected

Net Incurred Losses for several reasons. First, it is not at all uncommon in the

commercial hail industry for bail sureties consistently to experience loss ratios at or just

slightly above 0.0%. As Chart 1 be19~ indicat~s/tne ;?J~n_pf~h.eaverage annual Loss
                                           b. ' ' ,-1,;J •, ,,• ~-;~-, ,., ' )'. ,•
                                         ·,,   ,-,.· ,_·)··•' i '~          C




Ratios of bail bond-only suretie~fiq~~04,.t<f 2QQ!l\v:as"1 !9%, while the median. of the

average loss ratios was 0.4% during the period. (Note that Accredited was dropped from

this chart. While AM Best has indicated that Accredited has never incurred a loss related




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 to a bail bond, this company's annual Loss Ratio averaged 14.2% during the six year

period ending 2009 due to losses incurred in its other non-contractcommercial·surety

 business, primarilynotary and other miscellaneouscommercialbonds.)

        Chart 1

                                                        ~,(<.'   '




                             ~aj\~JM,~ L9~~t~,J1tl9Tre~ ..
                                    I-:,~   >    •




          3.5
          3.0
          2.5
          2.0
          1.5
           1.0
          0.5
          0.0
                   2004      2005                    2006                   2007       2008         2009
                                    Note: Excludes Accredited

                                                ImAverage Median I   1111




        Second, well run retail bail companiesthat specializein bail generateconsistently

low losses. The Program Manageriw,~~hic~'€oiti.g~g~~Jll.cClntractis the largest and

certainly among the best manageti!~k\{R~'Un~iSd'~tt1tif
                                                    a~{!'fii6.sthe Companybelieves

that its loss experiencemight be better than these industry averages. The Program

Manager's proprietaryinfonnation technologysystems that manage its underwritingand

claims not only give it a clear advantageover its competitorsbut also have allowed

managementto generatelow loss ratios that fall consistentlywithin the Contingent

Reserve Accountcontributionrate. Loss payments up to the level of the Contingent

Reserve Account contributionrate are thus pre-funded. Moreover,the Program Manager

Agreement specifiesthat the ContingentReserve Account contributionrate can be

adjusted up or down to cover anticipatedlosses based on actuarial experience. The




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Company will license this management information system to monitor the Program

Manager's performance and to help manage its growth. By contrast, despite their

excellent average loss experience, other sureties that specialize in bail bonds aggregate

the loss exposure of many small, relatively inefficient retail bail companies, which do not

have the financial and managerial wherewithal to put sophisticated real-time underwriting

and claims systems in place.



                    3.



        Like other comparable bail bond sureties, the Company will incur a high ratio of·

Other Underwriting Expenses as a percent of Net Premiums Written ("Expense Ratio")

compared to to that of property and casualty insurance companies. The Company

projects Other Underwriting Expenses Incurred, including Other Contractual

Agreements, to be $2,009,300 in 2011, increasing to $4,582,700 in 2013. Its expense

ratio is estimated to be 52.56% in 2011, increasing slightly to 53.26% in 2013. (Please

note that the 2013 ratio of Other Underwriting Expenses to Net Premiums Written is
                                        ,,.,,
                                       \'
                                                ..
                                           ,·,,,,.              /1.l,i

0.00% in the UCAA Pro Forma StatutdryProfit &'L9ss's"tatem.entdue to an incorrect
                               ,,,,•_:1;:'· . ~;'1~:{1~/:.~·-\ .,.1t .~t~;lf_·.,,. . ' ~,'.:·,_~:
formula saved in a protected ce11.(i£j,oo9!ihe si~·bail bond surety peers reported

Expense Ratios that ranged from 58.1% to 104.9% and averaged 80.2%, as indicated in

Table 6 below. It is important to note that included in the expense ratios reported by

several of these sureties that specialize in bail bonds were fees and commissions paid to

affiliates for services rendered that exceeded 50.0% of net premiums written. Like the

majority of the bail bond surety peers, the Company expects to pay fees to the Program

Manager for various management services provided. However, under the contemplated




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                                            ·i.                          1·,·   )Lt   -~-._~ri::>:~~-·-~~/L~i-~-~:~Tfc.';
AdministrativeServicesAgreeme~~mt,h~h~\!FIP:gt:ani4Mariaige'r;which is reflected in the
                                           r. __  :;r:f(\ .·~_-1:·~:'··. ,             '"i.            :.

line Other ContractualAgreementin the UCAA Pro Fonna StatutoryProfit & Loss

Statement, the Companyis projectedto pay IT and other managementservices, including

office space, totaling an estimated$150,000 in 2011, which equals 3.9% of net premiums

written. Premium taxes represent a significantpart of the Company's estimated Other

UnderwritingExpensesIncurred. In 2011, the Company's projected state premium taxes

will total $1,259,300,increasingto $3,502,700 in 2013.



 Table 6
           2009 Bail Surety Expense Ratio
                                      ;,.          ';    \_)

                                           ..r-,::;.                                               '


                              Net Prams;~ : ;'';                         E~p i 11 • , '~ · ;
                                    ')t. ""'lt"""'~H.i..::. :':' ir<.,1
                                 Wnttenl~ ·~'.'~f.~t·Katl{i''r·~
                                            L -    _\1f• ~,.~-,,          •:·<{

    Lexington National          13,484.6                             58.1
    American Surety              8,213.0                             86.6
    AccreditedSurety             7,681.3                             89.5
    Sun Surety                   2,302.0                             64.6
    Roche Surety                  2,297.8                           77.6
    Universal Fire                2,293.2                          104.8

    Average                                                          80.2
    Median                                                           82.1
    High                                                           104.8
    Low                                                             58.1


 * Amounts In $ 000s
 Source: Company Annual Statementsand AM Best




         The Companyprojects Net Investment Income of $97,000 in 2011, increasingto

$165,000 in 2013. Net InvestmentIncome for any given projection year is the product of




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the assumed net investment yield and average invested assets during that year. Seventy

five percent of the investment portfolio is assumed to be invested in five year US

Treasury Notes yielding 2.19% as of,February 25, 2011, while the remaining twenty-five

percent of the portfolio is asst1m,e,~~~~~~eq4µcashari~:cash                           equivalents yielding
                                    /:-\ 1\        -~·i)   .',


12 basis points. No realized gains are assumed. The calculation of invested assets is

discussed below in the section on the Pro Forma Statutory'Balance Sheet. The Company

is in the process of engaging an investment advisor to assist in management of the bond

portfolio.



                  5.    Net Operating Income Before and After Taxes



        The Company is projected to generate Net Operating Income Before Taxes of

$796,900 in 2011, $2,017,200 in 2fft2,"ah<i$3,il?,OOO i~-¥2013: A 40% tax rate is
                                      '   -                              i\•"




assumed throughout the projecti~tmlai, Ythd~~}ihltorrip\fiiy'~stimates Net Operating

Income After Taxes of $478,200 in 2011; $1,210,300 in 2012; and $1,870,800 in 2013.



B.      Pro Fonna Statutory Balance Sheet



                  1.    Admitted Assets



                       (a)   Invested Assets



        The CompanyprojectsN01-ri1muat~d)'nV,e:stetA~tsidf
                                              ,.             '   /   •   ,,     'C
                                                                                     $6,575,700 in 2011,

rising to $11,173,500 in 2013. ~1~r1rt~te:tf~~i?t~lAs~~¥~'~r~                         estimated as follows.




                                                                                                              137of145
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Seventy five percent of the initial $5,000,000investment, i.e. $3,750,000,will be

invested in a portfolio of medium term US Treasury Notes, and the twenty five percent,

will be held in cash and cash equivalents. The projections assume that each year going

forward seventy five percent of Net Cash from Operationswill added to the prior year

end balance of the bond portfolio. The remaining twenty five percent of Net Cash from

Operations will be added to the pri~~9~ end ba}~tiof~~sWahd cash equivalents.
                                 /'\k:"·/·,'.)~\~;.>,,   -~;'':~,~~:::_-":. ---~;:'       ·, ,
                                                      1Financing and Miscellaneous
During the three year projection p6tt~fl!;no,CTash"irom

Sources is contemplated,and no dividends will be paid. Please see Pro Forma Statutory

Cash Flow Statementbelow for an explanation of Cash from Operations, Cash from

Investments, and Cash from Financingand MiscellaneousSources.



                       (b)   All Assets Other than Investments

       All Assets Other than Investmentscomprise the Annual Statement asset entitled

"Aggregate write-ins for other than invested assets" (Page 2, Line 23, Column 3), which

are short term liquid invested assets held in trust by the Company for the benefit of the

Program Manager to support the      ~*ti~tii&ewl~i611Wt1a~AWfiedas "Amounts
                                 ·\t,?~-~f~~rJi~~ -1~? >:; i i , J··· , '· · ·~/
                                      'tr6tJ\ ,~ e . ~, ;,
withheld or retained by company for account of others" (Page 3, Line 14, Column 1),

which is the ContingentReserve Account, also known as the Build-up Fund. Please see

below the discussion of All Other Liabilities.



                  2.    Liabilities



                       (a)   Losses




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        Losses of $141,900 are projected for 2011, rising to $463,000 by 2013. For any

given year, Losses are estimated as the sum of the prior years' Losses plus Net Losses

Incurred (Pro Forma Statutory Profit & Loss Statement, Line 2) and less Loss and Loss

Adjustment Expenses Paid (Pro Forma Statutory Cash Flow Statement). As explained

above, Net Losses Incurred are calculated as Net Premiums Earned times the estimated

Loss Ratio of 5.5%. The payout pattern of Net Losses Incurred in any given accident

year is estimated as follows: 10% in the first year, 67.5% in the second year, and 22.5%

in the third year. This estimated pay,out,patterri'is.]:)a,s,edJ:tponthe prior six year operating
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experience of the Program Manag~r:c1i~iis.~~um~a'that
                                                   L~ss;AdjustmentExpenses will

be incurred and paid by the Program Manager rather than the Company.



                      (b)     Unearned Premiums



        Unearned Premiums are estimated in any given year as the sum of the prior year

end balance plus the difference between Net Premiums Written and Net Premiums

Earned during the current year. It is assumed that seventy five percent of Net Premiums

Written in any give.n year are earned during the year written, and the remaining twenty

fiv_e percent are earned in the seco~{y4al, ·Thu~1i:ihl~y:gi~ef){ear, this reserve increases
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by the 25% of net premiums that ahf~~tteh'ffiutnot earned that year and decreases by the

25% of the prior year net premiums that were written but not earned the preceding year

Unearned Premiums total $955,700 in 2011; $1,520,800 in 2012; and $2,151,200 in

2013.



                      (c)     All Other Liabilities




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       All Other Liabilities consist of the Annual Statement liability identified as

"Amounts withheld or retained by companyfor account of others" (Page 3, Line 14,
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Column 1) ("Amounts Withheld'.'.);Am,ounts Withheld indicat~the funds contributed, as
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well as any interest earned, by the Program Manager to the ContingentReserve Account,

which is held in trust by the Companyfor the benefit of the Program Manager.

According to the Program Manager Agreement, the Program Manager will contribute

7.0% of total bail premiums to the ContingentReserve Account to prefund expected

losses on summaryjudgments and related expenses. The Company will reimburse the

Program Manager for incurred losses out of the ContingentReserve Account up to the

7% threshold. Depending upon the Program Manager's actual loss experience,the 7.0%

contribution rate to the ContingentReserve Account can be increased or decreased to

cover future anticipated losses. ~2~fs,_WJ}bf~ljflti~rt~\<t)Pe: Pro Forma Statutory
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Balance Sheet by All Assets OtheLthan                  Inv~tments whicli Gompnse the Annual
                                     ~:'•::;;t':-"'.:}•"; /:l:


Statement asset entitled "Aggregate write-ins for other than invested assets" (Page 2,

Line 23, Column 3).



       In the Pro Forma Statutory Balance Sheet, Amounts Withheld are calculated as

the prior year's ending balance plus 7.0% of the current year's total bail bond premiums

less funds released during the current year to pay for summaryjudgments and related

expenses. The release pattern for Amounts Withheld in any given year is estimated as

11 % in the first year, 61 % in the second year, and 28% in the third year. This release
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pattern is based upon the experien;~Jf-tfi~
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                                                                                                 the past 6 years.
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Amounts Withheld, as well as the assets held in trust backing this item, are estimated to

total $4,451,400 in 2011; $8,484,100 in 2012; and $12,248,700 in 2013.




                           (d)



         Total Liabilities are projected to be $5,548,900 in 2011, increasing to an

estimated $14,862,900 by 2013.



                      3.    Capital and Surplus




         The Company's projected Capital and Surplus consists of Common Stock, Gross

Paid In and Contributed Surplus, anti J,Jµ~ssigne<;iSurplus; Cowman Stock increases by
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the initial $5.0 million investm~t}.,kJ~~P~id
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                                                                                                                          Surplus remains
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unchanged at $0.0 during the project period. No additional capital contributions are

anticipated as Capital and Surplus is projected to grow sufficiently to support the increase

in Net Premiums Written. Unassigned Surplus increases each year by Net Operating

Income After Taxes. No Stockholder Dividends will be paid out of Unassigned Surplus

during the three year projection period. Unassigned Surplus is $478,200 in 2011;

$1,688,500 in 2012; and $3,559,300 in 2013. Thus, Capital and Surplus totals

$5,478,200 in 2011; 6,688,500 in 2012; and $8,559,300 in 2013. Calculated Risk-Based

Capital, which is defined as Total Adjusted Capital divided by Authorized Control Level

Risk-Based Capital is 706% in          2od;fJ(~¾prl,~01i~1~;,r,~ro:AP2013. The level of
                                       •1ti.•   tt;+itLr, ·. . l1!~";,,}-t.. ,, q- , tt:,
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 Calculated Risk-Based Capital declines during the projection period as the Company

 increases the percentage of the Program Manager's premiums that it writes but is

 projected to stabilize near 500% in subsequent years. (The Company's Calculated Risk-

 Based Capital conforms to the "2009 NAIC RBC Property and Casualty Forecasting &

 Instructions" manual.) The ratios of Gross and Net Written Premiums to Surplus are

 69.8% in 2011, 90.9% in 2012, and 100.5% in 2013. The~e leverage ratios rise during

 the projection period as the Comparil:~Cfease~ tht}:p~c~,,of the Program Manager's
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 premiums that it writes but are ~'86:~}!etteg,:tb:IjtJoiiite rie1at'fhe 2013 level in

 subsequent years.




 C.      Pro Forma Statutory Cash Flow Statement



         The Company projects Cash from Operations of $1,575,700 in 2011; $1,942,100

 in 2012; and $2,655,600 in 2013.     ffl,~~9~M:{~~s~~#~tseventy five percent of
 the initial $5,000,000 investme~rih~~l~en~frl;~te~ien/~{c~sh                  from Operations in

 medium tenn US Treasury Notes. Thus, Cash from Investments will total ($4,931,800)

 in 2011, $(1,456,600) in 2012, and $(1,991,700) in 2013, representing a use of cash.

 Cash from Financing and Miscellaneous Sources will be limited to the initial investment

 of $5,000,000 in 2011. The Company anticipates no additional capital investments to

 support the growth of the business, which will be self financing after the initial

 $5,000,000 investment. Thus, the Net Change in Cash, Cash Investments and Short-




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                                 /~}tt/~·          ,.- i. ~nf:'1~ft~r/ft~;~·~i:'·
Term Investmentstotal $1,644,000~~11.;;.$485\sddin                 :tot12;'and$663,900 in 2013,
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resulting in BalanceSheet cash balances of $1,644,000 in 2011; $2,129,500 in 2012; and

$2,793,400 in 2013.




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Ulico Standard of America Casualty Company


                 Bail Bond Rate & Risk Classification Criteria

         The Following Rates Will Be Charged On All Bail Bonds

                                          State of California
State Bonds:

All bail bonds, except Qualified Bail Bonds as defined below, are to be rated as follows:

    •   Bonds up to and including $499.00 in liability will be charged $50.00, plus $15.00
    •   Bonds over $499.00 in liability will be charged 10% of the penal amount, plus $15.00

Qualified Bail Bonds:

Bail bonds may be qualified for preferred rating in the following circumstances:

    •   Individuals who have retained counsel;
    •   Individuals who are members of a qualified labor union; and
    •   Individuals who are active duty members of the U.S. Anned Services, who are veterans of the
        U.S. Anned Services, and who are immediate families of active duty and veteran members of the
        U.S. Armed Services. Immediate families are defined as parents, children, and spouses.

Qualified Bail Bonds are to be rated as follows:

    •   Bonds up to and including $600.00 in liability will be charged $50.00, plus $15.00
    •   Bonds over $600.00 in liability vy~ll be charged 8% of the penal amount, plus $15.00

Bail Bond Minimum Premium:
                                    Ii.       ii~:   · .. ·\H,,. ).   ···· ·t,1"
A minimum premium charge of $50.00 applies per bond. The $15.00 is not included in the calculation of
the minimum premium.

Renewal Premium:

No annual renewal premium will be charged.




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               FORM NUMBER                FORM TITLE


                                          Application for Surety Bail Bond
                                          Indemnity Agreement for Surety Bai I Bond -i; 'P Vs,
                                          Amendment to lndemmty Agreement
                                          General Conditions of Bail
                                          Disclosure Statement
                                          Deed of Trust
                                          Authorization Re Deed of Trust
                                          Bail Bond Face Sheet
                                          lndemnitor Order of Surrender
                                          Bail Bond Rates
                                          Authorization to Arrest
                                          Appeal Bail Bond            ....._\--.J ~w r./
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                AL-PN
                                          lndic~ment Bail Bond
                                          Promissory Note
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                                                                       \.....J             N
                                                                                   ~A-V::::,
              llJL-0401-01                Bail Bond Power of Attorney
              / JJL-0401-02               Statement of Charges
              /JJL-0401-03                Receipt for Collateral Deposited
              IAL-SBPI                    Supervised Bail Program
              IAL-SBP2                    Supervised Bail Program
              /ALSC-60                    Statement of Charges (BMA)
              {ALPR-61                    Payment Receipt (BMA)


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